Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 1 of 125 PageID #: 885




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF NEW YORK


  SEN GAO, CONGLI HUO, RUIBIN WANG,
  LUXIAO XU, Individually and on behalf of
  all others similarly situated,
                                             Case No: 22-cv-07499-BMC
                    Plaintiffs,
                                             SECOND AMENDED CLASS
        v.                                   ACTION COMPLAINT FOR
                                             VIOLATIONS OF THE FEDERAL
  SINGULARITY FUTURE TECHNOLOGY,             SECURITIES LAWS
  LTD. F/K/A SINO-GLOBAL SHIPPING
  AMERICA LTD., YANG JIE, LEI CAO,           JURY TRIAL DEMANDED
  ZHIKANG HUANG, TUO PAN,
  XIAOHUAN HUANG, JING SHAN,
  TIELING LIU, JING WANG, LEI NIE,
  JOHN LEVY, THOR MINER, INC., and
  GOLDEN MAINLAND, INC.

                    Defendants.
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 2 of 125 PageID #: 886




                                                 TABLE OF CONTENTS
                                                                                                                                       Page

I.     PRELIMINARY STATEMENT .......................................................................................... 1

II.    JURISDICTION AND VENUE ........................................................................................... 7

III.   PARTIES .............................................................................................................................. 8

        A.      Lead Plaintiffs ............................................................................................................ 8

        B.      Defendants ................................................................................................................. 8

IV.    BACKGROUND AND NATURE OF THE FRAUD: DEFENDANTS’ MATERIALLY
       FALSE AND MISLEADING STATEMENTS AND OMISSIONS ................................. 13

        A.      Jie Assumes Control of Singularity and Omits and Misstates Material Facts
                Regarding His Background ...................................................................................... 14

                1.       Misstatements Relating to Jie’s Personal and Professional Background........ 14

                2.       Evidence That Statements About Jie’s Educational and Professional
                         Background Were Materially Misleading ....................................................... 16

                         a.        Jie Committed Fraud as the General Manager of CCC and
                                   Attempted to Conceal the Fraud by Procuring a False Affidavit ......... 17

                         b.        Jie’s Alleged Criminal History and Legal Troubles in China .............. 21

                         c.        Jie Has Represented Multiple Conflicting Accounts of
                                   His Educational History ....................................................................... 34

        B.      Jie and Singularity Appoint John Levy as a Director of the Company
                |But Omitted He Was a Director of CCC, the Entity at Which Jie
                Committed Numerous Financial Improprieties ....................................................... 35

        C.      Singularity Claims to Transform Its Ailing Global Shipping and Logistics
                Business to a Cryptocurrency Mining and Hardware Development Business ........ 36

        D.      Singularity, Jie, Shan, Pan, and Cao Induce Private Investment
                in Singularity Based on False Claims Regarding the Company’s
                Sham Cryptocurrency Business ............................................................................... 38

        E.      Singularity Rebrands Itself and Touts the Launch of Its Cryptocurrency
                Mining Operations ................................................................................................... 41

        F.      Singularity and Jie Form a Sham Joint Venture with Golden Mainland
                to Become a Leader in Cryptocurrency Mining ...................................................... 44



                                                                     i
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 3 of 125 PageID #: 887




      G.     Singularity Forms Thor Miner, Inc., a Sham Company, Purporting
             to Build Proprietary Cryptocurrency Mining Machines Which It
             Purports to Sell to SOS ............................................................................................ 51

             1.     Singularity and Thor Miner Do Not Own the Intellectual
                    Property Rights to Proprietary Mining Machine ............................................ 54

             2.     Singularity and Thor Miner Misrepresent Their Ability to
                    Execute on the $200 Million SOS Contract.................................................... 56

             3.     Singularity, Cao, Jie, Pan, Liu, Wang, Shan, Levy and Huang
                    Misrepresented or Failed to Correct That Defendant Xiaohuan
                    Huang’s Reported Employment History with SOS Information
                    Technology New York, Inc. Was False or, In The Alternative,
                    Defendants Singularity, Thor Miner, Cao, Jie, Levy, Liu, Pan,
                    Shan and Wang Failed to Disclose That the SOS Transaction
                    Was a Related Party Transaction .................................................................... 66

      H.     Singularity Knowingly Entered into a Sham Related Party
             Transaction With Rich Trading Whose Bank Accounts Were
             Controlled By Singularity’s Management ............................................................... 68

      I.     Singularity Fails to Establish and Maintain Effective Internal Controls ................. 71

V.   THE TRUTH EMERGES .................................................................................................. 79

      A.     Hindenburg Research and Peabody Street Research Issue Bombshell
             Reports That Expose Substantial Fraud by Defendants ........................................... 80

             1.     Jie’s Extensive Criminal Past, Financial Improprieties, and
                    Past Deflections Were Revealed and Debunked ............................................. 80

                    a.        Jie’s Criminal Past ................................................................................ 80

                    b.        Jie’s Financial Improprieties ................................................................ 81

             2.     Director Levy Is Exposed for His Knowledge of Jie’s
                    Financial Improprieties and Mismanagement at CCC .................................... 81

             3.     Singularity’s Thor Miner Proprietary Crypto Mining Machine
                    is Revealed as a Sham ..................................................................................... 82

             4.     Singularity’s Transaction with SOS Is Revealed as a Sham
                    and an Undisclosed Related Party Transaction ............................................... 82

             5.     Golden Mainland is a Sham ............................................................................ 84




                                                              ii
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 4 of 125 PageID #: 888




              6.      Singularity’s Rich Trading Transaction Is Revealed as a Likely
                      Sham and an Undisclosed Related Party Transaction..................................... 84

              7.      The Price of Singularity Shares Decline Sharply in Response to
                      Hindenburg Research and Peabody Reports; Special Committee Formed ..... 85

        B.    Singularity Admits to Material Weaknesses in Internal Controls ........................... 85

        C.    Singularity Discloses the Existence of Governmental Investigations
              Relating to the Hindenburg Report .......................................................................... 88

        D.    Singularity Admitted That It Could Not Deliver on the SOS Transaction .............. 90

        E.    Singularity’s Unregistered Securities Sales Are Revealed as a Fraud ..................... 91

              1.      Singularity, Jie, Shan, Pan, and Cao Fraudulently Induced
                      Hexin Global Limited and Viner Total Investments Funds to
                      Purchase $6,124,910.82 in Unregistered Securities Touting
                      Singularity’s Cryptocurrency Transformation ................................................ 91

              2.      Singularity Induced Jinhe Capital Limited to Purchase
                      $10,500,000 in Unregistered Securities .......................................................... 94

              3.      Singularity, Jie, Cao, Shan, and Pan Induced St. Hudson Group LLC,
                      Imperii Strategies LLC, Isyled Technology Limited, and Hsqynm
                      Family Inc. to Purchase $4,400,000 in Unregistered Securities
                      Touting Singularity’s Cryptocurrency Transformation .................................. 95

VI.    POST-CLASS PERIOD DEVELOPMENTS .................................................................... 96

VII.   SUMMARY OF SCIENTER ALLEGATIONS .............................................................. 103

        A.    Singularity’s Failure to Deliver on its Cryptocurrency Ventures .......................... 103

        B.    Singularity’s Failure to Reveal Jie’s Criminal Past, Financial
              Improprieties and Accurate Educational Background ........................................... 104

        C.    Singularity Abandoned Its Transformation to a Cryptocurrency Company .......... 104

        D.    Singularity’s Settlements With SOS ...................................................................... 104

        E.    Singularity’s Settlements With Purchasers of Unregistered Shares
              of Singularity Common Stock ............................................................................... 105

        F.    The Criminal and SEC Investigations of Singularity Are Strongly
              Indicative of Scienter .............................................................................................. 105

        G.    Leadership Changes at Singularity Further Support a Strong
              Inference of Scienter .............................................................................................. 106


                                                               iii
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 5 of 125 PageID #: 889




VIII. LOSS CAUSATION ........................................................................................................ 109

IX.     PRESUMPTION OF RELIANCE ................................................................................... 111

X.      INAPPLICABILITY OF THE STATUTORY SAFE HARBOR
        AND BESPEAKS CAUTION DOCTRINE .................................................................... 112

XI.     CLASS ACTION ALLEGATIONS ................................................................................. 113

XII.    CLAIMS FOR RELIEF UNDER THE EXCHANGE ACT ............................................ 116

COUNT I For Violations of Section 10(b) And Rule 10b-5
    Promulgated Thereunder Against All Defendants ........................................................... 116

COUNT II Violations of Section 20(a) of the Exchange Act Against
    the Individual Defendants ................................................................................................ 118

XIII. PRAYER FOR RELIEF ................................................................................................... 119

XIV. JURY DEMAND ............................................................................................................. 119




                                                               iv
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 6 of 125 PageID #: 890




        Lead Plaintiffs Ruibin Wang, Sen Gao, Luxiao Xu, and Congli Huo (“Plaintiffs”),

individually and on behalf of all others similarly situated, by and through their attorneys, allege

the following upon information and belief, except as to those allegations concerning Plaintiffs,

which are alleged upon personal knowledge. Plaintiffs’ information and belief is based upon,

among other things, the investigation of Lead Counsel, which includes without limitation:

(a) review and analysis of regulatory filings made by Singularity Future Technology Ltd. f/k/a

Sino-Global Shipping America Ltd. (“Singularity” or the “Company”) 1 with the United States

Securities and Exchange Commission (“SEC”); (b) review and analysis of regulatory filings made

by SOS Information Technology New York, Inc. (“SOS”) with the SEC; (c) review and analysis

of press releases and media reports issued by and disseminated by Singularity, as well as

information on Singularity’s website; (d) review and analysis of other publicly available

information concerning Singularity, Yang Jie (“Jie”), SOS, Thor Miner, Inc. (“Thor” or “Thor

Miner”), and Golden Mainland, Inc. (“Golden Mainland” or “Mainland”), in the U.S. and China;

(e) consultation with experts; (f) interviews of confidential witnesses in the U.S. and China; (g)

review and analysis of analyst reports regarding Singularity, including but not limited to May 5,

2022 reports by Hindenburg Research (“Hindenburg Report”) and Peabody Street Research

(“Peabody Report”); and (h) court filings. Plaintiffs believe that substantial additional evidentiary

support will exist for the allegations set forth herein after a reasonable opportunity for discovery.

I.      PRELIMINARY STATEMENT

        1.       This is a class action on behalf of persons or entities who purchased or otherwise

acquired publicly traded Singularity securities between February 2, 2021 and February 24, 2023,



1
 On January 3, 2022, the Company changed its name from Sino-Global Shipping America, Ltd. (“Sino-Global”) to
Singularity. For uniformity, the Company is referred to as the “Company” or “Singularity” throughout, unless where
Sino-Global appears in an original quotation, regardless of the time period to which the reference relates.



                                                        1
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 7 of 125 PageID #: 891




inclusive (the “Class Period”). Plaintiffs seek to recover compensable damages caused by

Defendants’ violations of the federal securities laws under the Securities Exchange Act of 1934

(the “Exchange Act”).

       2.      During the Class Period, Singularity and the Individual Defendants, as defined

below, failed to disclose to investors that: (a) the Company’s transformation into a cryptocurrency

company was either a sham or, if it was not a sham, these Defendants knew the transformation

was not reasonably achievable (see Sections IV.C, IV.F, V.A.3-6, and V.D, infra); (b) the

Company raised over $21 million through the sale of unregistered securities (through contracts

that Singularity was in breach of the very moment that the Company entered into them) on the

basis of its sham transformation into a cryptocurrency company (see Sections IV.D. and V.E.1-3,

infra); (c) Singularity and the Individual Defendants made material omissions and materially false

misrepresentations regarding the personal and professional backgrounds of Singularity’s Chief

Executive Officer (“CEO”) Jie, Xiaohuan Huang (“Xiaohuan”), and Director John F. Levy

(“Levy”) (see Sections IV.A.1-2, IV.B, IV.G.3, V.A.1-2, V.A.4, infra); (d) Defendants entered

into related-party transactions with entities such as SOS (see Sections IV.G.2 and V.A.4, infra)

and Rich Trading (see Sections VI.H, infra); (e) Defendants formed sham companies or entered

into joint ventures with sham companies such as Golden Mainland (see Sections IV.F and V.A.5,

infra); and (f) the Company lacked adequate internal controls, one or more of which resulted in

investigations by the United States Attorney’s Office for the Southern District of New York, the

U.S. Financial Industry Regulatory Authority (“FINRA”), and the SEC, as well as a potential

delisting by NASDAQ. See Sections IV.I, V.B, and V.C.

       3.      The Class Period begins on February 2, 2021, when Singularity announced its

planned transformation from a shipping and logistics business into a cryptocurrency and bitcoin




                                                2
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 8 of 125 PageID #: 892




mining firm.

       4.      Prior to and during the Class Period, Singularity held itself out as a global shipping

and freight logistics integrated solution provider that provided tailored solutions and value-added

services to its customers to drive efficiency and control throughout the entire shipping and freight

logistics chain. Singularity represented that it conducted business primarily through its wholly-

owned subsidiaries in the People’s Republic of China (the “PRC” or “China”) (including Hong

Kong) and the U.S., where, according to Singularity, a majority of its clients were located.

Singularity also represented that it operated in two segments: (1) shipping agency and management

services, operated by Singularity’s subsidiaries in the U.S.; and (2) freight logistics services,

operated by Singularity’s subsidiaries in the PRC.

       5.      At the start of the Class Period, Singularity’s legacy shipping business had long

been in decline, hampered by razor-thin margins and reliance on a small number of clients.

       6.      Under the leadership of Lei Cao (“Cao”), the former Singularity CEO who preceded

the Company’s most recent former CEO – Defendant Jie – Singularity was in substantial decline.

Beginning on or about January 28, 2021, under the leadership of Cao as CEO and Jie as Vice

President, Singularity embarked on a scheme to create the appearance that it was shifting away

from its struggling shipping and logistics business to the emerging and highly unregulated

cryptocurrency space. The Company used this operational shift, among other things, as a platform

to fraudulently raise tens of millions of dollars from the sale of unregistered securities.

       7.      Following Cao’s resignation on November 1, 2021, Jie assumed the mantle as

Singularity’s CEO on that same date, rising from his position as Vice President. As Singularity’s

new CEO, Jie aggressively continued the course of fraudulent conduct begun under Cao’s

leadership. Throughout Jie’s tenure as CEO, far from delinking from its questionable historical




                                                  3
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 9 of 125 PageID #: 893




financial practices and dealings, as set forth herein, Jie and his co-Defendants continued to engage

in a series of acts and practices designed to fraudulently inflate the value of Singularity’s share

price, deceive the investing public, and enrich Singularity and the Individual Defendants.

        8.       Singularity’s transition from a global logistics company to a crypto company did

not just “exhibit[] a company with an identity problem” 2; rather, it was a platform for fraud.

Defendants knew that Singularity’s lack of experience in the crypto space, along with the

continuing lockdowns in China and the global semiconductor shortage, would make it extremely

unlikely, if not impossible, for Singularity to deliver on the transition, particularly because its joint

venture partners were shams. Despite that knowledge, Defendants continued to tout the

Company’s success in the crypto space, and used that purported success to raise tens of millions

of dollars based on phony promises on which Singularity and the Individual Defendants knew they

could not deliver.

        9.       Defendants’ misconduct has resulted in investigations of Singularity by the United

States Attorney’s Office for the Southern District of New York, FINRA, and the SEC, as well as

a potential delisting by NASDAQ. See Section V.C, infra.

        10.      During the Class Period, Defendants materially misrepresented and/or omitted to

disclose material facts about senior management and its directors’ backgrounds, as well as

affiliations with corporate partners. Consider the following examples:

        •     Defendants touted Defendant Jie’s business leadership, but omitted that he had an
              extensive criminal background, was wanted by authorities in the PRC for orchestrating
              a massive Ponzi scheme and, while an executive at China Commercial Credit (“CCC”),
              had misappropriated millions of dollars of escrow funds, engaged in a related party
              transaction to procure a sham fairness opinion, escaped liability based on a false affidavit
              filed by his attorney in the litigation that followed, and misstated his educational
              background. See Section V.A.1, infra.

2
 Affirmation of James J. Mahon, Hexin Glob. Ltd., et al. v Singularity Future Tech. Ltd., No. 22-cv-08160 (S.D.N.Y.
Feb. 10, 2023) (ECF No. 22, ¶ 66) (“Mahon Aff.” or “Mahon Affirmation”).



                                                        4
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 10 of 125 PageID #: 894




       •     Defendants failed to disclose that Levy had served as the Director of CCC, and Levy
             failed to disclose that he was aware of Jie’s extensive misconduct at CCC. See Section
             V.A.2, infra.

       •     Defendants either misrepresented the bona fides of Singularity Director Xiaohuan
             having claimed that she was a Vice President of SOS or failed to disclose that
             Singularity had engaged in a related party transaction with SOS through its joint
             venture, Defendant Thor Miner. See Section V.A.3, infra. Regardless, Defendants
             failed to disclose that Thor Miner was incapable of manufacturing the cryptocurrency
             mining machines purchased by SOS, concealed the fact of the Company’s inability to
             delivery those machines, and provided misleading reasons for its failure to do so. See
             Section V.A.4, infra.

       •     Defendants represented that Singularity had entered into a joint venture with Defendant
             Golden Mainland to supply historic volumes of electrical capacity to power the
             Company’s planned cryptocurrency mining business. See Section V.A.5, infra.

       •     Defendants failed to disclose that its joint venture, Rich Trading, was, in fact, a related
             party entity whose bank accounts were controlled by executives of Singularity. See
             Section V.A.6, infra.

       •     Defendants materially misled investors by downplaying the material weaknesses in the
             Company’s internal control regime. See Section V.B, infra.

       11.      In addition, Defendants Thor Miner and Golden Mainland failed to disclose adverse

information to investors. Specifically, during the Class Period, Thor failed to disclose that it was a

sham company designed to facilitate the fraud by the Singularity Defendants and that it could not

deliver on the promises to develop and produce large quantities of proprietary cryptocurrency

mining machines. See Section V.A.3, infra. Likewise, during the Class Period, Defendant Golden

Mainland concealed from investors that it was a sham company designed to facilitate the fraud by

the Singularity Defendants and that it could not deliver the necessary power – which it had

promised to deliver – to fuel Singularity’s purported cryptocurrency mining operations. See

Section V.A.5, infra.

       12.      The truth regarding Defendants’ omissions and misstatements began to emerge on

May 5, 2022, with the publications of the Hindenburg Report and Peabody Report, which partially


                                                   5
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 11 of 125 PageID #: 895




revealed that, among other things: Jie had an extensive criminal background and was wanted by

authorities in the PRC for his participation in a massive Ponzi scheme; Jie had engaged in extensive

fraud and financial improprieties while an executive at CCC; Singularity’s transactions with SOS

and Rich Trading were improper related party transactions; Defendant Golden Mainland was a

sham entity designed to foster the Company’s sham cryptocurrency business; and Singularity, Jie,

and Levy failed to disclose Defendant Levy’s tenure at CCC. Those disclosures caused

Singularity’s common stock price to fall 28.89%, from a closing price of $6.75 on May 4, 2022 to

a closing price of $4.80, on May 5, 2022, and to fall an additional 11.67% on May 6, 2022. See

Section V, infra.

       13.     Further, following the publication of the Hindenburg Report and Peabody Report, a

series of continuing disclosures, which also corrected Defendants’ material misstatements and

omissions, caused Singularity’s stock price to decline further.

       14.     For instance, on September 23, 2022, Singularity was sued in federal court by private

investors for securities fraud in connection with improprieties related to its efforts to raise tens of

millions of dollars for the sale of unregistered securities based on misrepresentations regarding its

sham cryptocurrency business. This caused Singularity’s stock price to fall over 4%.

       15.     On October 6, 2022, Singularity was sued a second time for improprieties associated

with the sale of unregistered securities based on misrepresentations to private investors regarding its

sham cryptocurrency business. This caused Singularity’s stock price to fall 12.93%.

       16.     On October 7, 2022, Singularity disclosed that it faced delisting due to its inability to

file the required quarterly and annual reports with the SEC. This announcement caused its stock price

to fall 10.55% on October 7, 2022.

       17.     On November 16, 2022, Singularity revealed that because of the revelations and




                                                  6
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 12 of 125 PageID #: 896




myriad misstatements and omissions alleged herein, as revealed in the Hindenburg Report of May 5,

2022, as well as the Company’s lack of internal controls that led to those failures, the Company had

received subpoenas from the United States Attorney’s Office for the Southern District of New York

and the SEC. This news caused Singularity’s stock price to fall 56.03% over two trading days.

       18.      On December 5, 2022, Singularity was sued for a third time in connection with its

sale of unregistered securities based on misrepresentations to private investors regarding its sham

cryptocurrency business. In response to this news, Singularity’s stock price to fall 2.60%.

       19.     Finally, on February 24, 2023, when Singularity announced that it had agreed to settle

all of the securities fraud claims against it alleging various misrepresentations in connection with the

sale of unregistered securities regarding its sham cryptocurrency business, the price of Singularity

shares fell over 13% from a closing price of $0.69 on February 23, 2023 to a closing price of $0.60

on February 24, 2023.

II.    JURISDICTION AND VENUE

       20.     The claims asserted herein arise under and pursuant to Sections 10(b) and 20(a) of

the Exchange Act (15 U.S.C. § 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder

(17 C.F.R. § 240.10b-5).

       21.     This Court has jurisdiction over the subject matter of this action pursuant to

28 U.S.C. § 1331 and Section 27 of the Exchange Act (15 U.S.C. § 78aa).

       22.     Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b) and Section

27 of the Exchange Act (15 U.S.C. § 78aa(c)), as the alleged misstatements entered, and the

subsequent damages took place in this judicial district.

       23.     In connection with the acts, conduct, and other wrongs alleged in this Complaint,

Defendants (defined below), directly or indirectly, used the means and instrumentalities of

interstate commerce, including but not limited to the United States mail, interstate telephone


                                                   7
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 13 of 125 PageID #: 897




communications, and the facilities of the national securities exchange.

III.   PARTIES

       A.      Lead Plaintiffs

       24.     Court-appointed Lead Plaintiffs Ruibin Wang, Sen Gao, Luxiao Xu, and Congli

Huo purchased Singularity securities during the Class Period, as detailed in Lead Plaintiffs’ sworn

certifications filed previously with the Court (ECF No. 12-1) and suffered damages as a result of

the federal securities law violations and materially false and/or misleading statements and/or

omissions alleged herein.

       B.      Defendants

       25.     Defendant Singularity Future Technology Ltd. f/k/a Sino-Global Shipping

America, Ltd. (previously defined as “Singularity” or the “Company”) is a Virginia corporation.

Singularity’s principal place of business is located in, and its operations are performed in, New

York. Its headquarters are located at 98 Cutter Mill Road, Suite 322, Great Neck, New York.

Singularity is a public company trading on the Nasdaq Global Markets Exchange under the ticker

symbol SGLY (formally SINO).

       26.     Defendant Yang Jie (previously defined as “Jie”) served as Vice President of

Singularity beginning on January 1, 2021, and on November 1, 2021 was appointed as the

Company’s CEO, President, and Executive Chairman. On August 9, 2022, Jie resigned from his

positions as CEO and Director of Singularity following an investigation into allegations regarding

his alleged extensive criminal past in China.

       27.     Defendant Xiaohuan Huang (previously defined as “Xiaohuan”), the wife of

Defendant Jie, joined Singularity in 2020 as a member of the Singularity Board of Directors (the

“Board”) and Chairperson of the Nominating/Corporate Governance Committee, a member of the

Audit Committee, and a member of the Compensation Committee. In an October 23, 2020 Form


                                                8
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 14 of 125 PageID #: 898




8-K, Singularity stated that “Ms. Xiaohuan Huang, 37 years old, is presently Vice President of

SOS Information Technology New York, Inc. Prior to that, Ms. Huang had been Vice President

for China Commercial Credit, Inc. from November 2016 to July 2020 . . . ” and that “[o]n October

22, 2020, the Nominating/Corporate Governance Committee of the Board nominated and the

Board appointed, Xiaohuan Huang as a Class I director, Chairperson of the Nominating/Corporate

Governance Committee, a member of the Audit Committee and a member of the Compensation

Committee, to hold office, effective October 23, 2020 until the Company’s annual meeting of the

shareholders in 2021, and a successor has been duly elected and qualified or until her earlier

resignation, removal from office, death or incapacity.” On November 1, 2021, Xiaohuan resigned

from her positions at Singularity. 3

          28.   Defendant Lei Cao (previously defined as “Cao”) served as CEO of Singularity

from approximately 2001 to November 1, 2021, when he retired as CEO. 4 Cao’s Separation

Agreement and General Release states that prior to his resignation, he was interviewed by the

Company’s Special Committee on several occasions in connection with the Hindenburg Report

and subpoenas from the United States Attorney’s Office for the Southern District of New York,

the SEC, and FINRA. The Agreement also reveals that Cao made a “detailed presentation of his

financial condition to counsel for the Special Committee on January 5, 2023 . . . .” 5

          29.   Defendant Zhikang Huang (“Zhikang”) served as Singularity’s Chief Operating

Officer (“COO”) beginning in 2010 until January 28, 2021, when he was replaced and named Vice



3
 Sino-Global Shipping America, Ltd., Current Report (Form 8-K) (Nov. 1, 2021), https://www.sec.gov/Archives/
edgar/data/1422892/000121390021055789/ea149737-8k_sinoglobal.htm.
4
    Id.
5
 Singularity Future Technology, Ltd., “Separation Agreement and General Release,” Annual Report (Form 10-K),
Ex. 10.14 (Jan. 9, 2023), https://www.sec.gov/Archives/edgar/data/1422892/000121390023002787/ea171630ex10-
1_singularity.htm.



                                                     9
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 15 of 125 PageID #: 899




President-Operations. He further served as a Class I director beginning in 2015 until he resigned

his Board position on November 1, 2021.

        30.     Defendant Tuo Pan (“Pan”) served as Chief Financial Officer (“CFO”) of

Singularity from October 2015 to August 31, 2022, when she was terminated for cause as an

employee and as CFO of Singularity. 6

        31.     Defendant Lei Nie (“Nie”), the husband of Defendant Pan, was COO of Singularity

from January 28, 2021 until August 5, 2021, when he was promoted to serve as Vice President.

Nie resigned as COO on August 5, 2021. 7

        32.     Defendant Jing Shan (“Shan”) served as COO of Singularity starting on August 5,

2021. In her capacity as COO, Shan was responsible for implementing Singularity’s business

initiatives and growth strategies, and approved and authorized all expenditures of Singularity. Shan

executed the Purchase and Sale Agreement between Thor Miner and SOS (“SOS Agreement”),

dated January 10, 2022. Singularity terminated Shan as COO for cause on July 10, 2023.

        33.     Defendant Tieliang Liu (“Liu”) served as a Director of Singularity beginning in

2013. On July 3, 2023, Liu resigned as a Director and as a member of the Compensation

Committee, the Audit Committee, and the Nominating/Corporate Governance Committee.

        34.     Defendant Jing Wang (“Wang”) served as a Director of Singularity from 2007

through November 18, 2021, when he retired from his positions as a member of the Board, the

Chairperson of the Compensation Committee, a member of the Nominating/Corporate Governance

Committee, and a member of the Audit Committee.


6
   Singularity Future Technology, Ltd., Current Report (Form 8-K) (Aug. 31, 2022), https://www.sec.gov
/ix?doc=/Archives/edgar/data/1422892/000121390022054510/ea165431-8k_singularity.htm.
7
  Sino-Global Shipping America, Ltd., Current Report (Form 8-K) (Jan. 29, 2021), https://www.sec.gov/Archives
/edgar/data/1422892/000121390021005183/ea134202-8k_sinoglobal.htm; Sino-Global Shipping America, Ltd.,
Current Report (Form 8-K) (Aug. 9, 2021), https://www.sec.gov/Archives/edgar/data/1422892/000121390
021041107/ea145482-8k_sinoglobal.htm.



                                                     10
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 16 of 125 PageID #: 900




       35.     Defendant John F. Levy (previously defined as “Levy”) served as a Director of

Singularity beginning on November 18, 2021, and, during his tenure, as a Chair of the Company’s

Compensation Committee and a member of its Corporate Governance and Auditing Committees.

On February 23, 2023, Levy tendered his resignation from his positions as a member of the Board

and the Audit Committee, the Compensation Committee, and the Nominating/Corporate

Governance Committee of the Board, effective immediately.

       36.     Jie, Cao, Zhikang, Pan, Xiaohuan, Nie, Shan, Liu, Levy, and Wang are collectively

referred to herein as the “Individual Defendants.”

       37.     Each of the Individual Defendants:

               (a)    directly participated in the management of the Company;

               (b)    was directly involved in the day-to-day operations of the Company at the
                      highest levels;

               (c)    was privy to confidential proprietary information concerning the Company
                      and its business and operations;

               (d)    was directly or indirectly involved in drafting, producing, reviewing, and/or
                      disseminating the false and misleading statements and information alleged
                      herein;

               (e)    was directly or indirectly involved in Singularity’s sham transformation into
                      a cryptocurrency company and the related transactions described herein;

               (f)    was directly or indirectly involved in the oversight or implementation of the
                      Company’s internal controls;

               (g)    was aware of or recklessly disregarded the fact that the false and misleading
                      statements were being issued concerning the Company; and/or

               (h)    approved or ratified these statements in violation of the federal securities
                      laws.

       38.     Singularity is liable for the acts of the Individual Defendants and its employees

under the doctrine of respondeat superior and common law principles of agency because all of the

wrongful acts complained of herein were carried out within the scope of the Individual Defendants’



                                               11
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 17 of 125 PageID #: 901




and the Company’s employees’ employment.

       39.    The scienter of the Individual Defendants and other employees and agents of the

Company is similarly imputed to Singularity under respondeat superior and agency principles.

       40.    Defendant Thor Miner, Inc. (previously defined as “Thor” or “Thor Miner”) is a

joint venture 51% owned by Singularity and 49% owned by HighSharp (Shenzhen Gaorui)

Electronic Technology Co., Ltd. (“Highsharp”), with a principal place of business located at 98

Cutter Mill Road, Suite 322, Great Neck, New York.

       41.    Defendant Thor:

              (a)     was privy to confidential proprietary information concerning the Company
                      and its business and operations;

              (b)     was directly or indirectly involved in drafting, producing, reviewing, and/or
                      disseminating the false and misleading statements and information alleged
                      herein;

              (c)     was directly or indirectly involved in Singularity’s sham transformation into
                      a cryptocurrency company and the related transactions described herein;

              (d)     was aware of or recklessly disregarded the fact that the false and misleading
                      statements were being issued concerning the Company; and/or

              (e)     approved or ratified these statements in violation of the federal securities
                      laws.

       42.    Defendant Golden Mainland, Inc. (previously defined as “Golden Mainland” or

“Mainland”), is a Georgia corporation with its principal place of business located at 751 Buford

Hwy NE, Suite 404, Atlanta, Georgia, 30324.

       43.    Defendant Golden Mainland:

              (a)     was privy to confidential proprietary information concerning the Company
                      and its business and operations;

              (b)     was directly or indirectly involved in drafting, producing, reviewing, and/or
                      disseminating the false and misleading statements and information alleged
                      herein;



                                               12
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 18 of 125 PageID #: 902




                (c)     was directly or indirectly involved in Singularity’s sham transformation into
                        a cryptocurrency company and the related transactions described herein;

                (d)     was aware of or recklessly disregarded the fact that the false and misleading
                        statements were being issued concerning the Company; and/or

                (e)     approved or ratified these statements in violation of the federal securities
                        laws.

        44.     Defendant Singularity and the Individual Defendants are collectively referred to

herein as the “Singularity Defendants.” The Singularity Defendants, Defendant Thor, and

Defendant Mainland are collectively referred to herein as the “Defendants.”

IV.     BACKGROUND AND NATURE OF THE FRAUD: DEFENDANTS’
        MATERIALLY FALSE AND MISLEADING STATEMENTS AND OMISSIONS

        45.     Singularity was founded in 2001 as a global shipping and freight logistics service

provider. Singularity became a publicly listed company in 2008, trading on the NASDAQ under the

symbol SINO.

        46.     According to the sworn Affirmation by New York attorney James J. Mahon (the

“Mahon Affirmation”), counsel for Defendants Jie and Xiaohuan in this Action and a separate

securities fraud lawsuit:

        Singularity Future Trading f/k/a Sino Global Shipping (“Singularity” or “Sino
        Global”) has long been a troubled company with a historical pattern of its stock
        being described as nothing less than a “roller coaster” inevitably linked to
        questionable historical financial practices that predated Mr. Jie’s tenure.
        Singularity, operating under its predecessor name Sino Global, has numerous
        historical events that can be described as nothing less than a series of “red flags.”
        Exhibit E. The Peabody Report provides a significant roadmap to these red flags
        and the checkered history of Singularity and/or Sino Global. It should be noted that
        these events occurred before Defendant Yang Jie commenced his employment at
        Singularity.

 Mahon Aff. ¶ 12.




                                                 13
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 19 of 125 PageID #: 903




        47.      Jie began his employment with Singularity in January 2021. 8 The conduct detailed

in the Peabody Report, as identified in the Mahon Affirmation (as well as in the Hindenburg Report),

demonstrates that the “red flags” and, more importantly, the fraudulent conduct, did not cease upon

the commencement of Jie’s employment at Singularity. Rather, it accelerated, ultimately destroying

virtually all of the value of Singularity’s common stock.

        A.       Jie Assumes Control of Singularity and Omits and Misstates Material Facts
                 Regarding His Background

        48.      On November 1, 2021, following Cao’s resignation as CEO and appointment as Vice

President and Head of Research and Development, effective that day, Jie was promoted to CEO of

Singularity, and Pan was appointed CFO.

                 1.      Misstatements Relating to Jie’s Personal and Professional
                         Background

        49.      By misrepresenting and omitting material facts regarding Jie’s personal and

professional background, Defendants deceived investors regarding his management experience and

competence. In addition, Singularity and the Individual Defendants concealed and obscured his

extensive history of fraudulent conduct. Specifically, Singularity and the Individual Defendants

omitted that Jie was wanted in the PRC for operative a massive Ponzi scheme and, while an executive

at CCC, had misappropriated millions of dollars of escrow funds, engaged in related party transaction

to procure a sham fairness opinion and escaped liability based on a false affidavit filed by his attorney

in the litigation that followed and misstated his educational background.

        50.      Singularity announced the management changes referenced above in a Form 8-K

signed by Jie and filed with the SEC on November 1, 2021. On this news, Singularity’s stock rose

from $3.04 per share to a closing price on November 1, 2021 of $3.42 per share on higher-than-


8
  Sino-Global Shipping America, Ltd., Current Report (Form 8-K) (Nov. 1, 2021), https://www.sec.gov/Archives/ed
gar/data/1422892/000121390021055789/ea149737-8k_sinoglobal.htm.



                                                      14
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 20 of 125 PageID #: 904




normal trading volume. Singularity’s stock price continued to rise, closing at $3.70 on November 2,

2022, on heavy volume.

        51.     Specifically, the November 1, 2021 Form 8-K stated in pertinent part:

        Item 5.02 Departure of Directors or Certain Officers; Election of Directors;
        Appointment of Certain Officers; Compensatory Arrangements of Certain
        Officers.

        On November 1, 2021, the Nominating/Corporate Governance Committee of the
        Board nominated and the Board appointed Mr. Yang Jie as the Registrant’s new
        CEO. Mr. Yang Jie, 37 years old, is presently serving as the Vice President of the
        Registrant. Mr. Yang Jie started his work with the Registrant from January 2021.
        From November 2016 to June 2021, Mr. Yang Jie served as the General Manager
        of China Commercial Credit, Inc. Mr. Yang Jie holds a Bachelor’s degree in
        Business Management from Beijing Finance and Trade Technology College. The
        Compensation Committee approved the terms of the employee agreement between
        the Registrant and Mr. Yang Jie in substantially the form attached hereto as Exhibit
        10.1. The employment agreement between the Registrant and Mr. Yang Jie
        provides for a five-year term that extends automatically in the absence of notice of
        non-renewal provided at least 30 days prior to the anniversary of the agreement.
        Mr. Yang Jie’s salary is $500,000 per year. Mr. Yang Jie has no family relationship
        with any director or executive officer of the Registrant or any person nominated or
        chosen by the Registrant to become a director or executive officer, but Mr. Yang
        Jie’s wife, Ms. Xiaohuan Huang, was the former independent director of the
        Registrant. Mr. Yang Jie has had (i) no direct or indirect material interest in any
        transaction or series of similar transactions contemplated by Item 404(a) of
        Regulation S-K and, (ii) as of the date of this current report on Form 8-K (this
        “Report”), Mr. Yang Jie holds no direct ownership in the Registrant’s stock or
        rights to acquire the Registrant’s stock, but Mr. Yang Jie’s wife, Ms. Xiaohuan
        Huang, the former independent director of the Registrant, holds 20,000 shares of
        the Registrant’s stock.

        52.     Likewise, in an April 22, 2022 Proxy Statement filed with the SEC and signed by Jie,

Singularity misrepresented Jie’s expertise and omitted that he had a long history of failed businesses,

an inconsistent educational history, and allegations of serious financial misconduct and criminal

conduct in his past. For example, Singularity represented, in part: 9




9
  Singularity Future Technology, Ltd., Proxy Statement (Schedule 14A Information) (Apr. 22, 2022), https:
//www.sec.gov/Archives/edgar/data/1422892/000121390022010809/def14a0322_singularity.htm.



                                                   15
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 21 of 125 PageID #: 905




        Mr. Yang Jie served as General Manager of China Commercial Credit, Inc. Mr. Yang
        Jie holds a Bachelor’s degree in Business Management from Beijing Finance and
        Trade Technology College. Mr. Jie has been nominated to serve because of his
        business management experience.

        53.     As discussed below, the foregoing Class Period statements in paragraphs 51, 52,

regarding Jie’s educational and professional background were materially misleading because they

failed to disclose, among other things: Jie’s true educational background, that he had an outstanding

arrest warrant in China, had committed forgery, and had been the largest shareholder and VP of

Finance for a Nasdaq-listed lending company, CCC, at which he engaged in financial misconduct

and which failed after reporting massive losses.

                2.       Evidence That Statements About Jie’s Educational and Professional
                         Background Were Materially Misleading

        54.     Singularity’s website provided no biographical information about Jie and only

offered the following cartoon caricature of him – identified by the name “Leo” on Singularity’s

website. Furnishing only this illustration obviously made it more difficult for the authorities and

aggrieved investors to identify Jie as the fugitive and perpetrator of the alleged financial

improprieties at CCC and in China: 10




10
   Home, Singularity Futures Technology, https://web.archive.org/web/20220328192817/https:/www.singularity.us/
(Last Accessed Oct. 4, 2023).



                                                     16
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 22 of 125 PageID #: 906




       55.     Despite Jie’s status as the CEO of an international publicly traded company,

Singularity said little about him publicly. Jie kept a low profile, only speaking publicly about

Singularity through press releases and mandatory SEC filings.

       56.     However, substantial evidence establishes that Jie: (a) attempted to defraud

business partners while serving as a General Manager of CCC and engaged in a variety of financial

and other improprieties, including the diversion of $3.5 million of funds and subsequently

benefitting from a false affidavit filed in connection with an arbitration to recover those funds,

working with insiders of CCC’s counterparty to divert funds in the transaction, and procuring a

fairness opinion from an entity that he controlled without disclosing the conflict; (b) allegedly

orchestrated a $300 million Ponzi scheme in China, variously utilizing forged or otherwise

misleading documents in an attempt to convince others that the allegations regarding his criminal

conduct were incorrect; and (c) caused or allowed false and/or misleading versions of his

educational background to proliferate.

                      a.      Jie Committed Fraud as the General Manager of CCC and
                              Attempted to Conceal the Fraud by Procuring a False Affidavit

       57.     Defendants failed to disclose that Jie, as an executive of CCC, had misappropriated


                                               17
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 23 of 125 PageID #: 907




millions of dollars of escrow funds, engaged in a related party transaction to procure a sham fairness

opinion, and escaped liability based on a false affidavit filed by his attorney in the litigation that

followed.

        58.       In October 2016, Jie was appointed Vice President of Finance for CCC.11

Approximately one month later, Jie’s wife, Defendant Xiaohuan, was appointed Vice President of

CCC.12 By December 2017, Jie and Xiaohuan were listed as the largest shareholders of CCC with

a 22.5% stake. 13

        59.       CCC posted consistent losses and eventually became financially distressed by the

end of 2016. 14

        60.       In August 2017, Shanghai Wheat Asset Management Co., Ltd., a wholly-owned

subsidiary of Sorghum Investment Holdings Ltd. (“Sorghum”), entered into an agreement to

acquire CCC with the expectation of becoming publicly-listed in the U.S. via a reverse merger.

However, Sorghum terminated the transaction several months later, alleging that CCC failed to

disclose “all necessary material information.” 15

        61.       The deal terms for the transaction between Sorghum and CCC provided that

Defendant Jie would receive $3.5 million if the deal closed, and that prior to the close of the



11
   China Commercial Credit, Inc., Annual Report (Form 10-K) (Apr. 6, 2017), https://www.sec.gov/
Archives/edgar/data/1556266/000121390017003456/f10k2016_chinacommercial.htm.
12
   Sino-Global Shipping America, Ltd., Annual Report (Form 10-K) (Sept. 28, 2021), https://www.sec.gov
/Archives/edgar/data/1422892/000121390021050437/f10k2021_sinoglobalship.htm.
13
   China Commercial Credit, Inc., Amendment No. 3 to Preliminary Proxy Statement (Schedule 14A Information)
(Apr. 2017), https://www.sec.gov/Archives/edgar/data/1556266/000121390017012910/prer14a1017a3_chinacomme
rcl.htm.
14
   China Commercial Credit, Inc., Annual Report at 24 (Apr. 6, 2017), https://www.sec.gov/
Archives/edgar/data/1556266/000121390017003456/f10k2016_chinacommercial.htm#a_011.
15
  China Commercial Credit, Inc., Current Report (Form 8-K) (Jan. 3, 2018), https://www.sec.gov/Archives/edgar/data
/1556266/000121390018000072/f8k122917_chinacommercial.htm; China Bat Group, Inc., Annual Report (Form 10-
K) (Apr. 5, 2019), https://www.sec.gov/Archives/edgar/data/1556266/000121390019005814/f10k2018_chinabat
group.htm.



                                                       18
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 24 of 125 PageID #: 908




transaction, the funds would be wired into an escrow account maintained at TD Bank by Jie’s

counsel, Yi Lin, an attorney in New York. The terms also provided that if the deal did not close,

“the $3.5 million in the Lin escrow account would be refunded to NoNoBank, with interest, upon

the written consent of Mr. Jie and Nonobank.” 16

           62.    Sorghum alleged that, as the transaction was unfolding, it discovered Jie was under

criminal investigation for securities fraud in China, a fact that was concealed from it, as well as

investors. 17

           63.    In addition to Jie’s alleged securities fraud in China, Sorghum discovered that Jie was

engaged in a scheme to procure a false fairness opinion to facilitate the transaction through an

undisclosed related party transaction. Specifically, according to a May 6, 2019 Opinion and Order

in Sorghum Investment Holdings Ltd. v. China Commercial Credit, Inc., Index No. 655372/2018

(N.Y. Sup. Ct., N.Y. County) (NYSCEF No. 62), a subsequent action to vacate an arbitration award

in favor of CCC in an action initiated by Sorghum over the failed transaction, Justice Borrok of the

New York Supreme Court wrote:

           Sorghum discovered that the advisory firm [Daqin Consulting Service (Shenzhen),
           Limited] 18 that it had retained to render a fairness opinion as to the Transaction was
           wholly-owed by Mr. Jie. This conflict of interest had not previously been disclosed.
           Sorghum’s investigation also revealed that Mr. Jie had colluded with a rogue




16
   Decision and Order, Shanghai NoNoBank Fin. Info. Serv. Co., Ltd. v. Jie, Index No. 653834/2018, NYSCEF No.
77 (N.Y. Sup. Ct., N.Y. County, July 12, 2019), available at: https://iapps.courts.state.ny.us/
fbem/DocumentDisplayServlet?documentId=FFmj40HZ6rta3CAgv_PLUS_3/zg==&system=prod.
17
     Id.
18
  Ex. A to Aff. of Jenny Johnson-Sardella, Sorghum Investment Holdings Ltd. v. China Commercial Credit Inc., Index
No. 655372/2018, NYSCEF No. 50 (N.Y. Sup. Ct., N.Y. County, Apr. 17, 2019), available at:
https://iapps.courts.state.ny.us/fbem/DocumentDisplayServlet?documentId=J02ta1rPzEsoSKFAnYtK6w==&
system=prod; Final Award, China Commercial Credit, Inc. v. Sorghum Investment Holdings Ltd., ICDR Case No. 01-
18-000-4901 (Am. Arb. Ass’n, July 30, 2018), available at: https://jusmundi.com/en/document/decision/pdf/en-china-
commercial-credit-inc-v-sorghum-investment-holdings-limited-final-award-monday-30th-july-2018.



                                                       19
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 25 of 125 PageID #: 909




           employee of Nonobank, Xioying Sun, to divert the payment of the $3.5 million
           escrow funds to Mr. Jie’s account. 19

           64.     Pursuant to the parties’ deal terms, CCC and Sorghum submitted their dispute to a

AAA arbitration. CCC prevailed 20 on the basis that: 21

           In the course of the arbitration proceedings, Mr. Lin made a declaration as to the
           events giving rise to the termination of the Transaction. In his declaration, Mr. Lin
           stated that he never signed any agreement relating to the escrow payment, had no
           record of any escrow agreement, and had no record of any escrow account (NYSCEF
           Doc. No. 50 ¶¶ 115-116, 120). Mr. Lin further stated that he had “no direct or
           indirect” proof that the purported escrow funds were ever deposited (id. ¶ 122).
           Relying on the declaration of Mr. Lin, the Arbitrator concluded that Nonobank never
           made the escrow payment as required under the Escrow Arrangement and found that
           Sorghum committed a willful breach of the SEA (id. ¶¶ 102, 107, 113-122, 152).

           65.     Following the arbitration award in favor of CCC, Justice Borrok presided over

Shanghai NoNoBank Fin. Info. Serv. Co. v. China Commercial Credit Inc., Index No. 653834/2014

(N.Y. Sup. Ct., N.Y. County), an action in which NoNoBank attempted to recover the $3.5 million

payment in the Sorghum deal.

           66.     In the NoNoBank litigation, evidence of Jie’s and Lin’s misconduct ultimately

surfaced. As Justice Borrok wrote: 22

           It later became apparent that Ms. Xiaoying Sun, an employee of Sorghum responsible
           for overseeing the Reverse Merger, including making arrangements for the transfer
           of funds into the Lin Escrow Account, was secretly working with Mr. Jie to divert
           the escrow funds to accounts controlled by Mr. Jie (id. ¶ 30). Sorghum subsequently
           learned that Mr. Jie was under criminal investigation in China in connection with the
           theft of approximately 2.9 billion RMB, the equivalent of roughly 300 million U.S.
           dollars, from more than 20,000 investors through fraudulent securities transactions
           (id. ¶ 31).


 Decision and Order, Sorghum Investment Holdings Ltd. v. China Commercial Credit, Inc., Index No. 655372/2018,
19

NYSCEF No. 62 (N.Y. Sup. Ct., N.Y. County, May 6, 2019), available at: https://iapps.courts.state.ny.us/fbem/
DocumentDisplayServlet?documentId=YTlBYmx5sRVD9SHQ9FjZjw==&system=prod.
20
  Ex. A to Aff. of Jenny Johnson-Sardella, Sorghum Investment Holdings Ltd., Index No. 655372/2018, NYSCEF
No. 50; Final Award, China Commercial Credit, Inc., ICDR Case No. 01-18-000-4901.
21
     Decision and Order, Sorghum Investment Holdings Ltd., Index No. 655372/2018, NYSCEF No. 62.
22
     Decision and Order, Shanghai NoNoBank Fin. Info. Serv. Co., Ltd., Index No. 653834/2018, NYSCEF No. 77.



                                                       20
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 26 of 125 PageID #: 910




           67.     Armed with evidence from the NoNobank litigation, Sorghum filed an action in the

New York Supreme Court seeking to vacate the arbitration award in the Sorghum action.

Recognizing the “high bar” and “limited circumstances where it is appropriate for a court to vacate

an arbitration award,” Justice Borrok found in favor of Sorghum and granted its petition to vacate

the original arbitration award in favor of CCC, 23 finding, in part: 24

           Discovery in a related action currently pending before this court, Shanghai
           NoNoBank Financial Information Service Co. v China Commercial Credit Inc.,
           Index No. 653834/2014, revealed that Mr. Jie had in fact wired the escrow payment
           to the Lin Escrow Account (NYSCEF Doc. Nos. 24, 25). Documents produced by
           TD Bank confirm that the sum of $3.5 million dollars was wired in two payments
           from accounts controlled by Mr. Jie to Mr. Lin’s attorney escrow account at TD
           Bank on December 20, 2017 (id.).

           68.     Relatedly, CCC and Jie failed to disclose the $3.5 million escrow payment in CCC’s

SEC filings, a material omission. 25

           69.     Defendants Jie, Levy and Singularity never disclosed to investors the material fact

that Jie’s tenure at CCC was marred by fraud, the misallocation of $3.5 million, the procurement of

a false affidavit, the fabrication of evidence regarding his criminal background, and the procurement

of a sham “fairness opinion” in an undisclosed related party transaction.

                           b.      Jie’s Alleged Criminal History and Legal Troubles in China

           70.     Jie has appeared deflect questions about his legal troubles in China, holding himself

out as a legitimate business person, not a criminal. For example, an April 19, 2019 article in the


23
   Ex. A to Aff. of Jenny Johnson-Sardella, Sorghum Investment Holdings Ltd., Index No. 655372/2018, NYSCEF
No. 50; Final Award, China Commercial Credit, Inc., ICDR Case No. 01-18-000-4901.
24
     Decision and Order, Sorghum Investment Holdings Ltd., Index No. 655372/2018, NYSCEF No. 62.
25
  Pet. to Vacate Arbitration Award, Sorghum Investment Holdings Ltd. v. China Commercial Credit, Inc., Index No.
655372/2018, NYSCEF No. 1 (N.Y. Sup. Ct., N.Y. County Oct. 29, 2018), available at:
https://iapps.courts.state.ny.us/fbem/DocumentDisplayServlet?documentId=aWOGsmBbhxDeJ7SpEaLJrw==&
system=prod; Mem. of Law in Supp. of Sorghum Investment Holdings Limited’s Pet. to Vacate Arbitration Award,
Sorghum Investment Holdings Ltd., v. China Commerical Credit, Inc., Index No. 655372/2018, NYSCEF No. 3 (N.Y.
Sup. Ct., N.Y. County Oct. 29, 2018), available at: https://iapps.courts.state.ny.us/fbem/Document|
DisplayServlet?documentId=NFTC9aKuARUy/uCOEQf0ZA==&system=prod.



                                                      21
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 27 of 125 PageID #: 911




Miami Herald entitled “Cindy Yang helped Chinese tech stars get $50K photos with Trump. Who

paid?” states:

           Speaking of his legal troubles back home [Jie] said: “The Chinese Communist Party’s
           policies [are] terrible. They always harass businesspeople like me.” 26

           71.     Beyond his misconduct at CCC (China Commercial Credit, Inc. v. Sorghum

Investment Holdings Limited, ICDR Case No. 01-18-0000-4901 (30 July 2018)), as found by Justice

Borrok, Singularity, Jie and Levy also failed to disclose Jie’s criminal conduct. Such conduct, which

numerous sources in China corroborate, consisted of, at a minimum, orchestrating a massive Ponzi

scheme for which dozens of individuals have been jailed and for which Jie is still wanted by

authorities in the PRC.

           72.     For example, during the course of the dispute between CCC and Sorghum, Jie

allegedly attempted to prove that he was not the subject of a criminal investigation in China by

producing a purportedly official letter from Chinese police purporting to show that they did not

intend to pursue charges against him. However, the Hefei Police have confirmed that the document

was a fabrication. According to a letter obtained by Chinese media, the Hefei Police stated: 27

           [Translated] Since we still do not have Yang Jie in custody, the Letter of Decision
           not to press charges presented by Yang Jie that you submitted to us is clearly
           fabricated, and Yang Jie is suspected of forging official government documents.

           73.     As a result, police in China reportedly added forgery to Jie’s list of suspected crimes.

Jie resigned from CCC in February 2018, while the litigation with Sorghum was still unfolding. 28



26
  See S. Blaskey, N. Nehamas, and C. Ostroff, “Cindy Yang helped Chinese tech stars get $50K photos with Trump.
Who paid?,” Miami Herald (Apr. 19, 2019), available at: https://www.miamiherald.com/latest-
news/article227941749.html.
27
     https://zhuanlan.zhihu.com/p/42011489.
28
  China Commercial Credit, Inc., Current Report (Form 8-K) (Feb. 9, 2018), https://www.sec.gov/Archives/edgar
/data/1556266/000121390018001606/f8k021218_chinacommercial.htm; China Commercial Credit, Inc., Annual
Report (Form 10-K) (Apr. 16, 2018), https://www.sec.gov/Archives/edgar/data/1556266/0001213900180045
14/f10k2017_chinacommercial.htm.



                                                      22
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 28 of 125 PageID #: 912




        74.     Upon information and belief, Levy, having served as a director of CCC (where Jie

was a General Manager), was aware of the litigation styled, China Commercial Credit, Inc. v.

Sorghum Investment Holdings Limited, ICDR Case No. 01-18-0000-4901 (30 July 2018), including

Jie’s alleged improprieties in that action, as alleged herein.

        75.     A July 3, 2022 Singularity Form 8-K states: “[o]n May 6, 2022, the Board of

Directors of the Company (the “Board”) formed a special committee of its Board of Directors (the

“Special Committee”) to investigate, in part, the allegations in the Hindenburg Report that Jie was a

fugitive on the run from the Chinese authorities.” In the Form 8-K, Singularity explained: 29

        As previously disclosed in the Original 10-K, the Original 10-Q and the Original 8-
        K, on May 5, 2022, an entity named Hindenburg Research issued a report (the
        “Hindenburg Report”) regarding the company alleging, pertinent to this disclosure,
        that the Company’s then CEO, Mr. Yang Jie, was a fugitive on the run from the
        Chinese authorities for running an alleged $300 million Ponzi scheme that lured in
        over 20,000 victims. On May 6, 2022, the Board of Directors of the Company (the
        “Board”) formed a special committee of its Board of Directors (the “Special
        Committee”) to investigate, in part, the allegations in the Hindenburg Report that the
        Mr. Jie was a fugitive on the run from the Chinese authorities. Subsequently, on
        August 16, 2022, the SEC and attorneys from Blank Rome LLP, counsel for the
        Special Committee, held a conference call, during which counsel represented that
        Mr. Jie had provided documentation to the SEC that indicated that the charges against
        him in the People’s Republic of China (‘the “PRC”) had been dropped, but the
        Special Committee’s investigation raised questions regarding the authenticity of such
        documents. The Special Committee concluded that a “Red Notice” was issued in the
        PRC with respect to Mr. Jie. A “Red Notice” is a request to law enforcement
        worldwide to locate and provisionally arrest a person pending extradition, surrender,
        or similar legal action. It is based on an arrest warrant or court order issued by the
        judicial authorities in the requesting country. After being suspended by the Special
        Committee on August 8, 2022, Mr. Jie resigned from his positions as CEO and as a
        director of the Company on August 9, 2022.

        76.     As discussed below, the independent investigation by Lead Counsel suggests that

Jie’s Zonglun W&R Report (“W&D Report”) is not reliable and provides a misleading and




29
   Singularity Future Technology Ltd., Current Report (Form 8-K) (July 3, 2023), https://www.sec.gov/
Archives/edgar/data/1422892/000121390023053742/ea181261-8k_singularity.htm.



                                                   23
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 29 of 125 PageID #: 913




inaccurate recitation of the facts regarding Jie’s criminal background.

           77.     Additional conflicting information exists. For example, in the Shorghum action

against CCC, Jie’s efforts to pass off forged documents were challenged. There, the arbitration

decision states, in part: 30

           hh) On or about January 1, 2018, Mr. Jie sent an email to Respondent, denying that
           he was part of the Fraud and attached a “No-Prosecution” letter which stated that he
           had been the victim of the Fraud;

           ii) Respondent hired a Chinese lawyer who gave an “authenticity” opinion that the
           document supplied by Mr. Jie was falsified;

           78.     Singularity’s July 3, 2022 Form 8-K also discusses a “legal opinion” obtained by Jie

which appears to contradict the findings of its own investigation, but makes no mention of the Red

Notice, defined above:

           On February 10, 2023, in response to two, now-settled, lawsuits filed by private
           investors, Mr. Jie filed a motion to dismiss the private investor’ suits and provided
           a copy of a formal legal opinion issued by the Zhonglun W&D Law Firm, PRC
           (“Zonglun W&D”). The Zonglun W&D legal opinion concluded that Mr. Jie was
           not charged with a crime in China, the investigation and underlying case had indeed
           been closed, and Mr. Jie was not formally treated as a criminal suspect in the PRC.

 Despite that, the Form 8-K fails to disclose that the scope of the W&D Report is limited to “a

 criminal case . . . of Anhui Tianhe Union Technology Co., Ltd.” See Hexin Global Limited v.

 Singularity Future Tech., Ltd., No. 22 Civ. 08160 (S.D.N.Y. Feb. 10, 2023) (ECF No. 23-13).

           79.     Singularity then states that its initial conclusion, which led its Special Committee to

suspend Jie, may be wrong:

           In order to provide more clarity to the issues raised, the Registrant engaged Hebei
           Mei Dong Law Firm, of Shijiazhuang City, PRC to further investigate the
           authenticity of the documentation provided by Mr. Jie to the SEC and whether a
           “Red Notice” had been issued. On June 12, 2023, Hebei Mei Dong Law Firm issued
           a report to the Registrant with respect to these issues. In their report, the Chinese
           counsel concluded after conferring with local officials, that investigation of Mr. Jie

30
     Final Award, China Commercial Credit, Inc., ICDR Case No. 01-18-000-4901.



                                                       24
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 30 of 125 PageID #: 914




           conducted by the Baohe District Police Bureau of Hefei City, PRC was completed,
           that Mr. Jie was never prosecuted and there was no criminal judgment against Mr.
           Jie as of the date of such report. The Chinese counsel also confirmed that no “Red
           Notice” was issued for Mr. Jie in the PRC.

           80.     Singularity did not provide a copy of the Hebei Mei Dong Report in its 8-K.

           81.     Inexplicably, Singularity’s Form 8-K dated July 3, 2022, does not address the letter

that Jie allegedly fabricated in the Sorghum arbitration in an attempt to exonerate himself which the

authorities in the PRC reported stated was forged, as alleged above.

           82.     Regardless, the W&D’s Report 31 is unreliable. The Report states:




           83.     Despite the representation in the W&D Report, Jie was indeed mentioned in the


31
     Ex. RR to Mahon Aff.



                                                    25
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 31 of 125 PageID #: 915




criminal judgments/criminal rulings. However, in some of the judgments/rulings, there was a

bracketed note after Jie’s name, which is (另案处理), indicating that Jie would be treated in a

separate case. This suggests that there was a case filed against Jie or that the police were investigating

and planning to file such a case.

        84.     At least two criminal rulings obtained from authorities in China include entries that

support the conclusion that the W&D Report is incorrect or misleading, as shown in the following

screenshot excerpts:

 Screenshot showing “(另案处理)” after Jie’s name                 From Memo dated Aug 11,
                                                              2023
 (Jie’s full name is reddened below, and (另案处理)
 highlighted in yellow)




 浙江省台州市中级人民法院

 刑事裁定书

 （2018）浙10刑终1101号

 原公诉机关浙江省天台县人民检察院。

 上诉人（原审被告人）孙雪玲，女，1964年10月24日出生于浙江省天台县，汉
 族，小学文化，无业，住天台县。2018年6月5日因本案被天台县公安局刑事拘
 留，同年7月4日被依法逮捕，现羁押于天台县看守所。

 浙江省天台县人民法院审理天台县人民检察院指控原审被告人孙雪玲犯非法吸
 收公众存款罪一案，于2018年10月11日作出（2018）浙1023刑初344号刑事判决




                                                   26
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 32 of 125 PageID #: 916




 。原审被告人孙雪玲，提出上诉。本院依法组成合议庭，经阅卷，讯问上诉人
 孙雪玲，认为本案事实清楚，决定不开庭审理。现已审理终结。

 原判认定：

 2015年10月，揭洋（另案处理）在安徽省六安市注册成立安徽航旅科技有限公
 司，并指派汪某、邱某（均另案处理）二人来到合肥市发展市场。为了发展集
 资业务，汪某、邱某二人于2015年12月3日注册成立安徽天合联盟科技有限公司
 （以下简称“天合联盟”），以天合联盟控股公司的子公司为名义每日两次在公
 司经营地举办推广介绍会方式向外公开宣传，吸收投资人投资，宣传公司就是
 负责吸收群众资金，通过资金循环运转，造成大量的现金流，来拉升天合联盟
 公司在美国纳斯达克上市股票（股票代码TUAA）的股值，再把股票升值挣来
 的钱回报给投资人

 Translation FYR:
 Taizhou Intermediate People's Court, Zhejiang Province
 Criminal ruling
 (2018)Zhejiang 10 Criminal Final No. 1101


 The original public prosecution organ was the People's Procuratorate of Tiantai
 County, Zhejiang Province.
 The appellant (defendant in the original trial): Sun Xueling, female, born in Tiantai
 County, Zhejiang Province on October 24, 1964, Han nationality, primary school
 education, unemployed, living in Tiantai County. On June 5, 2018, Sun Xueling was
 criminally detained by the Tiantai County Public Security Bureau for this case, and
 was arrested in accordance with the law on July 4 of the same year. She is currently
 detained in the Tiantai County Detention Center.


 The People's Court of Tiantai County, Zhejiang Province tried the case of Tiantai
 County People's Procuratorate accusing the defendant Sun Xueling of the crime of
 illegally absorbing public deposits, and issued a criminal judgment (2018) Zhejiang
 1023 Xingchu No. 344 on October 11, 2018. Sun Xueling, the defendant in the
 original trial, filed an appeal. This court formed a collegial panel in accordance with
 the law. After reviewing the files and interrogating the appellant Sun Xueling, it was



                                                27
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 33 of 125 PageID #: 917




 believed that the facts of the case were clear and decided not to hold a trial. Trial is
 now over.
 The original judgment found:
 In October 2015, Jie Yang (handled in another case) registered and established Anhui
 Hanglv Technology Co., Ltd. in Liu'an City, Anhui Province, and assigned Wang and
 Qiu (both handled in a separate case) to Hefei City to develop the market. In order to
 develop fund-raising business, Wang and Qiu registered and established Anhui
 Tianhe Union Technology Co., Ltd. (hereinafter referred to as "Tianhe Union") on
 December 3, 2015. Twice a day at the company's place of business, the two held
 promotional presentations to publicize and attract investors' investment, and promoted
 the logic that the company was responsible for absorbing funds from the masses, and
 through the circulation of funds, a large amount of cash flow was generated to
 enhance the share value of Tianhe Union's NASDAQ-listed stocks (stock code
 TUAA), and then return the money earned from stock appreciation to the investors.




 安徽省合肥市包河区人民法院

 刑事判决书

 （2020）皖0111刑初22号

 公诉机关合肥市包河区人民检察院。

 被告人杨萍，女，1963年9月27日出生，汉族，大学本科文化，户籍所在地安徽
 省合肥市蜀山区。因涉嫌非法吸收公众存款罪，2019年10月1日被合肥市公安局




                                                  28
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 34 of 125 PageID #: 918




 包河分局刑事拘留；同年10月16日经合肥市包河区人民检察院批准，并由合肥
 市公安局包河分局执行逮捕。现羁押于合肥市女子看守所。

 辩护人魏帮跃，安徽世邦律师事务所律师。

 合肥市包河区人民检察院以包检公诉刑诉[2019]1690号起诉书指控被告人杨萍
 犯非法吸收公众存款罪，于2020年1月3日向本院提起公诉并建议适用简易程序
 审理。因存在不适宜简易程序审理的情形，本院依法适用普通程序组成合议庭
 ，公开开庭审理了本案。合肥市包河区人民检察院指派检察员刘某1出庭支持公
 诉，被告人杨萍及其辩护人到庭参加诉讼。期间因不可抗力中止审理一次。本
 案现已审理终结。

 合肥市包河区人民检察院指控：

 经依法审查查明：2015年10月份，揭洋（另案处理）找到汪荣华、邱训涛（另
 案处理）共同预谋从社会上吸收资金。后汪荣华、邱训涛又找到他人通过成立
 安徽航旅科技股份有限公司、安徽天合联盟科技有限公司，以天合联盟控股有
 限公司在美国纳斯达克上市的股票（代码TUAA）进行股权增发众筹的名义，
 面对社会不特定人员非法吸收资金，直至2016年4月18日资金链断裂。被告人杨
 萍作为合肥一报单中心负责人，按照下属投资人员每投资一单4000元，获得160
 元报单费。

 Translation FYR:
 People's Court of Baohe District, Hefei City, Anhui Province
 Criminal judgment
 (2020) Anhui 0111 Xingchu No. 22
 The public prosecution organ is the People's Procuratorate of Baohe District, Hefei
 City.
 Defendant Yang Ping, female, was born on September 27, 1963, Han nationality, with
 a bachelor's degree, and her domicile is in Shushan District, Hefei City, Anhui
 Province. On October 1, 2019, Yang Ping was criminally detained by the Baohe
 Branch of the Hefei Public Security Bureau for being suspected of illegally absorbing
 public deposits; on October 16 of the same year, with approval from the Baohe
 District People's Procuratorate of Hefei City, Baohe Branch of the Hefei Public


                                               29
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 35 of 125 PageID #: 919




 Security Bureau arrested Yang Ping. She is currently detained in the Hefei Women's
 Detention Center.
 Defender Wei Bangyue, lawyer of Anhui Shibang Law Firm.
 The People's Procuratorate of Baohe District, Hefei City accused the defendant Yang
 Ping of committing the crime of illegally taking deposits from the public in the
 Baojian Public Prosecution Xingsu [2019] No. 1690 indictment. On January 3, 2020,
 the People's Procuratorate filed a public prosecution with this court and suggested the
 application of a simplified procedure for trial. Due to circumstances that were not
 suitable for a simplified procedure, this court formed a collegial panel by applying the
 ordinary procedure according to law, and heard the case in public. The People's
 Procuratorate of Baohe District, Hefei City appointed prosecutor Liu #1 to appear in
 court to support the public prosecution, and the defendant Yang Ping and her
 defenders attended the court session. The trial was suspended once due to force
 majeure. The case hearing is now closed.
 The People's Procuratorate of Baohe District, Hefei City accused:
 According to the lawful review, it was found that in October 2015, Jie Yang (handled
 in another case) approached Wang Ronghua and Qiu Xuntao (handled in another
 case) to conspire together to absorb funds from the society. Afterwards, Wang
 Ronghua and Qiu Xuntao found other people to establish Anhui Tourism Technology
 Co., Ltd. and Anhui Tianhe Union Technology Co., Ltd., and absorbed funds from
 unspecified people in the society in the name of issuing shares of Tianhe Union listed
 on NASDAQ (code TUAA) in the United States, until April 18, 2016, when the
 capital chain broke. Defendant Yang Ping, as the person in charge of a billing center
 in Hefei, received a commission of RMB 160 for every RMB 4,000 investment
 injected by the investors.


        85.     The Zonglum W&D Report asserts that Jie has not been convicted, and, therefore,

can only be called a suspect. However, the W&D Report omits that Jie was on the PRC’s wanted

list. If, as alleged, Jie was on the run and could not be taken into custody, he could not be transferred

to the procuratorate and then the court. Hence, the procuratorate could not prosecute and a court

would not have the opportunity to review his circumstances, or the potential crime, Jie may have

committed. The W&D Report also pointed out that Jie does not meet the conditions for trial in

absentia. The foregoing illustrates why Jie has not been (or rather, could not be) convicted yet.

        86.     Myriad sources support the conclusion that Jie was (and/or remains) wanted in China



                                                   30
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 36 of 125 PageID #: 920




for criminal offenses.

           87.     For example, the Final Award in the arbitration China Commercial Credit, Inc. v.

Sorghum Inv. Holdings Ltd., ICDR Case No. 01-18-0000-4901 (July 30, 2018), states: 32

           s) On or about December 17, 2017, China Central Television (“CCTV”) announced
           that Mr. Jie was under criminal investigation by Chinese law enforcement authorities
           in connection with fraudulent securities transactions [unrelated to the transactions in
           issue in this Arbitration] (the “Fraud”);

           t) On December 15, 2017, the relevant Chinese law enforcement authority issued a
           press release about the Fraud stating that Mr. Jie was the main suspect;

           u) On December 19, 2017, CCTV issued a press release regarding the criminal
           investigation which stated that Mr. Jie was a fugitive wanted by law enforcement.

           88.     Further, Jie was named as a defendant in Shanghai NoNobank Fin. Info. Serv. Co.,

Ltd. v. Jie, Index No. 653834/2018 (N.Y. Sup. Ct., N.Y. County), in connection with the

disappearance of $3.5 million, which Jie allegedly refused to return after the failed reverse merger.

The NoNobank complaint alleges, in part, that a party to the transaction “received confirmation

directly from PRC government authorities that Jie is the main suspect in an ongoing criminal

investigation, which remains pending as of the date of this Complaint.” 33

           89.     Lead Counsel’s investigation corroborates the Hindenburg Report’s assertion that

Jie is connected to a $300 million Ponzi scheme in China, information arising from his connection

to an entity Anhui Tianhe Union Technology Co. Ltd. (“Anhui”).

           90.     Court proceedings in connection with the Anhui Ponzi scheme resulted in the

conviction of all 23 defendants in China. Each defendant was convicted of the charge of illegal

absorption of public deposits, except Gao Xinru, who was convicted of fundraising fraud.



32
     Final Award, China Commercial Credit, Inc., ICDR Case No. 01-18-000-4901.
33
  Summons and Compl., Shanghai NoNoBank Fin. Info. Serv. Co., Ltd. v. Jie, Index No. 653834/2018, NYSCEF No.
1, at 7 (N.Y. Sup. Ct., N.Y. County Aug. 2, 2018).



                                                       31
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 37 of 125 PageID #: 921




        91.      Most of the judgment records name Jie as the primary actor in the scheme. The

records indicate that Jie would be handled separately from the 23 cases that resulted in convictions.

One of the judgement records from 2018, identified as Case 皖01刑终658号 with the Judgment


Title, 汪荣华、邱训涛非法吸收公众存款二审刑事裁定书, provides a detailed account of how the

crime was committed and how Jie manipulated the criminal process. 34 Indeed, several companies

registered under Defendant Jie in China are identified in the Anhui criminal judgments as having

been involved in the Anhui case for accepting funds or distributing funds to Jie’s account or others.

        92.      Jie has been described as the beneficial controller behind Anhui, according to media

reports and the criminal judgments in China. Documents obtained from authorities in China

indicate that Jie exercised control over Anhui. The following is a screenshot of an excerpt of one

such document that describes Jie as the person who controls Anhui and is said to have conspired

with Ronghua Wang (convicted), Xuntao Qiu (convicted), and others to commit the crimes

associated with Anhui:




        93.      The following statement issued by the Economic Crime Investigation Squad of

Hefei Public Security Bureau Baohe District Branch on July 18, 2018, states that the Squad issued

a wanted order, also known (as referenced above) as a “Red Notice,” against Jie in May 2017, and

had applied with the Baohe District People’s Procuratorate for the arrest of Jie Yang on suspicion



34
   The same record identifies Jie’s spouse as Xiaohuan Huang (黄小环) and alleges that she was indirectly involved
in Jie’s Ponzi scheme and business operations to varying degrees, although Xiaohuan is not named a defendant in that
action.



                                                        32
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 38 of 125 PageID #: 922




of a fraudulent fund-raising crime (集资诈骗罪). Notably, the following statement was obtained


by independent investigation but references Shanghai Wheat Asset Management Co. Ltd., the

parent of Sorghum, which alleged that it too had obtained a statement that Jie was under

investigation, and in response to which Jie purported to provide evidence that Sorghum’s

information was not accurate – it was later alleged that Jie has forged the documents contesting

the police letter obtained by Sorghum.




       Statement [TRANSLATION]

       July 18, 2018

       From: Qu Xiaolong (屈晓隆) of Hefei Public Security Bureau Baohe District Branch
       Economic Crime Investigation Squad

       To: Shangai Wheat Asset Management Co Ltd (上海麦子资产管理有限公司)



                                              33
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 39 of 125 PageID #: 923




            In witness whereof, our squad filed the illegal public deposit absorption case of Anhui
            Tianhe Union Technology Co Ltd (安徽天合联盟科技有限公司) on April 19,
            2016. During our investigation, our squad found that the case’s main culprit is Jie
            Yang 35 (揭洋), who orchestrated the whole case. Our squad issued a wanted order
            against Jie Yang in May 2017, and has applied with Baohe District People’s
            Procuratorate for arrest of Jie Yang on suspicion of the crime of fraudulent
            fundraising (集资诈骗罪). Since to date Jie Yang has not been brought to justice, the
            “No Prosecution Decision” document your company produced as provided by Jie
            Yang is utterly fictitious and Jie Yang’s practice is suspected of constituting forgery
            of official documents of state organs (伪造国家机关公文罪).

            94.      In addition to the foregoing, Lead Counsel has identified additional civil lawsuits

involving financial misconduct in which Jie was named as a defendant or co-defendant based on

Chinese language research.

                     c.       Jie Has Represented Multiple Conflicting Accounts of His Educational
                              History

            95.      Conflicting information has been publicly reported about Defendant Jie’s

education. For example, in March 2016, Tianhe Union Holdings Limited reported that Jie had a

degree in Marketing from Lv’an Teachers College. 36 In contrast, in a 2017 SEC filing by Tianci

International, Inc., it was reported that Jie obtained his bachelor’s degree in Business

Administration from Beijing College of Finance and Commerce in 2006. 37 Further, in a November

1, 2021 Form 8-K, Singularity reported to the SEC that Jie held a bachelor’s degree in Business

Management from Beijing Finance and Trade Technology College. 38




35
     This is the direct translation of Jie’s name in Chinese.
36
  Tianhe Union Holdings Limited, Current Report (Form 8-K) (Mar. 30, 2016), https://www.sec.gov/Archives/edgar
/data/1619870/000121390016012193/f8k033016_tianheunion.htm.
37
  Tianci International, Inc., Annual Report (Form 10-K) (Jan. 13, 2017), https://www.sec.gov/Archives/edgar/data/
1557798/000121390017000348/f10k2016_tianciinternational.htm.
38
   Sino-Global Shipping America, Ltd., Current Report (Form 8-K) (Nov. 1, 2021), https://www.sec.gov/Arc
hives/edgar/data/1422892/000121390021055789/ea149737-8k_sinoglobal.htm.



                                                                34
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 40 of 125 PageID #: 924




           B.       Jie and Singularity Appoint John Levy as a Director of the Company But
                    Omitted He Was a Director of CCC, the Entity at Which Jie Committed
                    Numerous Financial Improprieties

           96.      Singularity touted Defendant Levy’s bona fides as a corporate director. Indeed, Levy

operates the Board Advisory, 39 an advisory service for corporate board, touting his personal

“commitment to boardroom excellence.” Levy was keenly aware of the importance of providing

truthful information to the markets, as the Board Advisory states “When you can’t trust companies

and/or markets, you don’t become a shareholder.” Id.

           97.      Despite Defendant Levy’s apparent bona fides as a director and board advisor,

Singularity omitted Levy’s recent role as a director of CCC where Jie served as an executive carrying

out myriad frauds, as alleged herein. That omission delinked the association between Levy and Jie

and omitted the connection to Jie’s prior unlawful conduct. As discussed above, on information and

belief, Levy – in his capacity as a CCC director – would have been aware of the litigation styled,

China Commercial Credit, Inc. v. Sorghum Investment Holdings Limited, ICDR Case No. 01-18-

0000-4901 (July 30, 2018). See Section IV.A.2.a, supra.

           98.      Specifically, on November 19, 2021, the Company filed with the SEC its Form 8-K

signed by Jie. In relevant part, the Form 8-K stated:

           Item 5.02 Departure of Directors or Certain Officers; Election of Directors;
           Appointment of Certain Officers; Compensatory Arrangements of Certain
           Officers.

           (c)     On November 18, 2021, the Registrant elected Mr. John F. Levy as an
           Independent Director, Chairperson of the Compensation Committee, a member of
           Nominating/Corporate Governance Committee, and a member of the Audit
           Committee, effective from November 18, 2021 until the Registrant’s annual
           meeting of the shareholders in 2022, and a successor has been duly elected and
           qualified or until his earlier resignation, removal from office, death or incapacity.

           Mr. Levy, 66 years old, is the Chief Executive Officer, board advisory of Westfield,
           NJ, a consulting firm. From September 2019 to April 2020, he served as the Chief

39
     See Home, Board Advisory, available at: http://www.boardadvisory.net/.


                                                         35
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 41 of 125 PageID #: 925




          Executive Officer of Sticky Fingers Restaurants, LLC. Mr. Levy currently serves
          on the board of directors of two other public companies: Applied Minerals, Inc.,
          New York, NY (AMNL.OB); and Happiness Biotech Group Ltd., which is a
          company listed on Nasdaq Capital Market (NASDAQ: HAPP). From June 2016 to
          October 2021, Mr. Levy served as board member and Chair of Audit Committee of
          Washington Prime Group, Inc. (NYSE: WPG), which filed for protection under
          Chapter 11 of the United States Bankruptcy Code on June 13, 2021 and emerged
          from bankruptcy protection on October 21, 2021. He also served as board member
          and Chair of Governance Committee of Takung Art Co., Ltd. (OTCQB:TKAT),
          from March 2016 to June 2019. Mr. Levy is a Certified Public Accountant, and Mr.
          Levy is a graduate of the Wharton School of Business at the University of
          Pennsylvania, he received his MBA from St. Joseph's University in Philadelphia,
          Pennsylvania.

          The Board has determined Mr. John F. Levy is deemed to be independent under the
          definition provided by NASDAQ Listing Rule 5605(a)(2).

          Mr. Levy has (i) no arrangements or understandings with any other person pursuant
          to which he was appointed as a director, and (ii) no family relationship with any
          director or executive officer of the Registrant or any person nominated or chosen
          by the Registrant to become a director or executive officer.

          99.    The statement in paragraph 98 contained in the November 19, 2021 Form 8-K was

false and misleading because it failed to disclose Singularity’s newly-elected director Defendant

John Levy’s prior tenure, from January 2013 through December 2016, as a director of CCC, an

entity which failed amidst detailed allegations that Jie, as alleged above misappropriated assets

when he was an executive and shareholder in CCC and engaged in the fraudulent acts alleged

herein.

          100.   On February 23, 2023, Defendant Levy tendered his resignation from his positions

as a member of the Company’s Board, as well as the Audit Committee, the Compensation

Committee, and the Nominating/Corporate Governance Committee of the Board, effective

immediately.

          C.     Singularity Claims to Transform Its Ailing Global Shipping and Logistics
                 Business to a Cryptocurrency Mining and Hardware Development Business

          101.   Singularity embarked on a sham transformation from a shipping and logistics



                                                 36
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 42 of 125 PageID #: 926




company to a cryptocurrency company beginning with a February 3, 2021 announcement by

Singularity. 40 In fact, as alleged below, Singularity did not develop a cryptocurrency business.

Rather, the Company engaged in a series of frauds and sham transactions to create the impression

that it was undertaking the transition, using that purported transition to raise tens of millions of

dollars from the sale of unregistered shares based on the sham cryptocurrency business.

           102.   On February 3, 2021, Singularity filed a Form 8-K with the SEC, signed by

Defendant Cao, incorporating a February 2, 2021 press release announcing the Company’s

transformation into a cryptocurrency and bitcoin mining firm, stating: 41

           Sino-Global Shipping America, Ltd. (NASDAQ: SINO) (“Sino-Global”, the
           “Company” or “we”), a non-asset based global shipping and freight logistical
           integrated solutions provider, announced today that the newly appointed Chief
           Operating Officer Mr. Lei Nie and Chief Technology Officer Mr. Xintang You will
           spearhead the Company’s effort to enter Bitcoin mining.

           As Sino-Global evaluates its strategy for 2021 and beyond, the planned Bitcoin
           mining expansion follows a series of steps in preparation. The plan utilizes
           leadership team members who specialize in information technology, Blockchain,
           cryptocurrency mining operations and more. Given the Company’s plan to enhance
           the traditional logistics service platform through leveraging innovative
           technologies, the Company is excited to explore opportunities created by current
           market conditions and enter the cryptocurrency sector.

           We are thrilled to expand to Bitcoin mining,” commented Mr. Lei Cao, Chief
           Executive Officer of Sino-Global. “The management team is ready to take our
           business to the next level by executing this expansion strategy. We believe that
           Sino-Global is well-positioned to continue growing its core business while
           expanding to Bitcoin mining operations.

           103.   On this news, the price of Singularity’s stock rose from $5.58 to $5.93, on

significant volume.

           104.   On February 9, 2021, Singularity issued a press release, incorporated into a Form 8-


40
   Sino-Global Shipping America, Ltd., Current Report (Form 8-K) (Feb. 3, 2021), https://www.sec.gov/Archives
/edgar/data/1422892/000121390021006399/ea134547-8k_sino.htm.
41
     Id.



                                                     37
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 43 of 125 PageID #: 927




K filed with the SEC, signed by Defendant Cao, announcing that the Company had: 42

        [E]ntered into a securities purchase agreement (the “Purchase Agreement”) with
        the investors specified on the signature page thereto (the “Investors”) pursuant to
        which the Company agreed to sell to the Investors, and the Investors agreed to
        purchase from the Company, in a registered direct offering, an aggregate of
        3,655,000 shares (the “Shares”) of the common stock of the Company, no par value
        per share (“Common Stock”), at a purchase price of $7.80 per Share, for aggregate
        gross proceeds to the Company of $28,509,000.

        105.     As discussed herein, the statements in paragraphs 102 and 104 were materially false

and misleading because they failed to disclose that Singularity’s cryptocurrency transformation

was little more than a series of sham transactions, such as those with Thor Minor (see Section IV.6,

infra) and Golden Mainland (see Section IV.F, infra), designed to create the appearance of a

transition. Thus, Singularity’s announcement regarding the Purchase Agreement was false and

misleading because the investments had been procured through false and misleading statements

that the transactions were valid, and the investments were procured on false representations

regarding the Company’s sham cryptocurrency transition. Singularity was in per se breach at the

time that it entered those transactions, and they were based on false representations regarding the

Company’s purported cryptocurrency business.

        D.       Singularity, Jie, Shan, Pan, and Cao Induce Private Investment in Singularity
                 Based on False Claims Regarding the Company’s Sham Cryptocurrency
                 Business

        106.     On February 10, 2021, Singularity filed a Prospectus with the SEC in which it

announced that it planned to capitalize on its purported shift to cryptocurrency by selling

unregistered shares of its common stock to investors. Specifically, Defendant Cao announced that

the Company had entered into agreements to sell 3,655,000 unregistered shares of Singularity




42
   Sino-Global Shipping America, Ltd., Current Report (Form 8-K) (Feb. 10, 2021), https://www.sec.gov/Archives/
edgar/data/1422892/000121390021008047/ea135111-8k_sinoglobal.htm.



                                                      38
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 44 of 125 PageID #: 928




stock, raising $28,5000,000 with the express purpose of “investment in information technology

and software and hardware in connection with our new cryptocurrency initiative.” 43 However, that

announcement was misleading because the investments were procured through false and

misleading statements regarding the Company’s sham cryptocurrency business.

           107.   On February 10, 2021, Singularity also filed a Form 8-K with the SEC, signed by

Cao, in which it announced the “closing of its previously announced registered direct offering and

concurrent private placement with certain accredited investors to purchase a total of

$13,599,792.50 of its common stock and warrants.” 44

           108.   On February 11, 2021, Singularity filed a Form 8-K with the SEC, signed by Cao,

in which it “announc[ed] the closing of its previously announced registered direct offering and

concurrent private placement with certain accredited investors to purchase a total of $28,509,000

of its common stock and warrants.” 45

           109.   Upon information and belief, the “accredited investors” referred to in the February

10 and 11, 2021 Form 8-Ks included Hexin Global Limited, Viner Total Investments Funds, Jinhe

Capital Limited, St. Hudson Group LLC, Imperii Strategies LLC, Isyled Technology Limited, and

Hsqynm Family Inc. Singularity’s announcement regarding the private investments was false and

misleading and omitted the fact that Defendants Singularity, Jie, Shan, Pan, and Cao had induced

the accredited investors to make the investments on the basis of false claims that Singularity

expected substantial growth based on its new cryptocurrency business which, as alleged herein,

the Singularity Defendants knew was untrue and that the underlying investment contracts were


43
  Sino-Global Shipping America, Ltd., Prospectus Supplement (Feb. 16, 2018), https://www.sec.gov/Archives/edgar/
data/1422892/000121390021008067/ea135095-424b5_sinoglobal.htm.
44
  Sino-Global Shipping America, Ltd., Current Report (Form 8-K) (Feb. 10, 2021), https://www.sec.gov/Archives/
edgar/data/1422892/000121390021008047/ea135111-8k_sinoglobal.htm.
45
     Id.



                                                      39
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 45 of 125 PageID #: 929




invalid and that Singularity was in breach of them at the time it entered into those contracts.

        110.    On this news, the price of Singularity’s common stock rose substantially from an

opening price of $7.40 on February 10, 2021, to close at $7.78, and continued to rise daily

thereafter, closing at $10.81 per share on February 22, 2021.

        111.    On February 16, 2021, Singularity filed a Registration Statement with the SEC

seeking to vastly accelerate its efforts to raise cash based on its cryptocurrency transformation and

sell “any combination of debt securities, shares of common stock, preferred stock, warrants, rights,

share purchase contracts, share purchase units or units having an aggregate initial offering price

not exceeding $200,000,000.” 46

        112.    On this news, during the period from February 9, 2021 to February 17, 2021, the

Company’s common stock price rose from $9.10 to $9.47.

        113.    The statements in paragraphs 102, 104 and 111 concerning Singularity’s plan to

sell unregistered shares of common stock based on its “new cryptocurrency initiative” were

materially false and misleading because the Company’s cryptocurrency transition (i) was a sham

designed to inflate its stock and facilitate related party transactions, (ii) was based on related party

transactions and other fictious transactions and companies, and (iii) could not execute on its

cryptocurrency initiatives. Likewise, the statements in paragraphs 106, 109 and 111 concerning

the related proposed sales of unregistered securities, common stock, preferred stock, warrants,

rights, share purchase contracts, share purchase units, or units announced between February 9

through 16, 2021, were false and misleading for the same reasons.




46
   Sino-Global Shipping America, Ltd., Registration Statement (Form S-3) (Feb. 16, 2021), https://www.sec.gov/
Archives/edgar/data/1422892/000121390021009665/ea135668-s3_sinoglobal.htm.



                                                     40
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 46 of 125 PageID #: 930




        E.       Singularity Rebrands Itself and Touts the Launch of Its Cryptocurrency
                 Mining Operations

        114.     On March 3, 2021, Singularity filed a Form 8-K with the SEC, signed by Cao,

which stated that the Company had entered into an agreement to purchase 2,783 digital currency

operation servers for $4.6 million. In a press release incorporated into the 8-K, Cao stated: 47

        We are excited to announce the purchase order, which demonstrates the efficiency
        of our management team’s ability to pivot and execute a new venture into
        cryptocurrencies. To provide transparency on the mining operations and daily
        probabilities to our shareholders, the Company will disclose the digital currency
        wallet addresses once they are available. We are confident with the opportunity
        presented to us from the digital currency industry and our capability to capture the
        growth in furtherance of our strategy to maximize our shareholder value.

        115.     On this news, Singularity’s common stock price rose from $5.40 on March 2, 2021,

to $5.93 on March 3, 2021 on heavy volume.

        116.     On September 21, 2021, Singularity filed a Form 8-K with the SEC and issued a

press release in which it announced that it had restructured its March 2, 2021 agreement with Hebei

Yanghuai Technology Co., Ltd. to buy 2,783 digital currency (i.e., crypto) mining servers from

Yanghuai. The press release stated that “[t]he deal was part of Sino-Global’s expansion into the

cryptocurrency market.” In addition, Defendant Cao stated that Singularity “plan[s] to switch to a

direct mining business rather than contracting with third parties in order to have greater control

over this growth segment and to optimize our gross margin.” 48

        117.     On this news, Singularity’s common stock price rose from an opening price of $2.47

on September 21, 2021 to close at $2.58 on September 22, 2021.

        118.     Singularity continued to mislead the market by purporting to effect a full-scale



47
   Sino-Global Shipping America, Ltd., Current Report (Form 8-K) (Mar. 3, 2021), https://www.sec.gov/Archives
/edgar/data/1422892/000121390021013073/ea136933-8k_sinoglob.htm.
48
   Sino-Global Shipping America, Ltd., Current Report (Form 8-K) (Sept. 21, 2021), https://www.sec.gov/Archives
/edgar/data/1422892/000121390021048996/ea147738-8k_sinoglobal.htm.



                                                      41
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 47 of 125 PageID #: 931




transformation of the Company to a cryptocurrency business, including changing its name and

business model.

        119.     For example, on January 5, 2022, the Company issued a Form 8-K, filed with the

SEC, in which it disclosed that it had changed its name from Sino-Global Shipping America, Ltd. to

Singularity Future Technology Ltd. in order to align the Company with the cryptocurrency

markets. 49

        120.     On March 28, 2022, Singularity announced the launch of its new website to highlight

its transition to cryptocurrency: 50

        Great Neck, N.Y., March 28, 2022 /PRNewswire/ -- Singularity Future Technology
        Ltd. (the “Company”) (NASDAQ: SGLY) today announced the formal launch of its
        new corporate website. Singularity Future Technology’s website is designed to better
        highlight the Company’s successful growth and momentum in cryptocurrency,
        Blockchain and other new markets. In addition to providing resources to customers,
        partners and investors, the website is designed to showcase the Company’s
        expanding business portfolio, services and solutions whilst highlighting its long-term
        strategy and leadership vision.

        Singularity Future Technology, a Nasdaq-listed company, is revolutionizing
        cryptocurrency, Blockchain and other new markets by focusing on innovative
        solutions for globally interconnected networks and establishing state-of-the-art
        crypto mining pools. As the technology landscape constantly shifts, the Company
        strives to provide its clients frictionless involvement and a growth-enabling
        ecosystem in this ever-changing space.

        Chief Executive Officer, Mr. Yang “Leo” Jie, commented, “We have been
        aggressively expanding in rapid growth areas and are excited with the launch of our
        new corporate website, which aligns with our business strategy and leadership vision
        for the fast evolving cryptocurrency, Blockchain and other new markets we serve.
        Our team designed the sleek new site to be informative and scalable as we continue
        to drive growth. The timing made sense for us to formally launch now given our
        recent high profile announcement to enter the greenfield distributed storage market,
        which we expect will build on our successful bitcoin mining asset and Blockchain
49
   Sino-Global Shipping America, Ltd., Current Report (Form 8-K) (Jan. 3, 2022), https://www.sec.gov/Archives
/edgar/data/1422892/000121390022000636/ea153497-8k_sinoglobal.htm.
50
  Press Release, Singularity Future Technology Ltd., Singularity Future Technology Formally Launches New Website
(Mar. 28, 2022), https://www.prnewswire.com/news-releases/singularity-future-technology-formally-launches-new-
website-301511368.html. A review of the SEC’s website did not reveal the filing of an accompanying Form 8-K
incorporating the Company’s March 28, 2022 press release.



                                                      42
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 48 of 125 PageID #: 932




           businesses. We expect our new corporate website will also serve as an excellent
           resource to help customers and partners better understand the breadth of our
           capabilities, while also serving as a powerful sales engine for our team.” 51

           121.     On this news, Singularity’s common stock price rose from an opening price of

$11.53 on March 28, 2022 to close at $11.90. In the days that followed, the stock continued to

climb steadily, closing at $14.02 on March 31, 2022.

           122.     Singularity’s announcement, description, and the content of its newly launched

website as of March 28, 2022 in paragraph 120 were false and misleading because the Company

neither intended nor had the capability to meaningfully engage in a direct cryptocurrency mining

business.

           123.     Singularity has since abandoned entirely its foray into cryptocurrency and no longer

refers to any crypto-related business, instead describing its business on its current website as: 52

           We are a Nasdaq listed company committed to creating an eco-friendly environment
           in the shipping industry. Our focus is on developing sustainable practices in our
           shipping operations, with our warehouse located in Houston, Texas for efficient
           shipping and timely delivery to our clients. As the shipping industry is constantly
           evolving, we are dedicated to providing our clients with a seamless and growth-
           oriented ecosystem. Our aim is to facilitate frictionless involvement and to remain at
           the forefront of industry changes while implementing eco-friendly practices in our
           operations.

           124.     Singularity’s Form 10-Q for the period ended Q1 2023 confirms that it has exited the

cryptocurrency business stating: “The Company ceased to sell crypto-mining equipment since

January 1, 2023. For the three months ended March 31, 2023, the Company did not sell crypto-

mining machines.” 53



51
   Archived captures of Singularity’s newly launched website as it existed on March 28, 2022 can be viewed at:
https://web.archive.org/web/20220328192817/https://www.singularity.us/.
52
     About us, Singularity Future Technology Ltd., https://www.singularity.us/about (Last Accessed Oct. 4, 2023).
53
   Singularity Future Technology Ltd., Quarterly Report (Form 10-Q) (May 15, 2023), https://www.sec.gov/
Archives/edgar/data/1422892/000121390023039819/f10q0323_singularity.htm.



                                                          43
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 49 of 125 PageID #: 933




           F.      Singularity and Jie Form a Sham Joint Venture with Golden Mainland to
                   Become a Leader in Cryptocurrency Mining

           125.    To continue to perpetuate its sham transformation, Singularity announced a joint

venture with Golden Mainland for the provision of historic volumes of electricity that would be

required to power its purported cryptocurrency mining business. In fact, Golden Mainland is a

sham entity formed to continue to perpetuate Singularity’s fraud.

           126.    On April 11, 2022, Singularity and Golden Mainland 54 issued a press release

announcing the formation of a Bitcoin mining site joint venture (“Mainland JV”), 55 stating, in part:

          The joint venture (the "Joint Venture") plans to invest up to $250 million over time to
          build a total of 1GW of mining sites in Texas, Ohio, and other states, with capacity for
          up to 300,000 Bitcoin miners, each with 3,400 watts/hour in energy consumption.
          Singularity is a global logistics and blockchain technology company engaged in
          shipping, chartering, logistics services and technology services. Golden Mainland is a
          company engaged in the provision of electricity services in North America.

           127.    In a Form 8-K, signed by Jie, filed with the SEC on April 14, 2022, Singularity

represented that: 56

          The joint venture (the “Joint Venture”) plans to invest up to $250 million over time to
          build a total of 1GW of mining sites in Texas, Ohio, and other states, with capacity for
          up to 300,000 Bitcoin miners, each with 3,400 watts/hour in energy consumption.
          Singularity is a global logistics and blockchain technology company engaged in
          shipping, chartering, logistics services and technology services. Golden Mainland is a
          company engaged in the provision of electricity services in North America.

          Under the terms of the Joint Venture, Singularity will own 51%, and Golden Mainland
          will own 49%, with each party contributing capital in accordance with its ownership
          interest. Singularity expects to make its initial capital contribution of approximately
          $10 million to the Joint Venture from available cash.




54
     Home – Our Services, Golden Mainland, http://www.globalmainland.com/index.html (Last Accessed Oct. 4, 2023).
55
   Press Release, Singularity Future Technology Ltd., Singularity Future Technology and Golden Mainland Form
Bitcoin Mining Joint-Venture (Apr. 11, 2022), https://www.sec.gov/Archives/edgar/data/1422892/0001213900
22019821/ea158458ex99-1_singularity.htm.
56
   Singularity Future Technology Ltd., Current Report (Form 8-K) (Apr. 14, 2022), https://www.sec.gov/Archives/
edgar/data/1422892/000121390022019821/ea158458-8k_singularity.htm.



                                                        44
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 50 of 125 PageID #: 934




           128.     Defendant Jie, then CEO of Singularity, touted the Mainland JV, stating: “We are

excited to partner with Golden Mainland in this Joint Venture. We believe that investing in and

building out sites with Bitcoin mining capacity will provide a platform with the scale to support

the demand levels in the industry.” 57

           129.     For the reasons discussed below, the statements regarding Singularity’s purported

joint venture with Golden Mainland described in paragraphs 126 and 127 were materially false

and misleading because Golden Mainland does not appear to exist and, therefore, the

representations of Jie and Singularity regarding the Mainland JV were materially false and

misleading.

           130.     The Mainland JV does not withstand scrutiny when viewed in comparison to other

cryptocurrency mining operations. For example, Riot Platforms, Inc. (“Riot”), which is a publicly

traded company that purports to operate the largest Bitcoin mining facility in the United States,

states: 58

           Riot’s Rockdale Facility has a total power capacity of 750 MW, with 450 MW
           currently developed. This facility is believed to be the largest single facility, as
           measured by developed capacity, in North America for Bitcoin mining. The
           Rockdale Facility is currently undergoing a substantial expansion project that is
           nearly doubling the site’s Bitcoin mining capacity to 700 MW. This expansion
           includes four new buildings, totaling approximately 240,000 sq ft. and adding 400
           MW of capacity. Once this expansion is complete, it is expected that Riot’s Rockdale
           Facility will be the largest Bitcoin mining facility in the world, as measured by
           developed capacity.

           131.     Riot reports that it operates approximately 96,000 bitcoin miners. In stark,

comparison, the Joint Venture Agreement for the Mainland JV stated that “the general purposes

of the Joint Venture is a total investment of over $250 million to build a total of 1GW of mining


57
  Press Release, Singularity Future Technology Ltd., Singularity Future Technology and Golden Mainland Form
Bitcoin Mining Joint-Venture.
58
     Bitcoin Mining – Rockdale, Riot Platforms, https://www.riotplatforms.com/bitcoin-mining/whinstone-u-s.



                                                         45
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 51 of 125 PageID #: 935




sites in Texas, Ohio, and other states, with a full load of 300,000 bitcoin miners in 3400 watt.”59

To be exact, 300,000 bitcoin miners at 3400 watts would require 1020 MW, just over 1 GW. As

such, even after Riot’s planned expansion, the Mainland JV would be – by a significant margin –

the largest Bitcoin mining facility in the world.

           132.   Further undermining the legitimacy of the Mainland JV is the fact that, as with

Singularity’s other joint ventures, according to the April 10, 2022 Joint Venture Agreement

between Singularity and Golden Mainland, the address of the Joint Venture was Singularity’s

headquarters: 98 Cutter Mill Road, Suite 322, Great Neck, New York 11021. 60

           133.   The Mainland JV Agreement was executed by Defendant Jie (with notice to

Singularity to Defendant Shan) and Haiyao Jiang whom Georgia Secretary of State records suggest

had formed Golden Mainland just six months before and used a gmail.com address: 61




           134.   Golden Mainland purports to “own[] nuclear power, hydropower, wind energy, solar

energy, geothermal energy, biomass energy, etc.” with “access to 10+GW of power resources, and


59
  Singularity Future Technology, Ltd., “Joint Venture Agreement,” Quarterly Report (Form 10-Q), Ex. 10.1 (Apr. 10,
2022), https://www.sec.gov/Archives/edgar/data/1422892/000121390022019821/ea158458ex10-1_singularity.htm.
60
     Id.
61
     Id.



                                                       46
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 52 of 125 PageID #: 936




has diversified investment portfolios in the United States, Canada and other countries.” 62 1 GW alone

is potentially enough to power 876,000 households for one year if they collectively consume 10,000

kWh each or a medium sized city. Despite is purportedly massive energy resources, the Mainland

JV Agreement listed a gmail address (haiyao2022@gmail.com), though the company’s website lists

a single email address: contact@globalmainland.com. 63 And its physical location listed in the

Mainland Joint Venture Agreement does not exist according to Google Maps and a search of the

Fulton County Board of Assessors. 64




           135.    Based on the foregoing, the Mainland JV appears to be no more than a sham.

However, Singularity’s attempts to paper over the sham joint venture also appears to be ill-

conceived.

           136.    According to the “Whois” database, a clearinghouse for Internet domain registration,

the Golden Mainland’s website, goldenmainland.com, was registered on April 9, 2022, two days

before Singularity’s announcement of the Mainland JV: 65


62
     Home – Our Services, Golden Mainland, http://www.globalmainland.com/index.html.
63
     Contact Us, Golden Mainland, http://www.globalmainland.com/contactUs.html.
64
    Property Records Search – Address Search, Fulton County Board of Assessors, https://iaspublicaccess
.fultoncountyga.gov/search/commonsearch.aspx?mode=address.
65
   Search the WHOIS Database, GoDaddy, https://www.godaddy.com/whois/results.aspx?itc=dlp_domain_whois
&domain=globalmainland.com.



                                                       47
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 53 of 125 PageID #: 937




                                      48
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 54 of 125 PageID #: 938




       137.    Analysis of the “Whois” results above reveal that Golden Mainland’s website was

registered by Domains By Proxy LLC (https://www.domainsbyproxy.com/), a service that is

designed to mask the identity of the person or entity who owns and operates a particular website.

       138.    Golden Mainland’s business was registered with the Georgia Secretary of State on

October 25, 2021, approximately six months before the joint venture with Singularity was

announced.

       139.    The May 5, 2022 Peabody Report, which, according to the Mahon Affirmation,

provides a significant roadmap to the red flags and the checkered history of Singularity, also

provides the results of its search of the Georgia Secretary of State’s records for Golden Mainland.

That search identified Haiyao Jiang as the CEO, CFO, and Secretary of Global Mainland, but could

not locate him. Peabody reported:

       Even after significant effort, we were not able to find a trace of Haiyao Jiang. We
       find it interesting that Jiang is able to serve as CEO, CFO, and Secretary of the
       company.




       140.    As of August 2023, Global Mainland’s CEO, CFO, and Secretary have all changed

from Haiyao Jiang to Myles Reeves with no announcement or explanation by Global Mainland, no

comment by Singularity, or any other announcement or discussion that could be identified through

reasonable investigation:




                                                49
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 55 of 125 PageID #: 939




           141.    Golden Mainland lists as its “principal office address” with the Georgia Secretary of

State, 2751 Buford Hwy NE, Suite 404, Atlanta, Georgia, 30324. However, that address belongs to

the Dulce M. Garcia State Farm Agency. 66

           142.    Golden Mainland’s website provides a different address, 9040 Roswell Road, Suite

500, Atlanta, Georgia, 30350. 67 However, that too is not Golden Mainland’s address. Rather, it is

the address of the law firm of O’Daniel McDonald, which appears to serve as Golden Mainland’s

Registered Agent on behalf of InCorp Services, Inc., as listed on Golden Mainland’s business search

results on the Georgia Secretary of State website above:




66
     See https://www.dulceginsurance.com/.
67
     Contact Us, Golden Mainland, http://www.globalmainland.com/contactUs.html.



                                                       50
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 56 of 125 PageID #: 940




       143.    Golden Mainland’s website states that the company “owns nuclear power,

hydropower, wind energy, solar energy, geothermal energy, biomass energy, etc. The company has

access to 10+GW of power resources and has diversified investment portfolios in the United States,

Canada and other countries.” Searches in the United States and Canada for proof that Golden

Mainland owns any of the energy assets claimed on its website or that it or Singularity have

registered to do business in Texas or Ohio yielded no results.

       G.      Singularity Forms Thor Miner, Inc., a Sham Company, Purporting to Build
               Proprietary Cryptocurrency Mining Machines Which It Purports to Sell to
               SOS

       144.    Defendants falsely represented that it had secured a $200 million contract to sell its

proprietary cryptocurrency mining machines to SOS. In fact, the joint venture was a sham: the

proprietary machines were simply procured from an independent manufacturer, and Singularity and

Thor Miner knew that they could not deliver on the purported $200 million contract.

       145.    In the fall of 2021, Singularity embarked on a scheme to generate the appearance of

a massive success just months after announcing its abrupt shift to cryptocurrency. Specifically, it

purported to have entered into a $200,000,000 contract for the sale of its “proprietary” crypto mining

computers or “rigs” with HighSharp as the exclusive designated supplier of high-performance




                                                 51
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 57 of 125 PageID #: 941




computing chips for a joint venture named Thor Miner, Inc.

        146.     The Thor Agreement established the Thor Joint Venture for the purpose of

manufacturing, marketing, and selling a bitcoin mining machine under brand name “Thor.” 68

        147.     More specifically, on October 4, 2021, in connection with its name change from

Sino-Global Shipping America, Ltd. to Singularity Future Technology Ltd., as well as its expansion

into the bitcoin mining industry, the Company issued a press release in which it announced that

Singularity had entered into a Strategic Alliance Agreement (the “Thor Agreement”) with HighSharp

to establish a joint venture for collaborative engineering, technical development, and

commercialization of a proprietary cryptocurrency mining machine under the brand name Thor, with

exclusive rights covering design production, intellectual property, branding, marketing, and sales.

The joint venture, named Thor Miner, Inc. (“Thor Joint Venture”), was 51% owned by the

Singularity and 49% owned by HighSharp, a fabless integrated circuit designer that provides

advanced semiconductor solutions for supercomputing hardware, based in China. In the press

release, Defendant Cao represented: 69

        This is a major strategic development for Sino-Global with the potential for
        significant long-term financial benefit. The name we chose underscores our JV’s
        considerable combined resources, market knowledge and capacity to address unmet
        demand for high-quality, reliable digital mining machines. Recent crypto policy
        changes combined with ongoing global component shortages have served to
        remove valuable digital mining production capacity. We intend to fill that vacuum
        and plan to move aggressively as we build greater value for Sino-Global and all
        shareholders.

        148.     Singularity’s October 4, 2021 press release was incorporated into an October 4, 2021


68
   Aff. of Jing Shan in Opp. to Pl.’s Order to Show Cause for Prejudgment Attachment, SOS Info. Tech. N.Y., Inc. v.
Thor Miner Inc., Index No. 654735/2022, NYSCEF No. 34 (N.Y. Sup. Ct., N.Y. County Dec. 12, 2022),
https://iapps.courts.state.ny.us/fbem/DocumentDisplayServlet?documentId=BlBuo9tadJxal0nxTsFFcg==&system=
prod.
69
   Press Release, Sino-Global Shipping America, Ltd., Sino-Global Enters Bitcoin Mining Machine Joint-Venture
with Highsharp; Will Make Investment to Drive Product Development and Expansion (Oct. 4, 2021),
https://www.sec.gov/Archives/edgar/data/1422892/000101376221000102/ea148358ex99-1_sinoglobal.htm.



                                                        52
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 58 of 125 PageID #: 942




Form 8-K, signed by Cao, filed with the SEC. 70 In the press release, Singularity announced the

formation of the Thor Joint Venture to the public. The Company explained, in part, that “The JV’s

scope will encompass collaborative engineering, technical development and commercialization of a

proprietary bitcoin mining machine under the name Thor, with exclusive rights covering design

production, intellectual property, branding, marketing and sales.” 71

           149.   Defendant Cao, then-CEO of Singularity, stated: “This is a major strategic

development for Sino-Global with the potential for significant long-term financial benefit. The name

we chose underscores our JV’s considerable combined resources, market knowledge and capacity to

address unmet demand for high-quality, reliable digital mining machines.” 72

           150.   On this news, Singularity’s common stock price rose from $2.31 on October 3, 2021,

to close at $2.41 on October 4, 2021, on extremely high volume of 1,513,879 shares. By contrast, up

to that time, Singularity’s common stock had not traded more than 1 million shares in a single trading

day since August 26, 2021. The stock continued to climb in the following days, closing at $2.73 on

October 13, 2021.

           151.   As discussed below, the statements regarding Thor Miner in paragraphs 147-49 were

materially false and misleading because they failed to disclose that (i) Singularity and Thor had not

developed a proprietary cryptocurrency mining machine for which they held intellectual property

rights; and (ii) even if Singularity and Thor Miner had developed such a machine, they were aware

that the effects of COVID-19 and the global semiconductor shortage would make it impossible for

them to provide such machines in sufficient quantity and in a commercially reasonable time,


70
  Sino-Global Shipping America, Ltd., Current Report (Form 8-K) (Oct. 4, 2021), https://www.sec.gov/Archives/
edgar/data/1422892/000101376221000102/ea148358-8k_sinoglobal.htm.
71
  Press Release, Sino-Global Shipping America, Ltd., Sino-Global Enters Bitcoin Mining Machine Joint-Venture
with Highsharp; Will Make Investment to Drive Product Development and Expansion.
72
     Id.



                                                     53
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 59 of 125 PageID #: 943




including but not limited to SOS.

                     1.       Singularity and Thor Miner Do Not Own the Intellectual Property
                              Rights to Proprietary Mining Machine

            152.     According to Defendant Shan, HighSharp purported to be in the business of block-

chain technology, hardware, software technology management, and cloud computing. 73

            153.     Singularity and HighSharp agreed that Thor Miner would have its principal place of

business at 98 Cutter Mill Road, Suite 322, Great Neck, New York 11021, the headquarters of

Singularity. 74 The COO of Thor Miner is Defendant Shan, who simultaneously served as the COO

of Singularity.

            154.     At that time, Cao and Singularity specifically identified their awareness of the world-

wide chip shortage and touted their ability to overcome it. A Singularity 8-K dated October 4, 2021

states, “Recent crypto policy changes combined with ongoing global component shortages have

served to remove valuable digital mining production capacity. We intend to fill that vacuum and plan

to move aggressively as we build greater value for Sino-Global and all shareholders.” Singularity

implied that it could overcome the chip shortage because: “Highsharp will be the exclusive

designated supplier of high-performance computing chips for the JV.” 75

            155.     In the October 4, 2021 press release, Singularity explained that “[t]he JV will



73
  Aff. of Jing Shan in Opp. to Pl.’s Order to Show Cause for Prejudgment Attachment, SOS Info. Tech. N.Y., Inc.,
Index No. 654735/2022, NYSCEF No. 34.
74
     Id.
75
     Singularity stated:
            The JV will develop, and be exclusively licensed to manufacture, market and sell the Thor Bitcoin
            Mining Machine worldwide. The JV will own all intellectual property rights related to the Thor Bitcoin
            Mining Machine, including without limitation any modifications and improvements thereof. The JV
            plans to file a utility patent application with the United States Patent and Trademark Office pursuant to
            United States’ patent laws and the Patent Cooperation Treaty (“PCT”) for its planned Thor Bitcoin
            Mining Machine.
Press Release, Sino-Global Shipping America, Ltd., Sino-Global Enters Bitcoin Mining Machine Joint-Venture with
Highsharp; Will Make Investment to Drive Product Development and Expansion.



                                                             54
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 60 of 125 PageID #: 944




develop, and be exclusively licensed to manufacture, market and sell the Thor Bitcoin Mining

Machine worldwide. The JV will own all intellectual property rights related to the Thor Bitcoin

Mining Machine, including, without limitation, any modifications and improvements thereof. The

JV plans to file a utility patent application with the United States Patent and Trademark Office

pursuant to United States’ patent laws and the Patent Cooperation Treaty (“PCT”) for its planned

Thor Bitcoin Mining Machine.” 76

           156.   Lead Counsel’s investigation yielded no evidence of the purported utility patent.

Because Singularity’s press release listed both an international (PCT) application and a U.S.

application, a search of the World Intellectual Property Organization (“WIPO”) patent search engine

PATENTSCOPE           (https://www.wipo.int/patentscope/en/),   which   indexes   both   U.S.   and

international applications, was conducted. The reasonable search yielded the following null result:




76
     Id.



                                                 55
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 61 of 125 PageID #: 945




                 2.       Singularity and Thor Miner Misrepresent Their Ability to Execute on
                          the $200 Million SOS Contract

        157.     Barely three months after announcing the formation of the Thor Joint Venture, in a

January 14, 2022 Form 8-K, Singularity indicated that it had achieved massive success, having

secured a $200,000,000 contract with SOS:

        On January 11, 2022, the Company filed a Current Report on Form 8-K to report
        that the Company’s joint venture, Thor Miner Inc (“Thor”), entered into a Purchase
        and Sale Agreement with SOS Information Technology New York Inc. (the
        “Buyer”). Pursuant to the Purchase and Sale Agreement, Thor agreed to sell and
        the Buyer agreed to purchase certain cryptocurrency mining hardware and other
        equipment. The aggregate amount of the Purchase and Sale Agreement is
        $200,000,000, which is expected to be completed under separate purchase orders.
        Thor and the Buyer agreed that the Buyer shall make payment equal to 50% of the
        total purchase price within 5 days after the execution of the Purchase and Sale
        Agreement, and the remaining 50% for each order shall be paid at least seven (7)
        calendar days before the shipment.

        Subsequently, Thor and the Buyer agreed that the Buyer shall make payment equal
        to 50% of the total purchase price of each order within 5 days, and the remaining
        50% for each order shall be paid at least seven (7) calendar days before the
        shipment. The first order under the Purchase and Sale Agreement Thor received
        was a $80,000,000 order placed on January 10, 2022. As of the date of this report,
        Thor has already received the $40,000,000 for the first order. 77

        158.     The SOS Agreement with Thor Miner provided that SOS would purchase up to

approximately 44,792 rigs for $200,000,000 (approximately $4,465.08/rig). The purchase was

agreed to be made in installments, which would be based upon orders made by SOS and agreed to

by Singularity. Signing the SOS Agreement on behalf of Defendant Thor Miner was Defendant

Shan, with her title indicated as “COO.” 78 Defendant Shan was listed as the Thor Miner contact on

a purchase order, with her “Sino-Global” email address.



77
  Singularity Future Technology Ltd., Current Report (Form 8-K/A) (Jan. 14, 2022), https://www.sec.gov/Archives/
edgar/data/1422892/000121390022002157/ea154045-8ka1_singul.htm.
78
  Ex. 1 to Compl., SOS Info. Tech. N.Y., Inc. v. Thor Miner, Inc., Index No. 654735/2022, NYSCEF No. 2 (N.Y. Sup.
Ct., N.Y. County Dec. 9, 2022), https://iapps.courts.state.ny.us/fbem/DocumentDisplayServlet?documentId=jqqLR
gjOs9gMerCNGP85bw==&system=prod.



                                                       56
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 62 of 125 PageID #: 946




           159.   On January 10, 2022, SOS transmitted its first purchase order pursuant to the SOS

Agreement to purchase 17,917 Thor Mining Machines for $80,000,000. 79

           160.   On January 11, 2022, SOS wired Thor $40,000,000 pursuant to the terms of the SOS

Agreement, which represented its obligation to pay 50% of the full payment of the first order within

five days. 80

           161.   On January 14, 2022, Singularity amended its Form 8-K filing, attaching the SOS

Agreement (without its accompanying exhibits) as Exhibit 10.1 and reported:

           Amendment to the Current Report on Form 8-K filed on January 11, 2022

           As previously disclosed, on January 11, 2022, the Company filed a Current Report
           on Form 8-K to report that the Company’s joint venture, Thor Miner Inc (“Thor”),
           entered into a Purchase and Sale Agreement with SOS Information Technology
           New York Inc. (the “Buyer”). Pursuant to the Purchase and Sale Agreement, Thor
           agreed to sell and the Buyer agreed to purchase certain cryptocurrency mining
           hardware and other equipment. The aggregate amount of the Purchase and Sale
           Agreement is $200,000,000, which is expected to be completed under separate
           purchase orders. Thor and the Buyer agreed that the Buyer shall make payment
           equal to 50% of the total purchase price within 5 days after the execution of the
           Purchase and Sale Agreement, and the remaining 50% for each order shall be paid
           at least seven (7) calendar days before the shipment.

           Subsequently, Thor and the Buyer agreed that the Buyer shall make payment equal
           to 50% of the total purchase price of each order within 5 days, and the remaining
           50% for each order shall be paid at least seven (7) calendar days before the
           shipment. The first order under the Purchase and Sale Agreement Thor received
           was a $80,000,000 order placed on January 10, 2022. As of the date of this report,
           Thor has already received the $40,000,000 for the first order. 81

           162.   On April 5, 2022, Defendant Shan sent a debit notice to SOS which provided that

4,000 mining machines would be available to ship in one month, and instructed SOS to wire the



79
  Aff. of Jing Shan in Opp. to Pl.’s Order to Show Cause for Prejudgment Attachment, SOS Info. Tech. N.Y., Inc.,
Index No. 654735/2022, NYSCEF No. 34.
80
     Id.
81
  Singularity Future Technology Ltd., Current Report (Form 8-K/A) (Jan. 14, 2022), https://www.sec.gov/Archives
/edgar/data/1422892/000121390022002157/ea154045-8ka1_singul.htm.



                                                      57
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 63 of 125 PageID #: 947




balance of funds in the amount of $8,930,000 to Thor. 82 On April 11, 2022, SOS wired the

$8,930,000 to Thor’s bank account. 83 Therefore, by April 11, 2022, SOS had fully paid for 4,000 of

the 17,917 rigs in its January 10, 2022 order.

        163.     Thor Miner represented that the first 4,000 rigs would be delivered to SOS between

May 27, 2022 and June 18, 2022. 84

        164.     On May 5, 2022, Hindenburg Research and Peabody Street Research issued their

Reports to the public, indicating, among other things, that Singularity’s Thor Joint Venture was a

sham.

        165.     On May 6, 2022, alarmed by the contents of the Hindenburg Report, counsel for SOS

contacted Defendant Shan to request assurances regarding Thor’s ability to perform the SOS

Agreement and to deliver the promised 4,000 units. 85

        166.     On May 8, 2022, Defendant Shan assured counsel for SOS that Thor believed that it

would perform the original agreement between the parties.

        167.     On May 20, 2022, SOS requested a further update on the status of delivery. On May

23, 2022, Defendant Shan promised that Thor would deliver 120 of the 4,000 rigs over the coming

weekend. No rigs were delivered as promised. Between January 2022 and June 6, 2022, Thor Miner

delivered just five machines.

        168.     Ultimately, after a series of unfulfilled promises and missed deliveries, Thor



82
  Aff. of Jing Shan in Opp. to Pl.’s Order to Show Cause for Prejudgment Attachment, SOS Info. Tech. N.Y., Inc.,
Index No. 654735/2022, NYSCEF No. 34.
83
   Ex. 6 to Compl., SOS Info. Tech. N.Y., Inc., Index No. 654735/2022, NYSCEF No. 7, https://iapps.courts.
state.ny.us/fbem/DocumentDisplayServlet?documentId=9XfrsEQyWNtKFMQLaQhRVQ==&system=prod.
84
   Ex. 7 to Compl., SOS Info. Tech. N.Y., Inc., Index No. 654735/2022, NYSCEF No. 8, https://iapps.courts.
state.ny.us/fbem/DocumentDisplayServlet?documentId=rA6avAECKTjUBWkYnujtcg==&system=prod.
85
   Aff. of Jing Shan in Opp. to Pl.’s Order to Show Cause for Prejudgment Attachment, SOS Info. Tech. N.Y., Inc.,
Index No. 654735/2022, NYSCEF No. 34.



                                                       58
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 64 of 125 PageID #: 948




delivered just 120 rigs to SOS on June 6, 2022, shortly before the deadline by which it was to deliver

4,000 units. On or about June 10, 2022, Thor delivered 216 rigs to SOS. On or about July 7, 2022,

SOS received 700 rigs. On August 8, 2022, Thor delivered 208 rigs. On August 9, 2023, Jie resigned

from his position as CEO and Director of Singularity and the Board after the Board recommended

that he be suspended immediately. On or about August 11, 2022, Thor delivered 192 rigs to SOS.

On or about October 28, 2022, SOS received its last ever shipment from Thor, consisting of 512 rigs,

for a total of 1,948 rigs delivered – less than half of the original order.

           169.    Notwithstanding repeated demands for delivery of the remaining rigs to fulfill the

4,000 rigs promised to be delivered within a month of the April 5, 2022 debit notice, and for which

SOS had paid in full, no additional rigs were delivered, and the Singularity Defendants failed to

cause Singularity or Defendant Thor to refund SOS’s previous payments.

           170.    On December 9, 2022, SOS sued Thor and Singularity, alleging that, as of that time,

Thor had “not completed delivery of the remaining 2,052 rigs to complete the 4,000 rigs it promised

to deliver in its April 15, 2022” notice, and Thor had failed to return to “SOS the $40,232,180 excess

payment” made to Thor for the rigs that were never delivered. 86 Of the 1,948 rigs that Thor delivered

to SOS, 1,522 did not meet the technical specifications set forth in the SOS Agreement.

           171.    On December 12, 2022, Defendant Shan, then-COO of Singularity, acknowledged

that nearly ten months after SOS placed its first order, between April 2022 and October 28, 2022,

Thor Miner had only managed to fulfill just over 10% of SOS’s order, having delivered “1,960

bitcoin mining machines on a rolling basis” 87 of the 17,917 in the SOS Agreement and less than half



86
     Summons and Compl., SOS Info. Tech. N.Y., Inc., Index No. 654735/2022, NYSCEF No. 1.
87
  Mem. of Law in Opp’n to Pl.’s Order to Show Cause For a Temporary Restraining Order and Pre-Judgment Order
of Attach., SOS Info. Tech. N.Y., Inc., Index No. 654735/2022, NYSCEF No. 33 (N.Y. Sup. Ct., N.Y. County Dec.
12, 2022), https://iapps.courts.state.ny.us/fbem/DocumentDisplayServlet?documentId=SjKiBE1BTj0wBFsrbL
vKDQ==&system=prod.



                                                       59
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 65 of 125 PageID #: 949




in the initial order of January 11, 2022. In support of its Memorandum of Law in Opposition to

Plaintiff’s Order to Show Cause for a Temporary Restraining Order, and Pre-Judgment Order of

Attachment (“TRO Memorandum”) filed in SOS Info. Tech. N.Y., Inc. v. Thor Miner Inc., Index No.

65735/2002 (N.Y. Sup. Ct., N.Y. County), Defendant Shan, then-COO of Singularity and Thor,

submitted the sworn Affidavit of Jing Shan in Opposition to Plaintiff’s Order to Show Cause for

Prejudgment Interest, in which she blamed Thor’s inability to deliver the promised bitcoin mining

machines prior to June 2022 on the global semiconductor shortage and COVID-19 lockdowns in

China: 88

           18. I understand that due to a worldwide chip shortage and difficulty in obtaining the
           necessary parts, there were delays in manufacturing the bitcoin mining machines. For
           example, see Understanding the Current Global Semiconductor Shortage, Preparing
           for      the       Future,       S&P       Global        (Aug.       19,       2022),
           https://www.spglobal.com/engineering/en/research         analysis/understanding-the-
           current-global-semiconductor-shortage.html.

           19. In addition to the chip shortage, I understand that there also were also delays in
           manufacturing and shipping the machines due to the strict COVID-19 lockdowns in
           China, where the machines are manufactured.

           172.   Singularity adopted the contents of Shan’s Affidavit, which represented that “due to

a worldwide chip shortage and difficulty in obtaining the necessary parts amid COVID lockdowns

in China, there were delays in manufacturing the bitcoin machines.” 89

           173.   The S&P Global research analysis cited by Defendant Shan explains that the factors

that contributed to the chip shortage were well known by no later than March 2021 and that most

extend back to 2019.

           174.   In addition, on September 27, 2021, just days before Singularity announced the Thor



88
  Aff. of Jing Shan in Opp. to Pl.’s Order to Show Cause for Prejudgment Attachment, SOS Info. Tech. N.Y., Inc.,
Index No. 654735/2022, NYSCEF No. 34.
89
     Id.



                                                      60
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 66 of 125 PageID #: 950




Joint Venture with HighSharp, AGM Group Holdings, Inc. (“AGM”), an integrated technology

company focusing on high-performance chip solutions, computing equipment, and fintech software

services, announced that it had entered into a joint venture with HighSharp. The HighSharp/AGM

joint venture provided that “for the six months period until March 25 [sic] 2022, HighSharp was

obligated to provide the latest ASIC chip technology and manufacturing services to AGMH as a top

priority.” 90 Thus, just weeks before the Thor Joint Venture, HighSharp had obligated itself to provide

to AGM, as a “top priority,” the chips necessary to build the Thor machines, which rendered Thor

unable to manufacture the machines that it had obligated itself to deliver to SOS by early to mid-

2022. Specifically, the SOS Agreement provides that Thor must deliver to SOS its purchased Bitcoin

miners within 120 days. Singularity’s January 10, 2022, press release stated that SOS had already

paid Thor $40 million up front with another $40 million to be paid upon completion of the order.

Thus, Thor would have been obligated to complete the order in or about early May 2022.

        175.     As of December 12, 2022, Thor had delivered only 1,960 of the original 4,000

machines and continued to blame conditions in China for its inability to deliver more, stating, in part,

“Thor Miner fully intends to deliver the remaining bitcoin mining machines to SOS promptly once

the force majeure conditions in China will allow for it.” 91

        176.     That Singularity and Thor failed to deliver as promised – regardless of the well-

known impacts of COVID-19 and the global chip shortage – was not unexpected. It is likely that

Thor never developed its own bitcoin mining machine because AGM had entered into a deal with

HighSharp that required priority over HighSharp’s purported deal with Thor Miner, and Singularity



90
   Press Release, AGM Group Holdings Inc., AGM Group Holdings, Inc. and HighSharp (Shenzhen Gaorui)
Electronic   Technology Co.,       Ltd    enter   into  a   Strategic  Partnership (Sept.  27,  2021),
https://www.sec.gov/Archives/edgar/data/1705402/000121390021050068/ea147955ex99-1_agmgroup.htm.
91
   Aff. of Jing Shan in Opp. to Pl.’s Order to Show Cause for Prejudgment Attachment, SOS Info. Tech. N.Y., Inc.,
Index No. 654735/2022, NYSCEF No. 34.



                                                       61
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 67 of 125 PageID #: 951




had only recently entered the cryptocurrency space and possessed little manufacturing know-how or

the capacity to produce tens or hundreds of thousands of crypto mining machines.

        177.     For example, AGM’s website displayed a Koi crypto mining machine, as follows:




        178.     Thor Miner’s website, Thorminer.com, cannot be accessed without an archive.

However, the Peabody Report contains images that depict the stats and images of the Thor machine

and states “miner stats and photos are shockingly similar between Singularity’s joint venture (Thor)

& AGM.” By using arhive.org/web, also known as the “Wayback Machine,” images taken from

Thorminer.com show that it was advertising some Thor machines that bore the Koi logo for AGM’s

machines. See https://web.archive.org/web/20220518032433/https://thorminer.com/. 92



92
   Thorminer.com appears to date back to at least August 2018. See https://web.archive.org/web/20180816010551/
http://thorminer.com/en/about. A capture of Thorminer.com from August 16, 2018 states that “Thor is a technical
corporation focusing on design and development of high-speed and low-energy chips” and includes images of an
entirely different bitcoin mining machine that does not appear on captures of Thorminer.com in 2021 and 2022.



                                                      62
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 68 of 125 PageID #: 952




       179.   Various sources, including the Hindenburg Report and the Peabody Report, have

asserted that Singularity’s joint venture, Thor, was not manufacturing proprietary crypto mining

machines but rather reselling the small number of AGM Koi machines that it was able to import.

Singularity’s Form 10-Q for Q1 2023, prepared under new management, further supports this

conclusion, as it acknowledges that “For the nine months ended March 31, 2023, the Company

engaged in resale of cryptocurrency mining equipment. For the three months ended March 31, 2023,




                                              63
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 69 of 125 PageID #: 953




the Company did not sell crypto-mining machines.” 93

        180.     On December 9, 2022, SOS sued Singularity, Thor Miner, Lei Cao, Yang Jie, John

F. Levy, Tieliang Liu, Tuo Pan, Shi Qiu, Jing Shan, and Heng Wang in an action styled SOS Info.

Tech. N.Y., Inc. v. Thor Miner, Inc., Index No. 654735/2022 (N.Y. Sup. Ct., N.Y. County), alleging

that Thor Miner had failed to deliver the promised proprietary crypto mining machines.

        181.     Within two weeks of the filing of SOS’s lawsuit, on or about December 23, 2022, the

SOS litigation was settled. On December 30, 2022, SOS filed a Form 6-K in which it reported a

material transaction with Singularity and summarizing the settlement as follows:

        SOS Information Technology New York, Inc. (“SOSNY”), a company
        incorporated under the laws of state of New York and a wholly owned subsidiary
        of SOS Ltd., filed a lawsuit on December 9, 2022, against Thor Miner, Inc. (“Thor
        Miner”), Singularity Future Technology Ltd. (“Singularity,” and, together with
        Thor Miner, referred to as the “Corporate Defendants”), Lei Cao, Yang Jie, John
        F. Levy, Tieliang Liu, Tuo Pan, Shi Qiu, Jing Shan, and Heng Wang (jointly
        referred to as the “Individual Defendants”) (collectively, the Individual Defendants
        and the Corporate Defendants are the “Defendants”). A. SOSNY and Thor Miner
        entered into a January 10,2022 Purchase and Sale Agreement (the “PSA”) for the
        purchase of $200,000,000 in crypto mining rigs, which SOS claims was breached
        by Thor Miner and Singularity

        SOSNY and Defendants entered into a certain settlement agreement and general
        mutual release Effective Date December 28, 2022(“Settlement Agreement”).
        Pursuant to the Settlement Agreement, Thor Miner agreed to pay a sum of thirteen
        million in U.S. dollars ($13,000,000) (the “Settlement Payment”) to SOSNY on
        or before December 23, 2022, and SOSNY agreed that subsequent to its receipt of
        the Settlement Payment, SOSNY shall cause the lawsuit to be dismissed with
        prejudice as to the settling defendants and without prejudice as to all others.

        Singularity and Thor Miner further covenanted and agreed that if they receive
        additional funds from HighSharp (Shenzhen Gaorui) Electronic Technology Co.,
        Ltd. (“HighSharp”) related to the PSA, they will promptly transfer such funds to
        SOSNY in an amount not to exceed forty million five hundred sixty thousand five
        hundred sixty-nine dollars ($40,560,569.00) (which is the total amount paid by
        SOSNY pursuant to the PSA less the price of the machines actually received by
        SOSNY pursuant to the PSA). The Settlement Payment and any payments

93
  Singularity Future Technology Ltd., Quarterly Report (Form 10-Q) (May 15, 2023), https://www.sec.gov/Archives/
edgar/data/1422892/000121390023039819/f10q0323_singularity.htm.



                                                      64
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 70 of 125 PageID #: 954




           subsequently received by SOSNY from HighSharp shall be deducted from the total
           amount of forty million five hundred sixty thousand five hundred sixty-nine dollars
           ($40,560,569.00) previously paid by, and now due and owing to SOSNY. In further
           consideration of this Settlement Agreement, Thor Miner agreed to execute and
           provide to SOSNY, within seven (7) business days after the Effective Date (as
           defined in the Settlement Agreement), an assignment of all claims it may have
           against HighSharp. (Emphasis in original.)

           182.    Under its current management, with all of the Individual Defendants no longer

employed by Singularity, in the Company’s Form 10-Q for the Q1 2023, it again acknowledged that

it was aware of the impact of COVID-19 on its ability to operate long before it entered into the Thor

Joint Venture, stating: 94

           The outbreak of the novel coronavirus (COVID-19) starting in late January 2020 in
           the PRC spread rapidly to many parts of the world. In March 2020, the World Health
           Organization declared the COVID-19 as a pandemic and has resulted in quarantines,
           travel restrictions, and the temporary closure of stores and business facilities in China
           and the U.S. Given the rapidly expanding nature of the COVID-19 pandemic, and
           because substantially all of the Company’s business operations and its workforce are
           concentrated in China and the U.S., the Company’s business, results of operations,
           and financial condition have been adversely affected.

           183.    Other aspects of Singularity’s explanation for its failure to fulfill the SOS order have

evolved, notwithstanding Defendant Shan’s Affidavit. For example, under new management, in its

Form 10-Q for Q1 2023, the Company stated: “Due to production issues from HighSharp, Thor

Miner was not able to timely deliver the full quantity of cryptocurrency mining machines to SOSNY

under the PSA and was sued by SOSNY for breach of contract on December 9, 2022.” 95

           184.    Despite Singularity’s representation that it is no longer in the cryptocurrency

business, a version of the Thor Miner website – using the word “miners” versus “miner” –




94
     Id.
95
     Id.



                                                      65
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 71 of 125 PageID #: 955




https://Thorminers.com/,96 remains active and claims that “Endorsed by its headquarter company,

Singularity Future Technology Ltd, THOR has become the world leading ASIC mining brand.” The

current site, thorminers.com, appears to differ from two earlier iterations of thorminer.com captures

which remain on web.archive.org and date back to 2018, three years before Singularity’s Thor Joint

Venture existed. The Thorminers.com site lists its address as 98 Cutter Mill Road Suite 322, Great

Neck, New York 11021, the current corporate address of Singularity. 97

                 3.       Singularity, Cao, Jie, Pan, Liu, Wang, Shan, Levy and Huang
                          Misrepresented or Failed to Correct That Defendant Xiaohuan
                          Huang’s Reported Employment History with SOS Information
                          Technology New York, Inc. Was False or, In The Alternative,
                          Defendants Singularity, Thor Miner, Cao, Jie, Levy, Liu, Pan, Shan
                          and Wang Failed to Disclose That the SOS Transaction Was a Related
                          Party Transaction

        185.     If the SOS deal was not a related party transaction, Singularity affirmatively

misrepresented Xiaohuan Huang’s bona fides as a Vice President of SOS because she was never

employed by the company and Xiaohuan, and each of the other Individual Defendants named in

the SOS litigation, Cao, Jie, Levy, Liu, Pan, and Wang knew, but failed to correct the misstatement.

        186.     On October 23, 2020, Singularity filed a Form 8-K with the SEC, signed by

Defendant Cao, which announced the appointment of Defendant Jie’s wife, Defendant Xiaohuan

Huang, and stated, in part:

        On October 22, 2020, the Nominating/Corporate Governance Committee of the
        Board nominated and the Board appointed, Xiaohuan Huang as a Class I director,
        Chairperson of the Nominating/Corporate Governance Committee, a member of the

96
   The website “thorminers.com” is currently active and refers to a relationship with Singularity. The Wayback
machine or webarchive.org provides historical captures of https://web.archive.org/web/20180816010551/
http://thorminer.com/en/about, which states that “Thor is a technical corporation focusing on design and development
of high-speed and low-energy chips” and includes images of entirely different bitcoin mining machine that does not
appear on captures of thorminer.com in 2021 and 2022; and a third version of thorminer.com at
https://web.archive.org/web/20220406060902/https://www.thorminer.com/., which states “8 years blockchain
chip&mining business Who we are Thor Miner Inc. (‘THOR’) is a semiconductor company founded in New York.”
97
   Singularity Future Technology Ltd., Current Report (Form 8-K) (July 31, 2023), https://www.sec.gov/Archives/
edgar/data/1422892/000121390023061920/ea182632-8k_singularity.htm.



                                                        66
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 72 of 125 PageID #: 956




        Audit Committee and a member of the Compensation Committee, to hold office,
        effective October 23, 2020 until the Company’s annual meeting of the shareholders
        in 2021, and a successor has been duly elected and qualified or until her earlier
        resignation, removal from office, death or incapacity.

        Ms. Xiaohuan Huang, 37 years old, is presently Vice President of SOS Information
        Technology New York, Inc. Prior to that, Ms. Huang had been Vice President for
        China Commercial Credit, Inc. from November 2016 to July 2020, President of
        Shenzhen Yi Le Gou Mobile Internet Co., Ltd since February 2014 and a Consultant
        till present, Vice President of Shenzhen Hang Lu Technology Co., Ltd from March
        2009 to February 2014 and Channel Manager from August 2007 to March 2009. Ms.
        Huang holds a Bachelor’s degree in Business Management from Hunan Normal
        University.

        187.     Alternatively, if Xiaohuan was not a Vice President of SOS, Defendants

Singularity, Xiaohuan, Jie, and Cao misrepresented Defendant Xiaohuan’s employment history.

        188.     On May 6, 2022, during course of the SOS Litigation, counsel for SOS sent a letter

to Defendant Shan in which SOS contended that Defendant Huang had never been employee of

SOS, stating, in part: 98

        Additionally, it has come to our attention through the Hindenburg Research report that
        Xiaohuan Huang, reported to be the wife of Singularity CEO Yang Jie, has represented
        herself to be an employee or officer of SOS. Ms. Huang has never, in fact, been an
        employee or officer of SOS. You must please instruct Ms. Huang to withdraw any and all
        representations that she is or even was an employee or officer of SOS. SOS further reserves
        all rights with respect to these misrepresentations.

        189.     Defendants in this action, Singularity, Thor Miner, Cao, Jie, Levy, Liu, Pan, and

Wang were also defendants in the SOS Litigation. Accordingly, SOS’s May 6, 2022 letter to

Defendant Shan, at a minimum, put each of these Defendants on notice that Defendant Xiaohuan

Huang was never an employee of SOS. In the Shan Affidavit, Defendant Shan stated that she

responded to SOS’s May 5, 2022 letter, but apparently failed to address or correct the




98
  Ex. 8 to Compl., SOS Info. Tech. N.Y., Inc. v. Thor Miner, Inc., Index No. 654735/2022, NYSCEF No. 9 (N.Y. Sup.
Ct., N.Y. County Dec. 9, 2022), https://iapps.courts.state.ny.us/fbem/DocumentDisplayServlet?documentId
=GRI_PLUS_Q0LMRKoirkt8BJkXHw==&system=prod.



                                                       67
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 73 of 125 PageID #: 957




misrepresentations regarding Xiaohuan Huang’s employment history. 99

            H.     Singularity Knowingly Entered into a Sham Related Party Transaction With
                   Rich Trading Whose Bank Accounts Were Controlled By Singularity’s
                   Management

            190.   Singularity engaged in but failed to disclose material related party transactions with

Rich Trading that were designed to fraudulently transfer corporate funds to insiders or related parties.

            191.   In its Form 10-Q for the period ended December 31, 2021, filed on February 14,

2022, signed by Defendants Jie and Pan, Singularity disclosed that it agreed to invest $4.5 million

into an entity called Rich Trading, which would trade computer equipment and direct 90% of the

profits back to Singularity. On December 31, 2021, shortly after Yang Jie took over as CEO,

Singularity simultaneously entered into the agreement and advanced $3,299,815 million to Rich

Trading. 100 These transactions were indicative of the Company’s technological transformation: in

fact, they were simply yet another platform for fraud and self-enrichment.

            192.   Singularity’s Form 10-Q disclosed only the following regarding the Rich Trading

transaction: 101

            As of December 31, 2021, the Company entered into a project cooperation
            agreement with Rich Trading Co. Ltd USA (“Rich Trading”) for trading of
            computer equipment. According to the agreement, the Company is to invest
            $4.5 million in the trading business operated by Rich Trading and the Company
            will be entitled to 90% of profit generated by the trading business. As of December
            31, 2021, the Company has advanced $3,299,815 for this project.

            193.   Singularity’s February 14, 2022 Form 10-Q failed to disclose a material related party

transaction with Rich Trading, whose CEO was Nie and whose wife Pan was Singularity’s CFO, by



99
  Aff. of Jing Shan in Opp. to Pl.’s Order to Show Cause for Prejudgment Attachment, SOS Info. Tech. N.Y., Inc.,
Index No. 654735/2022, NYSCEF No. 34.
  Singularity Future Technology Ltd., Quarterly Report (Form 10-Q) (Feb. 14, 2022), https://www.sec.gov/ix?doc=/
100

Archives/edgar/data/1422892/000121390022007553/f10q1221_singularity.htm.
101
      Id.



                                                      68
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 74 of 125 PageID #: 958




stating the following, in pertinent part: 102

            Note 5. OTHER RECEIVABLES, NET

            The Company’s other receivables are as follows:

            As of December 31, 2021, the Company entered into a project cooperation
            agreement with Rich Trading Co. Ltd USA (“Rich Trading”) for trading of
            computer equipment. According to the agreement, the Company is to invest $4.5
            million in the trading business operated by Rich Trading and the Company will be
            entitled to 90% of profit generated by the trading business. As of December 31,
            2021, the Company has advanced $3,299,815 for this project.

            194.   As discussed below, the statements in paragraphs 191-193 were materially false and

misleading insofar as Singularity omitted that: (i) the Rich Trading transaction was a related party

transaction as the Company admitted in its 10-Q for Q1 2023; (ii) Rich Trading’s bank accounts

were controlled by members of Singularity’s management; and (iii) Rich Trading was not an entity

that could or did engage in the trading of computer equipment.

            195.   According to New York corporate registry records, Rich Trading’s principal office

is 1044 Northern Boulevard, Suite 305, Roslyn, New York: 103




102
      Id.
103
    See also Sino-Global Shipping New York Inc., OpenCorporates (Oct. 1, 2023), https://opencorporates.com
/companies/us_ny/4398492.



                                                   69
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 75 of 125 PageID #: 959




        196.    The address listed by Rich Trading is the address that Singularity listed as its

headquarters. Singularity changed its address from 1044 Northern Boulevard, Suite 305, Roslyn,

New York to 98 Cutter Mill Road, Suite 322, Great Neck, New York 11021 between October 4,

2021 and October 22, 2021. 104

        197.    Notably, Singularity later revealed that the Rich Trading transaction was entered into

on November 16, 2021, just weeks after Singularity stopped using the Roslyn, New York address.

        198.    Rich Trading’s CEO is Lei Nie, who is the husband of Tuo Pan, Singularity’s CFO

at the time that Singularity announced the transaction. 105 Pan, along with Jie, signed Singularity’s

Form 10-Q for the period ended December 31, 2021, filed on February 14, 2022, and, therefore,

knew that the transaction with Rich Trading was an undisclosed related party transaction. 106


104
     Compare Sino-Global Shipping America, Ltd., Current Report (Form 8-K) (Oct. 4, 2021),
https://www.sec.gov/Archives/edgar/data/1422892/000101376221000102/ea148358-8k_sinoglobal.htm, with Sino-
Global Shipping America, Ltd., Current Report (Form 8-K) (Oct. 22, 2021), https://www.sec.gov/
Archives/edgar/data/1422892/000121390021054093/ea149267-8k_sinoglobal.htm.
  Singularity Future Technology, Ltd., Proxy Statement (Schedule 14A Information) (Apr. 22, 2022), https://
105

www.sec.gov/Archives/edgar/data/1422892/000121390022010809/def14a0322_singularity.htm .
106
    Sino-Global Shipping America, Ltd., Current Report (Form 8-K) (Nov. 1, 2021), https://www.sec.gov
/ix?doc=/Archives/edgar/data/1422892/000121390021055789/ea149737-8k_sinoglobal.htm.



                                                    70
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 76 of 125 PageID #: 960




       I.      Singularity Fails to Establish and Maintain Effective Internal Controls

       199.    Throughout the Class Period, Singularity represented that it maintained an effective

internal control regime.

       200.    For example, on February 12, 2021, the Company filed its Form 10-Q for the quarter

ended December 31, 2020 with the SEC. The Form 10-Q was signed and separately certified by both

Cao and Pan pursuant to the Sarbanes-Oxley Act of 2002 attesting to the accuracy and truthfulness

of the information contained therein.

       201.    The February 12, 2021 Form 10-Q downplayed the serious issues with the

Company’s internal controls, stating in pertinent part:

       Item 4. Controls and Procedures

       Evaluation of Disclosure Controls and Procedures

        We maintain controls and procedures designed to ensure that information
        required to be disclosed by the issuer in the reports that it files or submits under
        the Act (15 U.S.C. 78a et seq.) is recorded, processed, summarized and reported,
        within the time periods specified in the Securities and Exchange Commission’s
        rules and forms. Disclosure controls and procedures include, without limitation,
        controls and procedures designed to ensure that information required to be
        disclosed by an issuer in the reports that it files or submits under the Act is
        accumulated and communicated to the issuer’s management, including its
        principal executive and principal financial officers, or persons performing similar
        functions, as appropriate to allow timely decisions regarding required disclosure.

        As of December 31, 2020, we carried out an evaluation, under the supervision of
        and with the participation of its management, including our Chief Executive
        Officer and Acting Chief Financial Officer, of the effectiveness of the design and
        operation of our disclosure controls and procedures. Based on the foregoing
        evaluation, Chief Executive Officer and Acting Chief Financial Officer concluded
        that our disclosure controls and procedures (as defined in Rules 13a-15(e) and
        15d-15(e) under the Securities Exchange Act of 1934, as amended (the
        “Exchange Act”)) were not effective and adequately designed to ensure that the
        information required to be disclosed by us in the reports it files or submits under
        the Exchange Act is recorded, processed, summarized and reported within the
        time periods specified in the applicable rules and forms, and that such
        information was accumulated and communicated to the management, including
        Chief Executive Officer and Acting Chief Financial Officer, in a manner that



                                                71
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 77 of 125 PageID #: 961




         allowed for timely decisions regarding required disclosure. The assessment
         stemmed from the following material weaknesses –

         •     Lack of segregation of duties for accounting personnel who prepared and
               reviewed the journal entries; and

         •     Lack of a full time U.S. GAAP personnel in the accounting department
               to monitor the recording of the transactions.

        Changes in Internal Control over Financial Reporting.

         There were no changes in our internal control over financial reporting (as defined
         in Rule 13a-15(f) of the Exchange Act) during the three months ended December
         31, 2020 that have materially affected, or are reasonably likely to materially
         affect, our internal control over financial reporting.

        202.     On May 13, 2021, the Company filed its Form 10-Q for the quarter ended March

31, 2021 with the SEC. The Form 10-Q was signed and separately certified by both Cao and Pan

pursuant to the Sarbanes-Oxley Act of 2002, attesting to the accuracy and truthfulness of the

information contained therein.

        203.     The May 13, 2021 Form 10-Q downplayed the serious issues with the Company’s

internal controls, stating in pertinent part:

        Item 4. Controls and Procedures

         Evaluation of Disclosure Controls and Procedures

         We maintain controls and procedures designed to ensure that information
         required to be disclosed by the issuer in the reports that it files or submits under
         the Act (15 U.S.C. 78a et seq.) is recorded, processed, summarized and reported,
         within the time periods specified in the Securities and Exchange Commission’s
         rules and forms. Disclosure controls and procedures include, without limitation,
         controls and procedures designed to ensure that information required to be
         disclosed by an issuer in the reports that it files or submits under the Act is
         accumulated and communicated to the issuer’s management, including its
         principal executive and principal financial officers, or persons performing similar
         functions, as appropriate to allow timely decisions regarding required disclosure.

         As of March 31, 2021, we carried out an evaluation, under the supervision of and
         with the participation of its management, including our Chief Executive Officer
         and Acting Chief Financial Officer, of the effectiveness of the design and


                                                 72
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 78 of 125 PageID #: 962




         operation of our disclosure controls and procedures. Based on the foregoing
         evaluation, Chief Executive Officer and Acting Chief Financial Officer
         concluded that our disclosure controls and procedures (as defined in Rules 13a-
         15(e) and 15d-15(e) under the Securities Exchange Act of 1934, as amended (the
         “Exchange Act”)) were not effective and adequately designed to ensure that the
         information required to be disclosed by us in the reports it files or submits under
         the Exchange Act is recorded, processed, summarized and reported within the
         time periods specified in the applicable rules and forms, and that such
         information was accumulated and communicated to the management, including
         Chief Executive Officer and Acting Chief Financial Officer, in a manner that
         allowed for timely decisions regarding required disclosure. The assessment
         stemmed from the following material weaknesses –

         •     Lack of segregation of duties for accounting personnel who prepared and
         reviewed the journal entries; and

         •    Lack of a full time U.S. GAAP personnel in the accounting department to
         monitor the recording of the transactions.

         Changes in Internal Control over Financial Reporting.

         There were no changes in our internal control over financial reporting (as defined
         in Rule 13a-15(f) of the Exchange Act) during the three months ended March 31,
         2021 that have materially affected, or are reasonably likely to materially affect,
         our internal control over financial reporting.

        204.    On September 29, 2021, the Company filed with the SEC its Form 10-K for the fiscal

year ended June 30, 2021 (the “2021 Annual Report”) which was signed and separately certified by

both Cao and Pan pursuant to the Sarbanes-Oxley Act of 2002—attesting to the accuracy and

truthfulness of the information contained therein. The 2021 Annual Report was also signed by Cao,

Pan, Shan, Wang, Xiaohuan, Liu, and Zhikang attesting to the accuracy and truthfulness of the

information contained therein.

        205.    The 2021 Annual Report downplayed the serious issues with the Company’s internal

controls by stating the following, in pertinent part:




                                                   73
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 79 of 125 PageID #: 963




      Item 9A. Controls and Procedures

       Management’s Annual Report on Internal Control over Financial Reporting

       The Company’s management is responsible for establishing and maintaining
       adequate internal control over financial reporting as defined in Rule 13a-15(f)
       under the Securities and Exchange Act of 1934, as amended. The Company’s
       internal control over financial reporting is designed to provide reasonable
       assurance regarding the reliability of financial reporting and the preparation of
       financial statements for external purposes in accordance with generally accepted
       accounting principles. The Company’s internal control over financial reporting
       includes those policies and procedures that:

          •   pertain to the maintenance of records that, in reasonable detail, accurately
              and fairly reflect the transactions and dispositions of the Company’s
              assets;

          •   provide reasonable assurance that transactions are recorded as necessary
              to permit preparation of financial statements in accordance with U.S.
              GAAP, and that the Company’s receipts and expenditures are being made
              only in accordance with the authorization of its management and
              directors; and

          •   provide reasonable assurance regarding prevention or timely detection of
              unauthorized acquisition, use or disposition of the Company’s assets that
              could have a material effect on the financial statements.

       As of June 30, 2021, the Company carried out an evaluation, under the
       supervision of and with the participation of its management, including the
       Company’s Chief Executive Officer and Acting Chief Financial Officer, of the
       effectiveness of the design and operation of the Company’s disclosure controls
       and procedures. Based on the foregoing evaluation, Chief Executive Officer and
       Acting Chief Financial Officer concluded that the Company’s disclosure controls
       and procedures (as defined in Rules 13a-15(e) and 15d-15(e) under the Exchange
       Act were not effective to ensure that the information required to be disclosed by
       the Company in the reports it files or submits under the Exchange Act is recorded,
       processed, summarized and reported within the time periods specified in the
       applicable rules and forms due to ineffective internal controls over financial
       reporting that stemmed from the following material weaknesses for the year
       ended and as of June 30, 2021:

          •   Lack of segregation of duties for accounting personnel who prepared and
              reviewed the journal entries in some of the subsidiaries within the
              consolidation, lack of supervision, coordination and communication of
              financial information between different entities within the Group;


                                              74
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 80 of 125 PageID #: 964




          •   Lack of a full time U.S. GAAP personnel in the accounting department to
              monitor the recording of the transactions;

          •   Lack of resources with technical competency to address, review and
              record non- routine or complex transactions under U.S. GAAP; and

          •   Lack of management control reviews of the budget against actual with
              analysis of the variance with a precision that can be explained through the
              analysis of the accounts.
       A material weakness is a deficiency, or a combination of deficiencies, within the
       meaning of PCAOB Auditing Standard AS 2201, in internal control over
       financial reporting, such that there is a reasonable possibility that a material
       misstatement of the Company’s annual or interim financial statements will not be
       prevented or detected on a timely basis.

       In order to remediate the material weaknesses stated above, we intend to explore
       implementing additional policies and procedures, which may include:

          •   Hiring additional accounting staff to report the internal financial timely;

          •   Reporting other material and non-routine transactions to the Board and
              obtain proper approval;

          •   Recruiting additional qualified professionals with appropriate levels of
              U.S. GAAP knowledge and experience to assist in resolving accounting
              issues in non-routine or complex transactions;

          •   Improving internal audit function, internal control policies and monitoring
              controls including but not limit to the review and supervision of common
              stock issuance procedures;

          •   Developing and conducting U.S. GAAP knowledge, SEC reporting and
              internal control training to senior executives, management personnel,
              accounting departments and the IT staff, so that management and key
              personnel understand the requirements and elements of internal control
              over financial reporting mandated by the U.S. securities laws; and

          •   Setting up budgets and developing expectations based on understanding
              of the business operations, compare the actual results with the
              expectations periodically and document the reasons of the fluctuations
              with further analysis. This should be done by CFO and reviewed by CEO,
              communicated with the Board.




                                              75
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 81 of 125 PageID #: 965




         Changes in Internal Control over Financial Reporting

         There has been no change in our internal control over financial reporting that
         occurred during the year ended June 30, 2021 that has materially affected, or is
         reasonably likely to materially affect, our internal control over financial
         reporting.

       206.    On November 12, 2021, the Company filed with the SEC its periodic report on Form

10-Q for the quarter ended September 30, 2021. The Form 10-Q was signed and separately certified

by both Cao and Pan pursuant to the Sarbanes-Oxley Act of 2002—attesting to the accuracy and

truthfulness of the information contained therein.

       207.    The November 12, 2021 10-Q downplayed the serious issues with the Company’s

internal control by stating the following, in pertinent part:

         Item 4. Controls and Procedures
         Evaluation of Disclosure Controls and Procedures
         We maintain controls and procedures designed to ensure that information
         required to be disclosed by the issuer in the reports that it files or submits under
         the Act (15 U.S.C. 78a et seq.) is recorded, processed, summarized and reported,
         within the time periods specified in the Securities and Exchange Commission’s
         rules and forms. Disclosure controls and procedures include, without limitation,
         controls and procedures designed to ensure that information required to be
         disclosed by an issuer in the reports that it files or submits under the Act is
         accumulated and communicated to the issuer’s management, including its
         principal executive and principal financial officers, or persons performing similar
         functions, as appropriate to allow timely decisions regarding required disclosure.
         As of September 30, 2021, we carried out an evaluation, under the supervision of
         and with the participation of its management, including our Chief Executive
         Officer and Chief Financial Officer, of the effectiveness of the design and
         operation of our disclosure controls and procedures. Based on the foregoing
         evaluation, Chief Executive Officer and Chief Financial Officer concluded that
         our disclosure controls and procedures (as defined in Rules 13a-15(e) and 15d-
         15(e) under the Securities Exchange Act of 1934, as amended (the “Exchange
         Act”)) were not effective and adequately designed to ensure that the information
         required to be disclosed by us in the reports it files or submits under the Exchange
         Act is recorded, processed, summarized and reported within the time periods
         specified in the applicable rules and forms, and that such information was
         accumulated and communicated to the management, including Chief Executive
         Officer and Chief Financial Officer, in a manner that allowed for timely decisions



                                                  76
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 82 of 125 PageID #: 966




         regarding required disclosure. The assessment stemmed from the following
         material weaknesses

         •     Lack of segregation of duties for accounting personnel who prepared and
               reviewed the journal entries; and

         •     Lack of a full time U.S. GAAP personnel in the accounting department to
               monitor the recording of the transactions.

         Changes in Internal Control over Financial Reporting.

         There were no changes in our internal control over financial reporting (as defined
         in Rule 13a-15(f) of the Exchange Act) during the three months ended September
         30, 2021 that have materially affected, or are reasonably likely to materially
         affect, our internal control over financial reporting.

        208.    On February 14, 2022, Singularity filed its Form 10-Q results for the quarter ended

December 31, 2021. The Form 10-Q was signed and separately certified by Defendants Jie and Pan

pursuant to the Sarbanes-Oxley Act of 2002—attesting to the accuracy and truthfulness of the

information contained therein. 107

        209.    The February 14, 2022 Form 10-Q downplayed the serious issues with the

Company’s internal controls, stating in pertinent part:

        Item 4. Controls and Procedures

         Evaluation of Disclosure Controls and Procedures

         We maintain controls and procedures designed to ensure that information
         required to be disclosed by the issuer in the reports that it files or submits under
         the Act (15 U.S.C. 78a et seq.) is recorded, processed, summarized and reported,
         within the time periods specified in the Securities and Exchange Commission’s
         rules and forms. Disclosure controls and procedures include, without limitation,
         controls and procedures designed to ensure that information required to be
         disclosed by an issuer in the reports that it files or submits under the Act is
         accumulated and communicated to the issuer’s management, including its
         principal executive and principal financial officers, or persons performing similar
         functions, as appropriate to allow timely decisions regarding required disclosure.


107
    Singularity Future Technology Ltd., Quarterly Report (Form 10-Q) (Dec. 31, 2021), https://www.sec.gov
/Archives/edgar/data/1422892/000121390022007553/f10q1221_singularity.htm.



                                                   77
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 83 of 125 PageID #: 967




        As of December 31, 2021, we carried out an evaluation, under the supervision of
        and with the participation of its management, including our Chief Executive
        Officer and Chief Financial Officer, of the effectiveness of the design and
        operation of our disclosure controls and procedures. Based on the foregoing
        evaluation, our Chief Executive Officer and Chief Financial Officer concluded
        that our disclosure controls and procedures (as defined in Rules 13a-15(e) and
        15d-15(e) under the Securities Exchange Act of 1934, as amended (the
        “Exchange Act”)) were not effective and adequately designed to ensure that the
        information required to be disclosed by us in the reports we file or submit under
        the Exchange Act is recorded, processed, summarized and reported within the
        time periods specified in the applicable rules and forms, and that such
        information was accumulated and communicated to the management, including
        Chief Executive Officer and Chief Financial Officer, in a manner that allowed for
        timely decisions regarding required disclosure. The assessment stemmed from
        the following material weaknesses –

              •   Lack of segregation of duties for accounting personnel who prepared and
                  reviewed the journal entries; and

              •   Lack of a full time U.S. GAAP personnel in the accounting department to
                  monitor the recording of the transactions.

        We have taken certain actions to remediate the material weakness related to our
        lack of U.S. GAAP experience. We have engaged an outside CPA firm with U.S.
        GAAP knowledge and SEC reporting experience to supplement our current
        internal accounting personnel and assist us in the preparation of our financial
        statements to ensure that our financial statements are prepared in accordance with
        U.S. GAAP.

        Changes in Internal Control over Financial Reporting.

        There were no changes in our internal control over financial reporting (as defined
        in Rule 13a-15(f) of the Exchange Act) during the three months ended December
        31, 2021 that have materially affected, or are reasonably likely to materially
        affect, our internal control over financial reporting.

       210.       The statements contained in paragraphs 201-209 were materially false and/or

misleading because they misrepresented and failed to disclose that the Company lacked adequate

internal controls. As discussed herein (see Section V.5, VI, infra), Singularity subsequently admitted

that the Company’s disclosure controls and procedures were not effective as of June 30, 2021,

September 30, 2021, December 31, 2021, June 30, 2022, and June 30, 2023, and as a result had a



                                                 78
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 84 of 125 PageID #: 968




heightened risk of scrutiny and ultimately was subject to investigation and action by the United States

Attorney’s Office for the Southern District of New York and the SEC, as well as a potential delisting

by NASDAQ.

       211.    For reasons set forth above, the statements contained in Section IV, were materially

false and/or misleading because they misrepresented and failed to disclose the following adverse

facts pertaining to Singularity’s business, operations, and prospects, which were known to

Defendants or recklessly disregarded by them. Specifically, the Singularity Defendants made false

and/or misleading statements and/or failed to disclose, among other things:

       •       Jie’s true educational background, alleged criminal background and misconduct
               associated with CCC. See Section V.A.1, supra.

       •       Director John Levy’s prior tenure from January 2013 through December 2016 as a
               director of CCC, which failed amidst detailed allegations that Defendant Jie, when
               he was an executive and shareholder in CCC, misappropriated assets. See Section
               V.A.2, supra.

       •       Singularity’s transition to a cryptocurrency company and associated ventures were
               fabrications or ventures that the Defendants knew could not be accomplished. See
               Section V.A.3-7, supra.

       •       Singularity engaged in material related party transactions with SOS and Rich
               Trading. See Sections V.A.4, 6 and V.D, supra.

       •       Singularity lacked adequate internal controls and as a result had a heightened risk of
               scrutiny and ultimately was subject to a United States Attorney’s Office for the
               Southern District of New York and SEC investigation and action as well as a potential
               delisting by NASDAQ. See Section V.B, supra.

       •       Defendant Thor Miner omitted that it and Singularity lacked the ability, resources, or
               intention to develop, manufacture, and deliver proprietary crypto mining machines
               in any meaningful quantity. See Section V.A.3, supra. And, Defendant Mainland
               omitted that it was a sham and that it did not possess or could not deliver the promised
               energy necessary to power Singularity’s purported cryptocurrency mining venture.
               See Section V.A.5, supra.

V.     THE TRUTH EMERGES

       212.    Between May 5, 2022 and February 24, 2023, Singularity investors learned the


                                                  79
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 85 of 125 PageID #: 969




shocking truth about Singularity’s brazen, pervasive, and widespread fraud.

        A.      Hindenburg Research and Peabody Street Research Issue Bombshell Reports
                That Expose Substantial Fraud by Defendants

        213.    As referenced above, on May 5, 2022, Hindenburg Research issued the Hindenburg

Report about Singularity entitled “Singularity Future Technology: This Nasdaq-Listed Company’s

CEO Is A Fugitive, On The Run For Allegedly Operating A Massive Ponzi Scheme.” 108

        214.    On that same day, Peabody Street Research issued the Peabody Report regarding

Singularity entitled “How Did A Chinese Fugitive Wind Up As The CEO Of A Publicly Traded

Company?” 109

        215.    The Hindenburg Report and the Peabody Report similarly revealed myriad aspects

of the fraud by the Individual Defendants, as follows.

                1.      Jie’s Extensive Criminal Past, Financial Improprieties, and Past
                        Deflections Were Revealed and Debunked

                        a.      Jie’s Criminal Past

        216.    The Hindenburg Report extensively detailed that: (a) Jie is a fugitive on the run from

Chinese authorities for operating an alleged $300 million Ponzi scheme that lured in over 20,000

victims; (b) Chinese media and its own checks with local authorities confirm that Yang Jie still has

an outstanding arrest warrant in China; (c) Jie allegedly forged Chinese state documents in an attempt

to demonstrate his innocence, and as a result, and according to a police document cited by local

media, Chinese police have added forgery to his list of suspected crimes; and (d) Jie is the subject of

an active “Red Notice” (the U.S. equivalent of an arrest warrant) in China for his role in the Ponzi


108
    Singularity Future Technology: This Nasdaq-Listed Company’s CEO Is A Fugitive, On The Run For Allegedly
Operating A Massive Ponzi Scheme, HINDENBURG RESEARCH (May 5, 2022), https://hindenburgresearch.com/
singularity/#_ftnref10.
  How Did A Chinese Fugitive Wind Up As The CEO Of A Publicly Traded Company?, PEABODY STREET RESEARCH
109

(May 5, 2022), https://peabodystreet.substack.com/p/how-did-a-chinese-fugitive-wind-up?utm_source=%2Fsearch
%2Fsingularity&utm_medium=reader2.



                                                    80
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 86 of 125 PageID #: 970




scheme. The Hindenburg Report also provided evidence that multiple Chinese media articles make

it clear that Yang Jie was both behind the Ponzi scheme and the eventually failed Nasdaq-listed CCC.

        217.    The Peabody Report provided sourced allegations from a lawsuit in the New York

Supreme Court that alleged that “Mr. Jie was under criminal investigation in China in connection

with the theft of approximately 2.9 billion RMB, the equivalent of roughly 300 million U.S. dollars,

from more than 20,000 investors through fraudulent securities transactions.”

                         b.      Jie’s Financial Improprieties

        218.    The Hindenburg Report and the Peabody Report detailed Jie’s involvement in

significant financial improprieties while he served as a General Manager of CCC at the same time

that Singularity Director John Levy served as a Director of CCC – suggesting that Levy was fully

aware of Jie’s sordid past. Relatedly, the Peabody Report revealed that “Levy has previously served

on boards where catastrophic results such as bankruptcy and severe losses of shareholder capital

have happened.”

        219.    The Hindenburg Report and the Peabody Report revealed that CCC was sued as a

result of a failed reverse merger in which Jie was revealed to have: (a) proffered a forged “no

prosecution” letter in an attempt to conceal his role in a prior $300 million Ponzi scheme for which

he is a wanted criminal in China; (b) retained an entity to render a fairness opinion on the reverse

merger that was entirely owned by Jie; and (c) been named in a lawsuit over the failed reverse merger

alleged, and it was later proved that he stole $3.5 million from an escrow account, initially escaping

liability through a false affidavit.

                2.       Director Levy Is Exposed for His Knowledge of Jie’s Financial
                         Improprieties and Mismanagement at CCC

        220.    The Hindenburg Report revealed that Defendant Levy’s Singularity biography

omitted his long tenure as a Director of CCC. As alleged, Jie would have been known to Levy for



                                                 81
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 87 of 125 PageID #: 971




his involvement in significant financial improprieties while he served as a General Manager of CCC

at the same time Singularity Director John Levy served as a Director of CCC, suggesting that Levy

was fully aware of Jie’s sordid past and financial improprieties at CCC.

       221.    On February 23, 2023, Levy tendered his resignation from his positions as a member

of the Board and the Audit Committee,                the Compensation Committee,         and the

Nominating/Corporate Governance Committee of the Board, effective immediately.

               3.      Singularity’s Thor Miner Proprietary Crypto Mining Machine is
                       Revealed as a Sham

       222.     The Hindenburg Report and the Peabody Report concluded that Singularity’s

purported proprietary bitcoin mining machine was likely not real because “Singularity [Thor

Miner] is selling a Bitcoin miner that is almost identical to a competitor’s” and provided detailed

proof that the Thor Miner machine pictured on Thor Miner’s website was just a picture of a

competing product. Peabody also revealed that a competitor to Thor Miner, AGM, had entered

into a contract with Thor’s joint venture partner that took precedence over and adversely impacted

performance of obligations under the Thor Miner deal.

               4.      Singularity’s Transaction with SOS Is Revealed as a Sham and an
                       Undisclosed Related Party Transaction

       223.    According to the Hindenburg Report, Jie’s connection to SOS may be longstanding

and more complex than just his marriage to an (possible) SOS Vice President. For example, the

Hindenburg Report states:

       [W]e found that an entity called “Jie’s Enterprise and Development” uses the same exact
       address as SOS New York, per New York corporate records.




                                                82
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 88 of 125 PageID #: 972




(SOS Information Technology New York Inc. corporate records. Source: New York Corporate
Registry)




(Jie’s Enterprise and Development Ltd corporate records. Source: New York Corporate Registry)

        224.    According to the Hindenburg Report, Nassau County real estate records 110 show that




110
    Hindenburg Research, Yang Jie Real Estate Records, SlideShare (Apr. 22, 2022), https://www.slideshare.
net/HindenburgResearch/yang-jie-real-estate-records.



                                                   83
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 89 of 125 PageID #: 973




Yang Jie’s personal residence is owned by “Jie’s Enterprise and Development.” 111

        225.     The Peabody Report further detailed that Jie’s wife, Xiaohuan Huang, a former Board

member of Singularity, was also a Vice President of SOS which, if true, makes the transaction a

related party transaction.

                 5.       Golden Mainland is a Sham

        226.     The Hindenburg Report and the Peabody Report provided extensive evidence that

Singularity’s $250 million deal with Golden Mainland was also a sham. First, it determined that

the company had been formed only months before the transaction was announced, had non-existent

officers, and that its office address was a State Farm Insurance office. Further, Peabody developed

evidence indicating that Golden Mainland appeared to be a sham company established months

before the transaction was disclosed and that the company cannot own and operate the massive

power resources that it claimed to have at its disposal.

                 6.       Singularity’s Rich Trading Transaction Is Revealed as a Likely Sham
                          and an Undisclosed Related Party Transaction

        227.     The Hindenburg Report revealed evidence suggesting that Singularity may be

siphoning cash into an entity controlled by the husband of its CFO, and that Rich Trading used

Singularity’s former corporate address. Hindenburg Research found no evidence that Rich Trading

engaged in the trading of computers or virtually any trading at all. Rather, the only thing that Rich

Trading appears to have imported are cotton towels. Hindenburg published the following results

of its search:




111
   Statement of Changes in Beneficial Ownership – Jie Yang (Form 4) (Oct. 22, 2018), https://www.sec.gov/Archives
/edgar/data/1556266/000121390018014247/xslF345X03/ownership.xml.



                                                       84
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 90 of 125 PageID #: 974




                  7.      The Price of Singularity Shares Decline Sharply in Response to
                          Hindenburg Research and Peabody Reports; Special Committee
                          Formed

           228.   Following the publication of the Hindenburg Report, the price of Singularity shares

fell 28.89%, from a closing price of $6.75 on May 4, 2022, to close at $4.80 per share on May 5,

2022, on unusually heavy trading volume, damaging investors. The price of Singularity shares fell

further on May 6, 2022, approximately 11.67%, to close at $4.24 per share.

           229.   In response to the Hindenburg Report, on May 6, 2022, the Board formed a Special

Committee to investigate claims raised in the Hindenburg Report. The Special Committee retained

Blank Rome LLP as counsel to investigate the allegations in the Hindenburg Report and any related

matters. 112

           B.     Singularity Admits to Material Weaknesses in Internal Controls

           230.   On May 25, 2022, Singularity filed with the SEC its Form 8-K signed by Defendant

Pan. 113

           231.   The May 25, 2022 Form 8-K downplayed the serious issues with the Company’s

internal controls by stating the following, in pertinent part:




  Aff. of Jing Shan in Opp. to Pls.’ Order to Show Cause for Prejudgment Attachment, SOS Info. Tech. N.Y., Inc. v.
112

Thor Miner Inc., Index No. 654735/2022, NYSCEF No. 34.
113
    Singularity Future Technology Ltd., Current Report (Form 8-K) (May 24, 2022), https://www.sec.gov/
Archives/edgar/data/1422892/000121390022029555/ea160633-8k_singular.htm.



                                                       85
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 91 of 125 PageID #: 975




        Item 3.01 Notice of Delisting or Failure to Satisfy a Continued Listing Rule or
        Standard; Transfer of Listing.

        On May 24, 2022, Singularity Future Technology Ltd. (the “Company”) received
        a delinquency notification letter (the “Letter”) from the Listing Qualifications
        Department of The Nasdaq Stock Market LLC (“Nasdaq”) notifying the Company
        that due to the delay in filing the Company’s Quarterly Report on Form 10-Q for
        the quarter ended March 31, 2022 (the “Form 10-Q”), the Company is not in
        compliance with Nasdaq Listing Rule 5250(c)(1), which requires listed companies
        to timely file all periodic financial reports with the Securities and Exchange
        Commission (the “SEC”).

        The Letter states that, the Company has 60 calendar days to submit a plan
        addressing how it intends to regain compliance with Nasdaq’s listing rules and, if
        Nasdaq accepts the Company’s plan, it may grant an extension of up to 180 calendar
        days from the original filing due date of the Form 10-Q, or until November 21,
        2022, to regain compliance.

        The Company’s management is working diligently to complete the Form 10-Q and
        intends to file the Form 10-Q as soon as practicable to regain compliance with the
        Nasdaq Listing Rule.

        232.    On October 7, 2022, Singularity filed with the SEC its Form 8-K signed by

Defendant Shan.

        233.    The October 7, 2022 Form 8-K provided a partial disclosure of issues with the

Company’s internal controls by reporting a potential delisting by NASDAQ, stating the following,

in pertinent part:

        Item 3.01. Notice of Delisting or Failure to Satisfy a Continued Listing Rule or
        Standard; Transfer of Listing.

        On October 3, 2022, Singularity Future Technology Ltd. (the “Company”) received
        a notice (the “Notice”) from the Listing Qualifications Department of The Nasdaq
        Stock Market LLC (“Nasdaq”), advising that the Company’s securities would be
        subject to delisting unless the Company timely requests a hearing before a Nasdaq
        Hearings Panel (the “Panel”). Accordingly, the Company intends to timely request
        a hearing before the Panel. The hearing request will stay any delisting or suspension
        action through October 25, 2022. Pursuant to the Nasdaq Listing Rules, in
        connection with the hearing request, the Company will request that the automatic
        stay be extended through the conclusion of the hearings process and the expiration
        of any additional extension period granted by the Panel following the hearing.




                                                 86
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 92 of 125 PageID #: 976




       As previously disclosed in the Company’s Form 8-K filed with the SEC on May
       25, 2022, on May 24, 2022, the Company received a delinquency notice from
       Nasdaq indicating that the Company was not in compliance with Nasdaq Listing
       Rule 5250(c)(1) due to the delay in filing its Quarterly Report on Form 10-Q for
       the quarter ended March 31, 2022, and was provided 60 days to submit a plan to
       regain compliance. On July 25, 2022, and September 14, 2022, the Company
       submitted its plan to regain compliance and supplementary information related to
       the plan, respectively (collectively, the “Compliance Plan”).

       Based on the review of the Compliance Plan as well as telephone conversations
       with outside counsel to the Company and counsel to the Company’s special
       committee of the board of directors, the Staff has determined that the Company did
       not provide a definitive plan evidencing its ability to file the Quarterly Report on
       Form 10-Q for the quarter ended March 31, 2022 and the Annual Report on Form
       10-K for the fiscal year ended June 30, 2022 (collectively, the “Reports”) within
       the 180 calendar day period available to the Staff under the Nasdaq Listing Rules.

       Specifically, the delisting determination referenced several aspects of the
       Compliance Plan that raise substantial doubts about the Company’s ability to regain
       compliance: (i) the unreasonably short timeframe for the Company to file the
       Reports based on the anticipated timeframe the Company’s special committee of
       the board of directors needs to substantially complete its investigation; (ii) the
       Company’s ability to engage a new independent registered public accounting firm;
       and (iii) the departure of both the Company’s Chief Executive Officer and Chief
       Financial Officer.

       While the Company intends to make every effort to maintain its listing, there can
       be no assurance that the Panel will grant the Company’s request for an extended
       stay or request for continued listing, nor can there be any assurance that the
       Company will ultimately regain compliance with all applicable requirements for
       continued listing.

       234.    On this news, on October 7, 2022, the price of Singularity shares fell 10.55%, from

a closing price of $2.56 on October 6, 2022, to close at $2.29 per share, damaging investors.

       235.    On February 27, 2023, Singularity filed a Form 8-K with the SEC in which it

announced that:

           On February 21, 2023, Singularity Future Technology Ltd. (the “Company”) received
           an additional staff determination notice (the “Notice”) from the Listing Qualifications
           Department of The Nasdaq Stock Market LLC (“Nasdaq”), advising that it had not
           received the Company’s Form 10-Q for the quarterly period ended December 31,
           2022, which served as an additional basis for delisting the Company’s securities and
           that the Nasdaq Hearings Panel (the “Panel”) will consider the additional deficiency



                                                87
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 93 of 125 PageID #: 977




             in rendering a determination regarding the Company’s continued listing on Nasdaq.
             The Company has submitted to the Panel a plan to regain compliance with the
             continued listing requirements and has been granted a grace period to file all the
             delinquent reports, including the filing of the Form 10-Q for the quarterly period
             ended December 31, 2022, on or before February 28, 2023.

        C.      Singularity Discloses the Existence of Governmental Investigations Relating
                to the Hindenburg Report

        236.    On November 16, 2022, Singularity filed with the SEC its Form 8-K signed by

Defendant Shan.

        237.    The November 16, 2022 Form 8-K disclosed governmental investigations of

Singularity related to the claims raised by Hindenburg Research on May 5, 2022, and other related

matters. It stated, in pertinent part:

        Item 8.01 Other Events.

        Press Release:

        Singularity Future Technology Announces Update Related to Special Committee
        Investigation

        Great Neck, N.Y., November 16, 2022 – Singularity Future Technology Ltd.
        (“Singularity” or the “Company”) (Nasdaq: SGLY) announced an update with
        respect to the Company’s business and other matters.

        The Company has received subpoenas from the United States Attorney’s Office for
        the Southern District of New York and the United States Securities and Exchange
        Commission. The Company is complying with these subpoenas and fully
        cooperating with these governmental entities. Additionally, the special Committee
        of the Company’s Board of Directors is continuing to investigate the claims raised
        by Hindenburg Research on May 5, 2022 and other related matters.

        The special committee anticipates that the fact-finding portion of investigation will
        be completed on or before December 31, 2022.

        238.    On this news, on November 16, 2022, the price of Singularity shares fell 18.68%,

from a closing price of $2.57 on November 15, 2022, to close at $2.09 per share, on unusually

heavy trading volume, damaging investors. On November 17, 2022, the price of Singularity shares

fell an additional 45.93% to close at $1.13 per share.


                                                 88
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 94 of 125 PageID #: 978




       239.    On January 5, 2023, in a Form 8-K filed with the SEC, Singularity disclosed that it

was the subject of numerous investigations: 114

        Government Investigations

        Following a publication issued by Hindenburg Research dated May 5, 2022, the
        Company received subpoenas from the United States Attorney’s Office for the
        Southern District of New York and the United States Securities and Exchange
        Commission. The Company is cooperating with the government regarding these
        matters. At this early stage, the Company is not able to estimate the outcome or
        duration of the government investigations.

       240.    In a Form 8-K, filed with the SEC on January 9, 2023, Singularity filed its Separation

Agreement with Defendant Cao which referenced that the Company was also under investigation by

FINRA. 115

       241.    On January 13, 2023, Singularity announced:

       On January 9, 2023, Singularity Future Technology Ltd.(the “Company”), entered
       into an Executive Separation Agreement and General Release (the “Separation
       Agreement”), with Lei Cao, an employee of the Company and a member of the
       Board of Directors of the Company (the “Board”), setting forth the terms and
       conditions related to (1) the termination of Mr. Cao’s employment with the
       Company and the termination of the employment agreement dated as of November
       1, 2021 as well as cancellation and/or termination of certain other agreements
       relating to Mr. Cao’s employment with the Company; and (2) Mr. Cao’s resignation
       from the Board, effective as of January 9, 2023.

       Pursuant to the Separation Agreement, Mr. Cao submitted a letter of resignation
       from the Board on January 9, 2023. In addition, he agreed to forfeit and return to
       the Company the 600,000 shares of common stock of the Company granted to him
       on August 13, 2021 under the terms of the 2014 Equity Incentive Plan of the
       Company (the “2021 Shares”). Mr. Cao also agreed to cooperate with the Company
       regarding certain investigations and proceedings set forth in the Separation
       Agreement, and/or any other matters arising out of or related to Mr. Cao’s
       relationship with or service to the Company. In consideration, the Company agreed
       to provide the following benefits to which Mr. Cao was not otherwise entitled: (1)
       payment of reasonable attorneys’ fees and costs incurred by Mr. Cao up through

114
   Singularity Future Technology Ltd., Current Report (Form 8-K) (Dec. 28, 2022), https://www.sec.gov/
Archives/edgar/data/1422892/000121390023000926/ea171208-8k_singularity.htm.
115
    Singularity Future Technology Ltd., Current Report (Form 8-K) (Jan. 9, 2022), https://www.sec.gov/
Archives/edgar/data/1422892/000121390023002787/ea171630-8k_singularity.htm.



                                                  89
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 95 of 125 PageID #: 979




        January 9, 2023 associated with Mr. Cao’s personal legal representation in matters
        relating to Mr. Cao’s tenure with the Company, the investigations and proceedings
        set forth in the Separation Agreement, and the negotiation and drafting of the
        Separation Agreement; (2) the release of claims in Mr. Cao’s favor contained in the
        Separation Agreement; and (3) payment of Mr. Cao’s reasonable and necessary
        legal fees to the extent incurred by Mr. Cao as a result of his cooperation as required
        by the Company under the terms of the Separation Agreement. Additionally, the
        Separation Agreement contains mutual general releases and waiver of claims from
        Mr. Cao and the Company.

        The foregoing description of the Separation Agreement is a summary of the
        material terms of such agreement, does not purport to be complete and is qualified
        in its entirety by reference to the Separation Agreement, which is filed hereto as
        Exhibit 10.1.

        D.     Singularity Admitted That It Could Not Deliver on the SOS Transaction

        242.   On January 5, 2023, Singularity filed a Form 8-K with the SEC in which it announced

that:

        SOS Information Technology New York, Inc. (“SOSNY”), a company
        incorporated under the laws of state of New York and a wholly owned subsidiary
        of SOS Ltd. filed a December 9, 2022 lawsuit in the New York State Supreme Court
        against Thor Miner, Inc., which is Singularity’s joint venture (“Thor Miner”),
        Singularity Future Technology Ltd. (“Singularity” or the “Company,” and, together
        with Thor Miner, referred to as the “Corporate Defendants”), Lei Cao, Yang Jie,
        John F. Levy, Tieliang Liu, Tuo Pan, Shi Qiu, Jing Shan, and Heng Wang (jointly
        referred to as the “Individual Defendants”) (collectively, the Individual Defendants
        and the Corporate Defendants are the “Defendants”). SOSNY and Thor Miner
        entered into a January 10, 2022 Purchase and Sale Agreement (the “PSA”) for the
        purchase of $200,000,000 in crypto mining rigs, which SOSNY claims was
        breached by the Defendants.

        SOSNY and Defendants entered into a certain settlement agreement and general
        mutual release with an Effective Date of December 28, 2022 (“Settlement
        Agreement”). Pursuant to the Settlement Agreement, Thor Miner agreed to pay a
        sum of thirteen million in U.S. dollars ($13,000,000) (the “Settlement Payment”)
        to SOSNY in exchange for SOSNY dismissing the lawsuit with prejudice as to the
        settling Defendants and without prejudice as to all others. The full Settlement
        Payment was received by SOSNY on December 28, 2022. SOSNY dismissed the
        lawsuit with prejudice against Singularity (and other Defendants) on December 28,
        2022.

        Singularity and Thor Miner further covenanted and agreed that if they receive
        additional funds from HighSharp (Shenzhen Gaorui) Electronic Technology Co.,
        Ltd. (“HighSharp”) related to the PSA, they will promptly transfer such funds to


                                                  90
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 96 of 125 PageID #: 980




           SOSNY in an amount not to exceed forty million, five hundred sixty thousand, five
           hundred sixty-nine dollars ($40,560,569.00) (which is the total amount paid by
           SOSNY pursuant to the PSA less the price of the machines actually received by
           SOSNY pursuant to the PSA). The Settlement Payment and any payments
           subsequently received by SOSNY from HighSharp shall be deducted from the total
           amount of forty million, five hundred sixty thousand, five hundred sixty-nine
           dollars ($40,560,569.00) previously paid by, and now due and owing to SOSNY.
           In further consideration of the Settlement Agreement, Thor Miner agreed to execute
           and provide to SOSNY, within seven (7) business days after SOSNY’s receipt of
           the Settlement Payment, an assignment of all claims it may have against HighSharp
           or otherwise to the proceeds of the PSA.

           E.       Singularity’s Unregistered Securities Sales Are Revealed as a Fraud

           243.     Singularity, Jie, Shan, Pan, Cao, Thor Miner and Golden Mainland utilized

Singularity’s sham transition into a cryptocurrency company to fraudulently raise tens of millions of

dollars through the sale of unregistered securities. At least three of those transactions were alleged

to have been fraudulent, resulting in three separate lawsuits against Singularity and certain of the

Individual Defendants, which resulted in the Company repaying $10.5 million to aggrieved

investors.

                    1.       Singularity, Jie, Shan, Pan, and Cao Fraudulently Induced Hexin
                             Global Limited and Viner Total Investments Funds to Purchase
                             $6,124,910.82 in Unregistered Securities Touting Singularity’s
                             Cryptocurrency Transformation

           244.     On September 23, 2022, Hexin Global Limited and Viner Total Investments Fund

sued Singularity, Jie, Shan, Pan, and Cao to recover $6,124,910.82 in damages caused by their

alleged common law fraud and statutory violations of the federal securities laws as well as breaches

of contract arising from a Securities Purchase Agreement (“SPA”) between Helix, Viner, and

Singularity, entered into on December 14, 2021. 116

           245.     On this news, on September 23, 2022, the price of Singularity shares fell over 4%,




116
      Hexin Global Ltd. v. Singularity Future Tech., Ltd., No. 22 Civ. 08160 (S.D.N.Y. Sept. 23, 2022).



                                                           91
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 97 of 125 PageID #: 981




from a closing price of $2.98 on September 22, 2022, to close at $2.86 per share and continued to

slide the days that followed, damaging investors.

       246.       In their lawsuit, Hexin and Viner alleged that in September 2021, they were

introduced to Cao and Jie to discuss potential investments in Singularity. According to Hexin and

Viner, Cao and Jie told their representatives that Singularity was on the verge of incredible growth

because it was about to pursue a new line of business focusing on blockchain technologies.

       247.       Hexin and Viner alleged that on December 14, 2021, in reliance on the

representations made by Cao and Jie, Hexin and Viner entered into the SPA with Singularity,

pursuant to which Hexin and Viner agreed to collectively purchase 1,878,807 restricted shares of

Singularity common stock at $3.26 per share. Restricted shares are, by definition, unregistered and

do not require a public capital raise. Among other things, the restricted shares could only be sold if

Singularity was compliant with its public reporting requirements.

       248.       Hexin alleged that Singularity’s misrepresentations, which led it to purchase

unregistered securities from Singularity, were directly related to and based on the Company’s

phony cryptocurrency business, stating:

       Since the Company received the investment from our party, it did not carry out
       cryptocurrency-related business in accordance with the agreement between the two
       parties and did not invest the fixed-investment amount into blockchain business
       development, which seriously violated the intention of the investors, resulting in
       the lack of effective growth for the Company's performance, and the share price
       fluctuated significantly and returned to the lower point.

       249.       In the SPA, Singularity represented and warranted that it shall comply with specific

SEC reporting requirements, absent which the restrictive legends could not be removed, including,

among many others:

              •    Section 2.1 Representations and Warranties of the Company and its
                   Subsidiaries. (C) Capitalization. (i) . . . no Common Stock are entitled to
                   preemptive, conversion or other rights and there are no outstanding options,



                                                   92
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 98 of 125 PageID #: 982




                        warrants, scrip, rights to subscribe to, call or commitments of any character
                        whatsoever relating to, or securities or rights convertible into, any shares
                        of capital stock of the Company[];

                   •    Section 2.1 Representations and Warranties of the Company and its
                        Subsidiaries. (C) Capitalization. (ii) there are no contracts, commitments,
                        understandings, or arrangements by which the Company is or may become
                        bound to issue additional shares of capital stock of the Company or options,
                        securities or rights convertible into shares of capital stock of the Company;

                   • Section 3.9 Use of Proceeds. The Company shall use the net proceeds from
                     the sale of the Securities hereunder for working capital and general
                     corporate purposes and shall not use such proceeds: (a) for the redemption
                     of any Common Stock or Common Stock Equivalents, or (b) in violation of
                     FCPA or OF AC regulations. 117

            250.       Based on Cao’s and Jie’s representations, as well as the representations articulated in

the SPA, Hexin and Viner collectively wired Singularity $6,124,910.82 in exchange for 1,878,807

restricted shares of Singularity.

            251.       Helix and Viner alleged that Singularity breached the SPA almost immediately.

Despite expressly representing that there were no “outstanding options, warrants, scrip, rights to

subscribe to, call or commitments of any character whatsoever relating to, or securities or rights

convertible into, any shares of capital stock of the Company,” on or about January 6, 2022, just

weeks after executing the SPA and days after receipt of Helix’s and Viner’s funds, Singularity

announced in a Form 8-K that it had entered into a Warrant Purchase Agreement with previous

investors “pursuant to which the Company agreed to buy back an aggregate of 3,870,800 warrants

(the ‘Warrants’) from the Sellers, and the Sellers agreed to sell the Warrants back to the Company.

These Warrants were sold to these Sellers in three previous transactions that closed on February 11,

2021, February 10, 2021, and March 14, 2018. The purchase price for each Warrant is $2.00 . . . .”



117
      All italics added for emphasis.




                                                         93
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 99 of 125 PageID #: 983




            252.     Helix and Viner alleged that Singularity, Jie, and Cao neither disclosed the Warrants

to them prior to executing the SPA nor excluded them from the explicit representation that no

warrants were outstanding in Sections 2.1(c)(i) and (ii) of the SPA. In other words, one day after

Singularity received an aggregate payment of over $6.1 million, it conspired to use the funds to buy

back millions of shares exercisable by Warrants in a transaction valued at $7,741,600. They did so

despite Singularity and Jie representing in: (a) Sections 2.1(c)(i) and (ii) of the SPA that no warrants

were outstanding; and (b) Section 3.9 that the “Company shall use the net proceeds from the sale of

the Securities hereunder for working capital and general corporate purposes” and not to eliminate

outstanding obligations such as the Warrants.

                     2.       Singularity Induced Jinhe Capital Limited to Purchase $10,500,000 in
                              Unregistered Securities

            253.     On October 6, 2022, Jinhe Capital Limited (“Jinhe”) filed a lawsuit against

Singularity alleging that the Company violated a November 2021 financial advisory services

agreement between them (“Jinhe Agreement”). 118

            254.     On this news, Singularity’s common stock price declined 12.93%, from a closing

price of $2.94 on October 5, 2022, to close at $2.56 on October 6, 2022, and continued to decline in

the following days, closing at $2.29 on October 7, 2022 and $2.15 on October 10, 2022.

            255.     Jinhe alleged that, pursuant to the Jinhe Agreement, it introduced Singularity to six

investors who invested over $10.5 million into Singularity pursuant to a Securities Purchase

Agreement dated December 14, 2021. In consideration for these services, Singularity was to pay

Jinhe 500,000 restricted shares of Singularity common stock. On or about January 24, 2022,

Singularity’s transfer agent TranShare issued 500,000 shares of restricted stock to Jinhe. However,




118
      Jinhe Cap. Ltd v. Singularity Future Tech., Ltd., No. 22 Civ. 08538 (S.D.N.Y.).



                                                            94
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 100 of 125 PageID #: 984




 thereafter, Singularity failed to continue filing reports with the SEC which rendered it impossible to

 lift the restriction on Jinhe’s shares, effectively rendering them worthless. Despite Jinhe’s request,

 Singularity refused to assist Jinhe to remove the restricted legend.

                 3.      Singularity, Jie, Cao, Shan, and Pan Induced St. Hudson Group LLC,
                         Imperii Strategies LLC, Isyled Technology Limited, and Hsqynm
                         Family Inc. to Purchase $4,400,000 in Unregistered Securities Touting
                         Singularity’s Cryptocurrency Transformation

         256.    On December 5, 2022, St. Hudson Group LLC, Imperii Strategies LLC, Isyled

 Technology Limited, and HS-QYNM Family Inc. sued Singularity, Jie, Cao, Shan, and Pan, alleging

 that they invested $4,400,000 to purchase unregistered shares of Singularity based on the

 representations of Singularity, Jie, Cao, Shan, and Pan regarding Singularity’s cryptocurrency

 business. Specifically, the plaintiffs in this action alleged that: “Between September and December

 of 2021, Defendants—including Jie who was later revealed to be a convicted fraudster on the run

 from Chinese authorities—engaged in a scheme of material misrepresentations and omissions to

 convince the St. Hudson plaintiffs to invest millions of dollars in Singularity’s purported

 cryptocurrency business that Defendants falsely claimed would earn Plaintiffs ‘10x’ investment

 returns in a short period of time.”

         257.    On this news, Singularity’s common stock price declined 2.60%, from a closing price

 of $0.77 on December 5, 2022, to close at $0.75 on December 6, 2022.

         258.    Finally, on February 24, 2023, Singularity informed the Court that it had agreed to

 settle the claims of Hexin Global Limited, Viner Total Investments Fund, Jinhe Capital Limited, St.

 Hudson Group LLC, Imperii Strategies LLC, Isyled Technology Limited, and HS-QYNM Family

 Inc. in each of the three lawsuit. On this news, the price of Singularity shares fell over 13%, from a

 closing price of $0.69 on February 23, 2023, to close at $0.60 on February 24, 2023. On March 10,

 2023, the parties entered into a Settlement Agreement and Release pursuant to which Singularity



                                                   95
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 101 of 125 PageID #: 985




 paid $10,525,910.82 to settle the claims.

 VI.    POST-CLASS PERIOD DEVELOPMENTS

        259.    On February 27, 2023, Singularity filed a Form 8-K with the SEC in which it

 announced that:

        As previously reported, on May 6, 2022, the Board formed a special committee to
        investigate claims of alleged fraud, misrepresentation, inadequate disclosure, and
        other related matters related to the Company and certain of its management
        personnel raised in the report of Hindenburg Research dated May 5, 2022 and other
        related matters. On February 23, 2023, the Board approved the dissolution of the
        special committee upon conclusion of the committee’s investigation.

        260.    On March 1, 2023, Singularity filed a Form 8-K with the SEC in which it announced:

        Item 4.02.   Non-Reliance on Previously Issued Financial Statements or a
        Related Audit Report or Completed Interim Review.

        On February 28, 2023, the audit committee of Singularity Future Technology
        Ltd.(the “Company”), after discussion with the management of the Company, and
        in consultation with the Company’s independent registered public accounting firm,
        concluded that the Company’s previously issued financial statements for the fiscal
        year ended June 30, 2021 included in the Company’s Annual Report on Form 10-
        K filed with the Securities and Exchange Commission (the “SEC”) on November
        29, 2021 (the “2021 Form 10-K”) should no longer be relied upon as a result of
        incorrect accounting treatment of approximately $4.5 million of accounts
        receivable. During the fiscal year ended June 30, 2019, Trans Pacific Logistic
        Shanghai Ltd (“TP Shanghai”), a subsidiary of the Company, received
        approximately $4.5 million (Renminbi (“RMB”) 30 million) from a related party,
        Shanghai Baoyin Industrial Co., Ltd.(“Shanghai Baoyin”) which is 30% owned by
        Wang Qinggang, CEO and legal representative of TP Shanghai, to pay for accounts
        receivable of six different customers totaling RMB 30 million. TP Shanghai then
        paid the same amount to Zhangjiakou Baoyu Trading Co. Ltd.(“Baoyu”), a third
        party and recorded the amount as an advance to the supplier. As such, for the fiscal
        year 2019, accounts receivable was understated by RMB 30 million, and
        prepayment was overstated by RMB 30 million. There was no effect on total assets.
        During the fiscal year ended June 30, 2020, the advance to Baoyu was reclassified
        to other receivable and the Company provided a full allowance for the RMB 30
        million. The Company evaluated this transaction and determined there is no
        cumulative effect on the Company’s retained earnings as of June 30, 2020.

        During the fiscal year ended June 30, 2021, Baoyu repaid a total of RMB 30 million
        to TP Shanghai, and TP Shanghai loaned the same amount to Shanghai Baoyin and
        Wang Qinggang. The RMB 30 million received was recorded as recovery of bad
        debt and a related party loan receivable, respectively. Shanghai Baoying


                                                96
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 102 of 125 PageID #: 986




       subsequently repaid RMB 4 million, which was subsequently loaned to Wang
       Qinggang.

       The Company analyzed the transactions and determined the funds were originally
       from Shanghai Baoyin and eventually paid back to the same related parties.
       Recovery of bad debt and related party loan receivable was overstated by RMB 30
       million for the fiscal year 2021.

       The Company intends to amend its financial statements for the fiscal year 2021 to
       restate loans receivable – related parties and bad debt recovery. The impact of the
       restatement on the Company’s consolidated statement of operations for the fiscal
       year ended June 30, 2021 is expected to include the following:

       ·      recovery for doubtful accounts decreased by approximately $4.6 million
              from $321,168 to a provision for doubtful accounts of $4.2 million;

       ·      net loss increased by approximately $4.6 million from $6.7 million to $11.3
              million; and

       ·      related party loans receivable decreased by $4.6 million from $4.6 million
              to nil.

       The audit committee also concluded that the financial statements for the quarters
       ended September 30, 2021 and December 31, 2021 included in the Company’s
       Quarterly Reports on Form 10-Q (the “2021 Form 10-Qs,” collectively with the
       2021 Form 10-K, the “Affected Reports”), filed with the SEC on November 12,
       2021 and February 14, 2022, respectively, should no longer be relied upon as a
       result of incorrect recognition of revenue from freight shipping services in the
       amount of $980,200 for the three months ended September 30, 2021 and six months
       ended December 31, 2021.

       During the audit for the fiscal year ended June 30, 2022, the Company discovered
       the error in revenue recognition by its subsidiary, SGS NY Sino-Global Shipping
       New York Inc., that $980,200 of revenue recognized in freight logistics did not
       meet revenue recognition criteria for the three months ended September 30, 2021
       and six months ended December 31, 2021.

       In addition, due to a lack of proper procedures in identifying and recording related
       party transactions. there was an error in the accounting treatment of the
       Company’s recovery (provision) for doubtful accounts, net related to its other
       receivables.

       The impact of the restatement of recovery (provision) for doubtful accounts
       includes the following:




                                               97
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 103 of 125 PageID #: 987




       ·      recovery for doubtful accounts decreased by approximately $1.9 million
              from approximately $1.9 million to a provision for doubtful accounts of
              approximately $34,000 for the three months ended September 30, 2021 and
              the six months ended December 31, 2021;

       ·      net loss increased by approximately $2.2 million from approximately $3.0
              million to approximately $5.2 million for the three months ended September
              30, 2021; and

       ·      net loss increased by approximately $2.2 million from approximately $11.8
              million to approximately $14.0 million for the six months ended December
              31, 2021.

       The Company intends to correct the errors referenced above in an amendment to
       (1) the 2021 Form 10-K (the “Amended Form 10-K”) and (2) each of the 2021
       Form 10-Qs (the “Amended Form 10-Qs”). The Company’s management has
       concluded that in light of the accounting errors described above, a material
       weakness exists in the Company’s internal control over financial reporting and that
       the Company’s disclosure controls and procedures were not effective as of June 30,
       2021, September 30, 2021, December 31, 2021, and June 30, 2022. The Company’s
       remediation plan with respect to such material weakness will be described in more
       detail in the Amended Form 10-K and the Amended Form 10-Qs.

       The Company’s management and the audit committee have discussed the matters
       disclosed in this Current Report on Form 8-K pursuant to this Item 4.02 with Audit
       Alliance LLP, the Company’s independent registered public accounting firm.

       261.   On March 6, 2023, Singularity issued an amended 8-K/A in which it announced that:

       On March 3, 2023, Singularity Future Technology Ltd.(the “Company”) discovered
       errors in the disclosure related to certain transactions in 2019 in its Current Report
       on Form 8-K (the “Form 8-K”) filed with the Securities and Exchange Commission
       (the “SEC”) on February 28, 2023. This Amendment No. 1 to the Form 8-K is being
       filed by the Company solely to amend the incorrect disclosure. For easy of
       reference the Form 8-K is hereby amended and restated in its entirety as set forth
       below.

       Item 4.02.   Non-Reliance on Previously Issued Financial Statements or a
       Related Audit Report or Completed Interim Review.

       On February 28, 2023 , the audit committee of Singularity Future Technology
       Ltd.(the “Company”), after discussion with the management of the Company, and
       in consultation with the Company’s independent registered public accounting firm,
       concluded that the Company’s previously issued financial statements for the fiscal
       year ended June 30, 2021 included in the Company’s Annual Report on Form 10-
       K filed with the Securities and Exchange Commission (the “SEC”) on November



                                                98
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 104 of 125 PageID #: 988




        29, 2021 (the “2021 Form 10-K”) should no longer be relied upon as a result of
        incorrect accounting treatment of approximately $4.6 million of related party loan
        receivable.

        From March to June 2019, Trans Pacific Logistic Shanghai Ltd.(“Trans Pacific
        Shanghai”), a subsidiary of the Company, received approximately $6.2 million
        (RMB 40 million) from a related party, Shanghai Baoyin Industrial Co.,
        Ltd.(“Shanghai Baoyin”), to pay for accounts receivable of six different customers
        totaling RMB 40 million. Shanghai Baoyin is 30% owned by Wang Qinggang, the
        CEO and legal representative of Trans Pacific Shanghai. Trans Pacific Shanghai
        subsequently paid RMB 20 million and RMB 10 million to Zhangjiakou Baoyu
        Trading Co. Ltd.(“Baoyu”), a third party, in April 2019 and July 2019, respectively,
        and it made an additional payment of RMB 10 million to Hebei Baoxie Trading
        Co., Ltd.(“Hebei Baoxie”), a third party, in July 2019.

        As such, for the fiscal year ended June 30, 2019, accounts receivable was
        understated by RMB 40 million, advance to supplier was overstated by RMB 20
        million, and other payables from Shanghai Baoyin, a related party, were
        understated by RMB 20 million. There was an overstatement of RMB 20 million
        in total assets and an understatement of total liabilities of RMB 20 million.

        During the fiscal year ended June 30, 2020, Baoxie repaid a total of RMB 10 million
        to Trans Pacific Shanghai, and Trans Pacific Shanghai advanced the RMB 10
        million to Shanghai Baoyin. The RMB 10 million paid to Shanghai Baoyin was
        recorded as other receivable, and the RMB 30 million advance to Baoyu was
        reclassified from an advance to supplier to other receivable. The Company provided
        a full allowance of its receivables totaling RMB 40 million. The Company
        evaluated this transaction and determined there is no cumulative effect on the
        Company’s total assets, liabilities, or retained earnings as of June 30, 2020.

        During the fiscal year ended June 30, 2021, Baoyu repaid RMB 30 million to Trans
        Pacific Shanghai. The RMB 30 million received was recorded as recovery of bad
        debt. Trans Pacific Shanghai then loaned the same amount to Shanghai Baoyin.
        Shanghai Baoyin subsequently repaid RMB 4 million to Trans Pacific Shanghai,
        and Trans Pacific Shanghai loaned the same amount to Wang Qinggang. The RMB
        30 million received was recorded as recovery of bad debt for other receivable and
        the RMB 30 million paid was recorded as a related party loan receivable.

        The Company analyzed the transactions and determined the RMB 30 million was
        originally from Shanghai Baoyin and eventually paid back to the same related
        parties. Recovery of bad debt and related party loan receivable was overstated by
        RMB 30 million for the fiscal year 2021.

        262.   Singularity’s Form 10-Q for the quarter ended December 31, 2022, filed with the

 SEC on March 7, 2023, admitted that the Company’s November 16, 2021 Rich Trading transaction



                                                99
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 105 of 125 PageID #: 989




 was an improper related party transaction and that Rich Trading’s bank accounts were controlled by

 Singularity’s management, stating: 119

         On November 16, 2021, the Company entered into a project cooperation agreement
         with Rich Trading Co. Ltd USA (“Rich Trading”) for the trading of computer
         equipment. Rich Trading’s bank account was controlled by now-terminated
         members of the Company’s management and was, at the time, an undisclosed
         related party. According to the agreement, the Company was to invest $4.5 million
         in the trading business operated by Rich Trading and the Company would be
         entitled to 90% of profits generated by the trading business. The Company
         advanced $3,303,424 for this project. $3,200,000 has been returned to the
         Company. The Company provided allowance of $103,424 for the year ended June
         30, 2022.

         263.    Singularity’s Form 10-Q for Q1 2023 acknowledged that the Company’s Rich

 Trading transaction was a related party transaction – which, as alleged above, was not disclosed as

 a related party transaction: 120

         We also made related party advances of approximately $5.1 million, including
         approximately $3.2 million of advances to Rich Trading Co. Ltd., a related party.
         $1.3 million to Shanghai Baoyin Industrial Co., Ltd. (“Baoyin”) which is 30%
         owned by Qinggang Wang, a related party and approximately $0.6 million of
         advances to our equity investee, LSM Trading Ltd. These advances are non-interest
         bearing and due on demand.

         264.    On March 10, 2023, Singularity announced that:

         On March 8, 2023, Singularity Future Technology Ltd. (the “Company”) received
         a notice from Nasdaq Listing Qualifications department of The Nasdaq Stock
         Market LLC (“Nasdaq”) stating that the Company no longer complies with
         Nasdaq’s audit committee requirement under Nasdaq’s Listing Rule 5605
         following the resignation of John Levy from the Company’s board of directors and
         audit committee effective February 23, 2023. Nasdaq advised the Company that in
         accordance with Nasdaq’s Listing Rule 5605(c)(4), the Company has a cure period
         to regain compliance (i) until the earlier of the Company’s next annual
         shareholders’ meeting or February 23, 2024; or (ii) if the next annual shareholders’
         meeting is held before August 22, 2023, then the Company must evidence
         compliance no later than August 22, 2023 (the “Cure Period”). The Company

 119
    Singularity Future Technology Ltd., Quarterly Report (Form 10-Q) (Dec. 31, 2022), https://www.sec.gov/
 Archives/edgar/data/1422892/000121390023017863/f10q1222_singularity.htm.
 120
     Singularity Future Technology Ltd., Quarterly Report (Form 10-Q) (Mar. 31, 2023), https://www.sec.gov/
 Archives/edgar/data/1422892/000121390023039819/f10q0323_singularity.htm.



                                                   100
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 106 of 125 PageID #: 990




         intends to regain compliance with Nasdaq’s Listing Rule 5605 prior to the end of
         the Cure Period.

         265.   On March 22, 2023, Singularity filed a Form 8-K with the SEC in which it announced

 that:

         On March 16, 2023, Singularity Future Technology Ltd. (the “Company”) received
         a formal notification from the Nasdaq Stock Market LLC confirming that the
         Company had regained compliance with the Nasdaq Listing Rule 5250(c)(1), which
         requires the Company to timely file all required periodic financial reports with the
         Securities and Exchange Commission, and that the matter is now closed.

         266.   On July 12, 2023, Singularity announced in a Form 8-K filed with the SEC that:

         On July 7, 2023, Singularity Future Technology Ltd. (the “Company” or
         “Registrant”) received an Notice of Noncompliance Letter (the “Letter”) from The
         Nasdaq Stock Market LLC (“Nasdaq”) stating that the Company was not in
         compliance with Nasdaq Listing Rules due to its failure to timely hold an annual
         meeting of shareholders for the fiscal year ended June 30, 2022 (the “Annual
         Meeting”), which is required to be held within twelve months of the Company’s
         fiscal year end under Nasdaq Listing Rule 5620(a) and 5810(c)(2)(G).

         The Letter also states that the Company has 45 calendar days to submit a plan to
         regain compliance (the “Plan”) and if Nasdaq accepts the Plan, it can grant the
         Company an exception of up to 180 calendar days from the fiscal year end, or until
         December 27, 2023, to regain compliance. Nasdaq requires the Plan to be submitted
         no later than August 21, 2023.

         267.   On July 14, 2023, Singularity announced in a Form 8-K filed with the SEC that:

          Item 3.01 Notice of Delisting or Failure to Satisfy a Continued Listing Rule
          or Standard; Transfer of Listing.

          On July 13, 2023, Singularity Future Technology Ltd. (the “Company” or the
          “Registrant”) received a notice from The Nasdaq Stock Market LLC (“Nasdaq”)
          stating that the Company no longer complies with Nasdaq’s independent director
          and audit committee requirements under Nasdaq’s Listing Rule 5605 following
          the resignation of Tieliang Liu from the Company’s board of directors and audit
          committee effective July 3, 2023. Nasdaq advised the Company that in accordance
          with Nasdaq’s Listing Rule 5605(c)(4), the Company has a cure period to regain
          compliance (1) until the earlier of the Company’s next annual shareholders’
          meeting or July 3, 2024; or (2) if the next annual shareholders’ meeting is held
          before January 2, 2024, then the Company must evidence compliance no later than
          January 2, 2024 (the “Cure Period”). The Company intends to regain compliance
          with Nasdaq’s Listing Rule 5605 prior to the end of the Cure Period.



                                                 101
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 107 of 125 PageID #: 991




         On July 13, 2023, the Company received a notice from Nasdaq stating that the
         Company failed to regain compliance with respect to the minimum $1 bid price
         per share requirement under Nasdaq Listing Rules during the 180 calendar days
         given by Nasdaq for the Company to regain compliance, which ended on July 5,
         2023. However, Nasdaq has determined that the Company is eligible for an
         additional 180 calendar day period, or until January 2, 2024, to regain compliance.
         Such determination is based on the Company meeting the continued listing
         requirement for market value of publicly held shares and all other applicable
         requirements for initial listing on the Capital Market with the exception of the bid
         price requirement, and the Company’s written notice of its intention to cure the
         deficiency during the second compliance period by effecting a reverse stock split,
         if necessary. The Company intends to regain compliance with Nasdaq’s bid price
         requirement prior to the end of the second bid price extension.

        268.    In a Form 10-K filed with the SEC on September 29, 2023, Singularity admitted that

 the scope of the Company’s planned financial restatements would “increase[] possibility of litigation

 and regulatory inquiries” and “affect investor confidence.” Specifically, Singularity disclosed that:

         The restatement of our prior financial statements may affect investor confidence
         and raise reputational issues and may subject us to additional risks and
         uncertainties, including increased professional costs and the increased possibility
         of legal proceedings and regulatory inquiries.

                                                  ***

         As a result of these errors and the resulting restatements of our financial statements
         for the impacted periods, we have incurred, and may continue to incur,
         unanticipated costs for accounting and legal fees in connection with or related to
         the restatements, and have become subject to a number of additional risks and
         uncertainties, including the increased possibility of litigation and regulatory
         inquiries. Any of the foregoing may affect investor confidence in the accuracy of
         our financial disclosures and may raise reputational risks for our business, both of
         which could harm our business and financial results.

 See Form 10-K at 21.

        269.    In the same Form 10-K filed with the SEC on September 29, 2023, Singularity also

 admitted that the Company still had not finished remediating its internal weaknesses in internal

 controls and that material weaknesses in the internal regime existed for the period ending June 30,

 2023. As a result, the Company disclosed in relevant part:



                                                  102
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 108 of 125 PageID #: 992




        We cannot provide assurance that these or other measures will fully remediate our
        material weaknesses in a timely manner. If our remediation of these material
        weaknesses is not effective, it may cause our Company to become subject to
        investigation or sanctions by the SEC. It may also adversely affect investor
        confidence in our Company and, as a result, the value of our common stock. There
        can be no assurance that all existing material weaknesses have been identified, or
        that additional material weaknesses will not be identified in the future. In addition,
        if we are unable to continue to meet our financial reporting obligations, we may not
        be able to remain listed on Nasdaq.

 See Form 10-K at 23.

 VII.   SUMMARY OF SCIENTER ALLEGATIONS

        270.    The facts detailed above and summarized below, when viewed holistically and

 together with the other allegations in this Second Amended Class Action Complaint, establish a

 strong inference that each of the Singularity Defendants knew or were severely reckless in not

 knowing that each of the misrepresentations and omissions alleged herein would be, and were, false

 or misleading to investors at the time they were made.

        271.    At all relevant times, each of the Singularity Defendants knew or recklessly

 disregarded that their statements and omissions concerning Defendant Jie’s criminal past and history

 of financial improprieties, undisclosed related party transactions, sham joint ventures and contracts

 with sham entities, Singularity’s sale of unregistered securities on the basis of its sham

 transformation into a cryptocurrency company and inability to engage in meaningful cryptocurrency

 mining and to develop a proprietary cryptocurrency mining machine during the Class Period, were

 false or misleading to investors at the time they were made. In summary of and in addition to the

 facts more fully discussed above, Defendants’ scienter is evidenced by the following facts.

        A.      Singularity’s Failure to Deliver on its Cryptocurrency Ventures

        272.    Singularity’s senior management’s actual knowledge, and access to information,

 concerning the inability to transform into a cryptocurrency company (including manufacture crypto

 mining machines and build mining operations) further gives rise to a strong inference of scienter.


                                                 103
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 109 of 125 PageID #: 993




 Directors and senior management had actual knowledge that Singularity could not and would not

 deliver on its myriad promises to transform into a successful cryptocurrency business because the

 Company was engaged in related party transactions, did not engage in meaningful cryptocurrency

 mining, had not developed a proprietary cryptocurrency mining machine, entered into joint ventures

 with sham companies, and was aware that COVID-19 and the worldwide chip shortage would render

 it impossible to deliver on its promise to develop and deliver a proprietary cryptocurrency mining

 machine. See Sections V.A.3-7 and V.D, supra.

         B.      Singularity’s Failure to Reveal Jie’s Criminal Past, Financial Improprieties
                 and Accurate Educational Background

         273.    As alleged above, Singularity touted senior management’s actual knowledge and

 access to information, which further gives rise to a strong inference of scienter. Senior management

 and Directors, including Jie, Zhikang, and Levy, knew that Jie had been accused of extensive

 criminal conduct and found to have participated in financial improprieties during his tenure at CCC.

 See Section V.A.1, 2, supra.

         C.      Singularity Abandoned Its Transformation to a Cryptocurrency Company

         274.    As alleged above, Singularity’s Form 10-Q for the period ended Q1 2023 confirms

 that it has exited the cryptocurrency business stating: “The Company ceased to sell crypto-mining

 equipment since January 1, 2023. For the three months ended March 31, 2023, the Company did not

 sell crypto-mining machines.” 121 See paragraph 124, supra.

         D.      Singularity’s Settlements With SOS

         275.    As alleged above, SOS sued Singularity, Thor Miner, Cao, Jie, Levy, Liu, Pan, Qiu,

 Shan, and Wang for the failure to deliver proprietary cryptocurrency machines pursuant to the



 121
     Singularity Future Technology Ltd., Quarterly Report (Form 10-Q) (Mar. 31, 2023), https://www.sec.gov/
 ix?doc=/Archives/edgar/data/0001422892/000121390023039819/f10q0323_singularity.htm.



                                                   104
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 110 of 125 PageID #: 994




 Company’s $200 million contract with SOS. During the litigation, Singularity offered inconsistent

 and unavailing explanations for its failure to perform. As alleged below, Singularity and Thor Miner

 failed to perform because Thor Miner was a sham and its purported proprietary cryptocurrency

 machines were nothing more than machines manufactured by a competitor. As a result, in December

 2022, shortly after the lawsuit was filed, Singularity promptly settled the SOS lawsuit for

 $13,000,000 and the return to SOS of future recoveries. See Section V.A.4, supra.

        E.      Singularity’s Settlements With Purchasers of Unregistered Shares of
                Singularity Common Stock

        276.    As alleged above, on or about February 24, 2023, Singularity paid $10,525,910.82 to

 settle the claims of Hexin Global Limited, Viner Total Investments Fund, Jinhe Capital Limited, St.

 Hudson Group LLC, Imperii Strategies LLC, Isyled Technology Limited, and HS-QYNM Family

 Inc., alleging misrepresentations by Singularity, Jie, Shan, Pan, and Cao regarding Singularity’s

 cryptocurrency business to induce private investments in the Company. See Section V.E, supra.

        F.      The Criminal and SEC Investigations of Singularity Are Strongly Indicative
                of Scienter

        277.    Singularity has confirmed the existence of multiple investigations. For example,

 Singularity disclosed that the “Board of Directors of the Employer formed a special committee of

 the Board (the ‘Special Committee’) to review and investigate claims raised in the Hindenburg

 Report, and to respond to subpoenas from the United States Attorney’s Office for the Southern

 District of New York, the SEC, and FINRA (the “Investigation”).” 122 See Section V.C, supra.

        278.    The governmental scrutiny of the improper practices in question further contributes

 to a strong inference of Defendants’ scienter.




 122
     Separation Agreement and General Release, Exhibit 10.1 (Jan. 9, 2023), https://www.sec.gov/
 Archives/edgar/data/1422892/000121390023002787/ea171630ex10-1_singularity.htm.



                                                  105
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 111 of 125 PageID #: 995




        G.      Leadership Changes at Singularity Further Support a Strong Inference of
                Scienter

        279.    During and following the Class Period, Defendants Cao, Shan, Pan, and Jie were all

 terminated, resigned, or found to have engaged in improper conduct during the Class Period and

 while in the employ of Singularity. Such remedial measures and findings further support a strong

 inference of scienter. This type of “house-cleaning” does not typically follow innocent instances of

 mismanagement.

        280.    In its Form 10-Q for the period ending December 31, 2022, Singularity

 acknowledged that its former CEO, Defendant Cao, was terminated and forfeited 600,000 shares of

 common stock:

        Note 20. SUBSEQUENT EVENTS

        On January 9, 2023, the Company entered into an Executive Separation Agreement
        and General Release (the “Separation Agreement”), with Lei Cao, an employee of
        the Company and a member of the Board of Directors of the Company (the
        “Board”), setting forth the terms and conditions related to (1) the termination of
        Mr. Cao’s employment with the Company and the termination of the employment
        agreement dated as of November 1, 2021 as well as cancellation and/or termination
        of certain other agreements relating to Mr. Cao’s employment with the Company;
        and (2) Mr. Cao’s resignation from the Board, effective as of January 9, 2023.

        Pursuant to the Separation Agreement, Mr. Cao submitted a letter of resignation
        from the Board on January 9, 2023. In addition, he agreed to forfeit and return to
        the Company the 600,000 shares of common stock of the Company granted to him
        on August 13, 2021 under the terms of the 2014 Equity Incentive Plan of the
        Company (the “2021 Shares”). Mr. Cao also agreed to cooperate with the Company
        regarding certain investigations and proceedings set forth in the Separation
        Agreement, and/or any other matters arising out of or related to Mr. Cao’s
        relationship with or service to the Company. In consideration, the Company agreed
        to provide the following benefits to which Mr. Cao was not otherwise entitled: (1)
        payment of reasonable attorneys’ fees and costs incurred by Mr. Cao up through
        January 9, 2023 associated with Mr. Cao’s personal legal representation in matters
        relating to Mr. Cao’s tenure with the Company, the investigations and proceedings
        set forth in the Separation Agreement, and the negotiation and drafting of the
        Separation Agreement; (2) the release of claims in Mr. Cao’s favor contained in the
        Separation Agreement; and (3) payment of Mr. Cao’s reasonable and necessary
        legal fees to the extent incurred by Mr. Cao as a result of his cooperation as required
        by the Company under the terms of the Separation Agreement. Additionally, the


                                                 106
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 112 of 125 PageID #: 996




         Separation Agreement contains mutual general releases and waiver of claims from
         Mr. Cao and the Company. 123

         281.     On June 24, 2022, Singularity filed a Form 8-K with the SEC, signed by Defendant

 Shan, in which it announced that: 124

         Effective June 20, 2022, Ms. Tuo Pan, Chief Financial Officer of Singularity Future
         Technology Ltd. (the “Company”), was suspended by the Board of Directors for
         cause and without pay. On June 16, 2022, Ms. Pan, without proper authorization by
         the Company’s Board of Directors, directed that funds be wired to satisfy an invoice
         for legal services that were rendered or to be rendered to Ms. Pan personally.

         It is anticipated that Ms. Pan’s compensation will resume if she cooperates fully in
         the investigation by the Special Committee of the Company, which was formed to
         investigate allegations raised in the report of Hindenburg Research dated May 5,
         2022 and other related matters.

         282.     Defendant Shan had personal knowledge of and approved Defendant Pan’s improper

 and unauthorized direction of Singularity’s funds to pay Defendant Pan’s personal expenses on June

 16, 2022. According to the Shan Affidavit, filed in the New York Supreme Court on December 12,

 2022, “Since the May 5, 2022 Hindenburg Report (referred to repeatedly by Plaintiff to support its

 allegations of “crisis” surrounding Singularity), I approve and authorize all Company

 expenditures.” 125 As alleged below, shortly thereafter, Defendant Shan was terminated for cause.

         283.     On September 7, 2022, Singularity filed a Form 8-K with the SEC, signed by

 Defendant Shan, in which it announced that: 126

         On August 31, 2022, Ms. Tuo Pan was terminated for cause as an employee and
         Chief Financial Officer of Singularity Future Technology Ltd. (the “Company”) and
         from any other position at any subsidiary of the Company to which she has been

 123
     Singularity Future Technology Ltd., Quarterly Report (Form 10-Q) (Dec. 31, 2022), https://www.sec.gov
 /ix?doc=/Archives/edgar/data/0001422892/000121390023017863/f10q1222_singularity.htm.
 124
    Singularity Future Technology Ltd., Current Report (Form 8-K) (June 20, 2022), https://www.sec.gov/
 Archives/edgar/data/1422892/000121390022034915/ea162042-8k_singular.htm.
   Aff. of Jing Shan in Opp. to Pls.’ Order to Show Cause for Prejudgment Attachment, SOS Info. Tech. N.Y., Inc. v.
 125

 Thor Miner Inc., Index No. 654735/2022, NYSCEF No. 34.
 126
     Singularity Future Technology Ltd., Current Report (Form 8-K) (Aug. 31, 2022), https://www.sec.gov/
 Archives/edgar/data/1422892/000121390022054510/ea165431-8k_singularity.htm.



                                                       107
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 113 of 125 PageID #: 997




        appointed. Ms. Pan was terminated for cause in accordance with the terms of her
        Employment Agreement dated November 9, 2021 and will not receive any salary or
        benefits from the Company except those earned through August 31, 2022.

        284.    On August 12, 2022, Singularity filed a Form 8-K with the SEC, signed by Defendant

 Shan, in which it announced that: 127

        On August 9, 2022, Mr. Yang Jie tendered his resignation from his positions as the
        Chief Executive Officer (“CEO”) and director of Singularity Future Technology
        Ltd. (the “Company”) to the board of directors of the Company (the “Board”),
        following the Board’s decision on August 8, 2022, which adopted the Special
        Committee’s recommendation that Mr. Jie be suspended immediately as the
        Company’s CEO, pending the Special Committee’s further investigation into
        allegations raised in the report of Hindenburg Research dated May 5, 2022 and
        other related matters.

        285.    On November 22, 2022, Singularity filed a Form 8-K with the SEC, signed by

 Defendant Shan, in which it announced that on November 18, 2022, Shi Qiu tendered his resignation

 as Chief Technology Officer of the Company, effective immediately. 128

        286.    On July 14, 2023, Singularity announced that “[o]n July 10, 2023, Company

 terminated the employment of its COO Jing with cause. The termination was effective

 immediately.” 129

        287.    On July 3, 2023, Mr. Tieliang Liu resigned as a director of the Company and a

 member of the Compensation Committee, the Audit Committee, and the Nominating and Corporate

 Governance Committee.

        288.    On September 21, 2023, Mr. Heng Wang resigned as a director of the Company and

 a member of the Compensation Committee, the Audit Committee, and the Nominating and


 127
    Singularity Future Technology Ltd., Current Report (Form 8-K) (Aug. 9, 2022), https://www.sec.gov/
 Archives/edgar/data/1422892/000121390022047378/ea164278-8k_singularity.htm.
 128
    Singularity Future Technology Ltd., Current Report (Form 8-K) (Nov. 16, 2022), https://www.sec.gov/
 Archives/edgar/data/1422892/000121390022074586/ea169146-8k_singularity.htm.
 129
    Singularity Future Technology Ltd., Current Report (Form 8-K) (July 10, 2023), https://www.sec.gov/
 Archives/edgar/data/1422892/000121390023057078/ea181819-8k_singularity.htm.



                                                  108
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 114 of 125 PageID #: 998




 Corporate Governance Committee.

        289.    On September 28, 2023, Ms. Ling Jiang resigned as a director of the Company and a

 member of the Compensation Committee, the Audit Committee, and the Nominating and Corporate

 Governance Committee.

 VIII. LOSS CAUSATION

        290.    Defendants’ wrongful conduct, as alleged herein, directly and proximately caused the

 economic loss suffered by Plaintiffs and the putative Class.

        291.    During the Class Period, Plaintiffs and the putative Class purchased or otherwise

 acquired shares of Singularity common stock at artificially inflated prices and were damaged thereby

 when the price of Singularity common stock declined after the truth was gradually revealed through

 partial disclosures during the Class Period. Throughout the Class Period, the price of Singularity’s

 common stock was artificially inflated as a result of Defendants’ materially false or misleading

 statements and omissions and Defendants’ scheme to deceive the market. The price of Singularity

 common stock significantly declined (causing investors to suffer losses) when Defendants’

 materially false or misleading statements and omissions, alleged herein to have been concealed from

 the market, and/or the effects thereof, were revealed, and/or the risks that had been fraudulently

 concealed by Defendants materialized.

        292.    Specifically, Defendants’ materially false or misleading misstatements and

 omissions misrepresented or omitted material facts regarding: (a) the Company’s transformation to

 a cryptocurrency company was either a sham or not reasonably achievable; (b) the Company’s

 raise of over $21 million through the sale of unregistered securities (through contracts that

 Singularity was in breach of at the moment that the Company entered into them) on the basis of

 its sham transformation into a cryptocurrency company; (c) the personal and professional

 backgrounds of Defendants Jie and Levy; (d) related-party transactions with entities such as SOS


                                                 109
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 115 of 125 PageID #: 999




 and Rich Trading; (e) the formation of sham companies with which it entered into joint ventures

 or entered joint ventures with sham companies such as Golden Mainland; and (f) the Company’s

 inadequate internal controls, one or more of which resulted in investigations by the United States

 Attorney’s Office for the Southern District of New York, FINRA, and the SEC, as well as a

 potential delisting by NASDAQ. When those materially false or misleading misstatements and

 omissions were corrected, and the risk concealed by them materialized, investors suffered losses as

 the price of Singularity’s common stock declined, net of industry and market movements.

        293.    It was entirely foreseeable that Defendants’ materially false or misleading statements

 and omissions discussed herein would artificially inflate or maintain the price of Singularity’s

 common stock. It was also foreseeable to Defendants that the revelation of the truth about: (a) the

 fact that Company’s transformation to a cryptocurrency company was either a sham or not

 reasonably achievable; (b) the fact that the Company’s raise of over $21 million through the sale

 of unregistered securities (through contracts that Singularity was in breach of at the moment that

 the Company entered into them) on the basis of its sham transformation into a cryptocurrency

 company; (c) the personal and professional backgrounds of Jie and Levy; (d) related-party

 transactions with entities such as SOS and Rich Trading; (e) Singularity had formed sham

 companies with which it entered into join ventures or entered joint ventures with sham companies

 such as Golden Mainland; and (f) Singularity had inadequate internal controls, one or more of

 which resulted in investigations by the United States Attorney’s Office for the Southern District

 of New York, FINRA, and the SEC, as well as a potential delisting by NASDAQ, would cause the

 price of the Company’s stock to fall as the artificial inflation caused or maintained by Defendants’

 misstatements and omissions was removed.

        294.    As a result of the foregoing, on May 5, 2022, the price of Singularity shares fell




                                                 110
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 116 of 125 PageID #: 1000




 28.89%, from $6.75 to $4.80, and fell an additional 11.67% on May 6, 2022, following the

 publication of the Hindenburg Report and Peabody Report. On September 23, 2022, the price of

 Singularity shares fell over 4% after it was sued in federal court for securities fraud in connection

 with improprieties related to its efforts to raise tens of millions of dollars for the sale of unregistered

 securities based on misrepresentations to private investors regarding its sham cryptocurrency. On

 October 6, 2022, the price of Singularity shares fell an additional 12.93% after it was sued a second

 time for improprieties associated with the sale of unregistered securities based on misrepresentations

 to private investors regarding its sham cryptocurrency business. The price of Singularity shares fell

 10.55% on October 7, 2022, following the announcement that it faced delisting due to its inability to

 file the required quarterly and annual reports with the SEC. On November 16, 2022, the price of

 Singularity shares fell 56.03% over two trading days after it revealed that the Company had received

 subpoenas from the United States Attorney’s Office for the Southern District of New York and the

 SEC who were investigating the allegations in the Hindenburg Report and Peabody Report. On

 December 5, 2022, the price of Singularity shares fell 3% after it was sued for a third time in

 connection with its sale of unregistered securities based on misrepresentations to private investors

 regarding its sham cryptocurrency business causing the stock to decline 2.60%. Finally, on February

 24, 2023, when Singularity announced that it agreed to settle all of the securities fraud claims against

 it alleging various misrepresentations in connection with the sale of unregistered securities regarding

 its sham cryptocurrency business, the price of Singularity shares fell over 13% from $0.69 to $0.60.

         295.    Thus, the stock price declines described herein were directly and proximately caused

 by Defendants’ materially false or misleading statements and omissions and Defendants’ scheme to

 deceive the market.

 IX.     PRESUMPTION OF RELIANCE

         296.    At all relevant times, the market for Singularity’s common stock was efficient for the


                                                    111
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 117 of 125 PageID #: 1001




 following reasons, among others:

        a.      Singularity’s stock met the requirements for listing, and was listed and actively

                traded on the NASDAQ, a highly efficient market, with an average daily trading

                volume of hundreds of thousands or more than one million shares;

        b.      as a regulated issuer, Singularity filed periodic reports with the SEC;

        c.      Singularity regularly communicated with public investors via established market

                communication mechanisms, including through regular dissemination of press

                releases on the national circuits of major newswire services and through other wide-

                ranging public disclosures, such as communications with the financial press and

                other similar reporting services; and

        d.      Singularity was followed by numerous analysts employed by brokerage firms,

                including, but not limited to Wright Reports, Sadif Investment Analytics,

                Markeline, Price Target Research, BuySellSignals, Validea and CFRA, who wrote

                reports that were publicly available and entered the public marketplace.

        297.    As a result of the foregoing, the market for Singularity common stock promptly

 digested current information regarding Singularity from all publicly available sources and reflected

 such information in Singularity’s stock price. Under these circumstances, purchasers of Singularity

 common stock at artificially inflated prices during the Class Period suffered similar injury through

 their transactions and a presumption of reliance applies.

 X.     INAPPLICABILITY OF THE STATUTORY SAFE HARBOR AND BESPEAKS
        CAUTION DOCTRINE

        298.    The statutory safe harbor provided for forward-looking statements under certain

 circumstances does not apply to any of the allegedly false statements described in this Complaint.

 Many of the specific statements described herein were not identified as “forward-looking” when



                                                 112
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 118 of 125 PageID #: 1002




 made. To the extent that there were any forward-looking statements, there was no meaningful

 cautionary language identifying important factors that could cause actual results to differ materially

 from those in the purportedly forward-looking statements. Alternatively, to the extent that the

 statutory safe harbor does apply to any forward-looking statements described herein, Defendants are

 liable for those false forward-looking statements because at the time each was made, the particular

 speaker knew that the particular forward-looking statement was false or misleading, and/or that the

 forward-looking statement was authorized and/or approved by an executive officer of Singularity

 who knew that those statements were false or misleading when made.

 XI.     CLASS ACTION ALLEGATIONS

         299.    Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

 Procedure 23(a) and (b)(3) on behalf of a proposed Class consisting of all persons other than

 Defendants who acquired Singularity securities publicly traded on NASDAQ during the Class

 Period, and who were damaged thereby (the “Class”). Excluded from the Class are Defendants, the

 officers and directors of Singularity, members of the Individual Defendants’ immediate families and

 their legal representatives, heirs, successors or assigns, and any entity in which Defendants have or

 had a controlling interest.

         300.    The members of the putative Class are so numerous that joinder of all members is

 impracticable. Throughout the Class Period, Singularity securities were actively traded on

 NASDAQ. While the exact number of Class members is unknown to Plaintiffs at this time and can

 be ascertained only through appropriate discovery, Plaintiffs believe that there are hundreds, if not

 thousands of members in the proposed Class.

         301.    Plaintiffs’ claims are typical of the claims of the members of the proposed Class as

 all members of the proposed Class are similarly affected by Defendants’ wrongful conduct in

 violation of federal law that is complained of herein.


                                                  113
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 119 of 125 PageID #: 1003




         302.    Plaintiffs will fairly and adequately protect the interests of the members of the Class

 and has retained counsel competent and experienced in class and securities litigation. Plaintiffs have

 no interests antagonistic to or in conflict with those of the putative Class.

         303.    Common questions of law and fact exist as to all members of the proposed Class and

 predominate over any questions solely affecting individual members of the proposed Class. Among

 the questions of law and fact common to the putative Class are:

          •       whether the Exchange Act was violated by Defendants’ acts as alleged herein;

          •       whether statements made by Defendants to the investing public during the Class
                  Period misrepresented material facts about the business and financial condition
                  of Singularity;

          •       whether Defendants’ public statements to the investing public during the Class
                  Period omitted material facts necessary to make the statements made, in light of
                  the circumstances under which they were made, not misleading;

          •       whether Defendants omitted to state material facts necessary to make their
                  statements or the statements of their Co-Defendants not misleading;

          •       whether Defendants caused Singularity to issue false and misleading filings
                  during the Class Period;

          •       whether Defendants acted knowingly or recklessly in issuing false filings;

          •       whether the prices of Singularity securities during the Class Period were
                  artificially inflated because of Defendants’ conduct complained of herein; and
          •       whether the members of the Class have sustained damages and, if so, what is the
                  proper measure of damages.

         304.    A class action is superior to all other available methods for the fair and efficient

 adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

 damages suffered by individual Class members may be relatively small, the expense and burden

 of individual litigation make it impossible for members of the proposed Class to individually

 redress the wrongs done to them. There will be no difficulty in the management of this action as a




                                                   114
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 120 of 125 PageID #: 1004




 class action.

        305.     Plaintiff will rely, in part, upon the presumption of reliance established by the fraud-

 on-the-market doctrine in that:

          •       Singularity shares met the requirements for listing, and were listed and actively
                  traded on NASDAQ, an efficient market;

          •       As a public issuer, Singularity filed periodic public reports;

          •       Singularity regularly communicated with public investors via established market
                  communication mechanisms, including through the regular dissemination of
                  press releases via major newswire services and through other wide-ranging
                  public disclosures, such as communications with the financial press and other
                  similar reporting services;

          •       Singularity securities were liquid and traded with moderate to heavy volume
                  during the Class Period; and

          •       Singularity was followed by securities analysts employed by reputable
                  brokerage firms who wrote reports that were widely distributed and publicly
                  available.

        306.     Based on the foregoing, the market for Singularity securities promptly digested

 current information regarding Singularity from all publicly available sources and reflected such

 information in the prices of the shares, and Plaintiffs and members of the proposed Class are entitled

 to a presumption of reliance upon the integrity of the market.

        307.     Alternatively, Plaintiffs and members of the proposed Class are entitled to the

 presumption of reliance established by the Supreme Court in Affiliated Ute Citizens of the State of

 Utah v. United States, 406 U.S. 128 (1972), as Defendants omitted material information in their

 Class Period statements in violation of a duty to disclose such information as detailed above.




                                                  115
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 121 of 125 PageID #: 1005




 XII.    CLAIMS FOR RELIEF UNDER THE EXCHANGE ACT

                                            COUNT I
                  For Violations of Section 10(b) And Rule 10b-5 Promulgated
                              Thereunder Against All Defendants

         308.    Plaintiffs repeat and reallege each and every allegation contained above as if fully set

 forth herein.

         309.    This Count is asserted against Defendants and is based upon Section 10(b) of the

 Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder by the SEC.

         310.    During the Class Period, Defendants, individually and in concert, directly or

 indirectly, disseminated or approved the false statements specified above, which they knew or

 deliberately disregarded were misleading in that they contained misrepresentations and failed to

 disclose material facts necessary in order to make the statements made, in light of the circumstances

 under which they were made, not misleading.

         311.    Defendants violated § 10(b) of the 1934 Act and Rule 10b-5 in that they:

         •       employed devices, schemes and artifices to defraud;

         •       made untrue statements of material facts or omitted to state material facts
                 necessary in order to make the statements made, in light of the
                 circumstances under which they were made, not misleading; or

         •       engaged in acts, practices and a course of business that operated as a fraud
                 or deceit upon Plaintiffs and others similarly situated in connection with their
                 purchases of Singularity securities during the Class Period.

         312.    Defendants acted with scienter in that they knew that the public documents and

 statements issued or disseminated in the name of Singularity were materially false and misleading;

 knew that such statements or documents would be issued or disseminated to the investing public;

 and knowingly and substantially participated or acquiesced in the issuance or dissemination of such

 statements or documents as primary violations of the securities laws. These Defendants, by virtue of

 their receipt of information reflecting the true facts of Singularity, their control over, and/or receipt


                                                   116
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 122 of 125 PageID #: 1006




 and/or modification of Singularity’s allegedly materially misleading statements, and/or their

 associations with the Company which made them privy to confidential proprietary information

 concerning Singularity, participated in the fraudulent scheme alleged herein.

         313.    Individual Defendants, who are or were the senior officers and/or directors of the

 Company, had actual knowledge of the material omissions and/or the falsity of the material

 statements set forth above, and intended to deceive Plaintiffs and the other members of the proposed

 Class, or, in the alternative, acted with reckless disregard for the truth when they failed to ascertain

 and disclose the true facts in the statements made by them or other Singularity personnel to members

 of the investing public, including Plaintiffs and the putative Class.

         314.    As a result of the foregoing, the market price of Singularity securities was artificially

 inflated during the Class Period. In ignorance of the falsity of Defendants’ statements, Plaintiffs and

 the other members of the Class relied on the statements described above and/or the integrity of the

 market price of Singularity securities during the Class Period in purchasing Singularity securities at

 prices that were artificially inflated as a result of Defendants’ false and misleading statements.

         315.    Had Plaintiffs and other members of the proposed Class been aware that the market

 price of Singularity securities had been artificially and falsely inflated by Defendants’ misleading

 statements and by the material adverse information, which Defendants did not disclose, they would

 not have purchased Singularity securities at the artificially inflated prices that they did, or at all.

         316.    As a result of the wrongful conduct alleged herein, Plaintiffs and other members of

 the proposed Class have suffered damages in an amount to be established at trial.

         317.    By reason of the foregoing, Defendants have violated Section 10(b) of the 1934 Act

 and Rule 10b-5 promulgated thereunder and are liable to the Plaintiffs and other members of the

 proposed Class for substantial damages which they suffered in connection with their purchase of




                                                    117
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 123 of 125 PageID #: 1007




 Singularity securities during the Class Period.

                                             COUNT II
                          Violations of Section 20(a) of the Exchange Act
                                Against the Individual Defendants

         318.    Plaintiffs repeat and reallege each and every allegation contained in the foregoing

 paragraphs as if fully set forth herein.

         319.    During the Class Period, the Individual Defendants participated in the operation and

 management of Singularity, and conducted and participated, directly and indirectly, in the conduct

 of Singularity’s business affairs. Because of their senior positions, they knew the adverse non-public

 information about Singularity’s false financial statements.

         320.    As officers and/or directors of a publicly owned company, the Individual Defendants

 had a duty to disseminate accurate and truthful information with respect to Singularity’s financial

 condition and results of operations, and to correct promptly any public statements issued by

 Singularity which had become materially false or misleading.

         321.    Because of their positions of control and authority as senior officers or directors, the

 Individual Defendants were able to, and did, control the contents of the various reports, press releases

 and public filings which Singularity disseminated in the marketplace during the Class Period

 concerning Singularity’s results of operations. Throughout the Class Period, the Individual

 Defendants exercised their power and authority to cause Singularity to engage in the wrongful acts

 complained of herein. The Individual Defendants, therefore, were “controlling persons” of

 Singularity within the meaning of Section 20(a) of the Exchange Act. In this capacity, they

 participated in the unlawful conduct alleged which artificially inflated the market price of Singularity

 securities.

         322.    By reason of the above conduct, the Individual Defendants are liable pursuant to

 Section 20(a) of the Exchange Act for the violations committed by Singularity.


                                                   118
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 124 of 125 PageID #: 1008




 XIII. PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs, individually and on behalf of the putative Class, pray for

 judgment and relief as follows:

         (a)     declaring this action to be a proper class action, designating Plaintiffs as Lead

                 Plaintiffs and certifying Plaintiffs as class representatives under Rule 23 of the

                 Federal Rules of Civil Procedure and designating Plaintiffs’ counsel as Lead

                 Counsel;

         (b)     awarding damages in favor of Plaintiffs and other proposed Class members against

                 all Defendants, jointly and severally, together with interest thereon;

         (c)     awarding Plaintiffs and the proposed Class reasonable costs and expenses incurred

                 in this action, including attorneys’ fees and expert fees; and

         (d)     awarding Plaintiffs and other members of the proposed Class such other and further

                 relief as the Court may deem just and proper.

 XIV. JURY DEMAND

         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiffs hereby demand

 a trial by jury in this action and all issues so triable.

 Dated: October 6, 2023                           Respectfully submitted,

                                                  BERGER MONTAGUE PC

                                                  /s/ Michael Dell’Angelo
                                                  Michael Dell’Angelo (pro hac vice)
                                                  Andrew D. Abramowitz (pro hac vice forthcoming)
                                                  James A. Maro (pro hac vice forthcoming)
                                                  1818 Market Street, Suite 3600
                                                  Philadelphia, PA 19103
                                                  Tel: (215) 875-3000
                                                  Email: mdellangelo@bm.net
                                                          aabramowitz@bm.net
                                                          jmaro@bm.net



                                                    119
Case 1:22-cv-07499-BMC Document 58 Filed 10/06/23 Page 125 of 125 PageID #: 1009




                                     Lead Counsel for Lead Plaintiffs Ruibin Wang, Sen
                                     Gao, Luxiao Xu, and Congli Huo, and Lead
                                     Counsel for the proposed Class

                                     KIRBY McINERNEY LLP
                                     Ira M. Press
                                     Sarah E. Flohr
                                     250 Park Avenue, Suite 820
                                     New York, New York 10177
                                     Telephone: (212) 371-6600
                                     Email: ipress@kmllp.com
                                            sflohr@kmllp.com

                                     Local Counsel for Lead Plaintiffs Ruibin Wang, Sen
                                     Gao, Luxiao Xu, and Congli Huo, and Local
                                     Counsel for the proposed Class

                                     SCHALL LAW FIRM
                                     Brian Schall (pro hac vice forthcoming)
                                     2049 Century Park East, Suite 2460
                                     Los Angeles, CA 90067
                                     Tel: (310) 301-3335
                                     Email: brian@schallfirm.com

                                     Additional Counsel for Lead Plaintiffs
                                     Ruibin Wang, Sen Gao, Luxiao Xu, and Congli Huo




                                      120
